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                               1 GRAHAMHOLLIS APC
                                   Graham S.P. Hollis (SBN 120577)
                               2 ghollis@grahamhollis.com
                                   Nathan Reese (SBN 283150)
                               3 nreese@grahamhollis.com
                                   3555 Fifth Avenue Suite 200
                               4 San Diego, California 92103
                                   Telephone: 619.692.0800
                               5 Facsimile: 619.692.0822

                               6 Attorneys for Plaintiff CARTER POOL

                               7
                                                            UNITED STATES DISTRICT COURT
                               8
                                                           SOUTHERN DISTRICT OF CALIFORNIA
                               9
                                 CARTER POOL, in a representative           Case No.: 3:19-cv-01103-LAB-WVG
                              10 capacity, and on behalf of all similarly
                                 situated and aggrieved current and         [Assigned to Hon. Larry Alan Burns]
                              11 former employees of Defendants in the
                                 State of California,
SAN DIEGO, CALIFORNIA 92103
3555 FIFTH AVENUE SUITE 200




                                                                            DECLARATION OF GRAHAM S.P.
                              12
                                                                            HOLLIS IN SUPPORT OF
   GRAHAMHOLLIS APC




                                              Plaintiff,
                              13                                            PLAINTIFF’S MOTION FOR (1)
                                        v.                                  PRELIMINARY APPROVAL OF
                              14
                                 AMERIPARK, LLC, a Georgia Limited          CLASS ACTION SETTLEMENT; (2)
                              15 Liability Company; and DOES 1 through      PROVISIONAL CERTIFICATION OF
                                 50, inclusive,                             THE SETTLEMENT CLASS; (3)
                              16
                                              Defendant.                    APPROVAL OF THE CLASS NOTICE
                              17                                            AND NOTICE PLAN; (4)
                                                                            APPOINTMENT OF CLASS COUNSEL
                              18
                                                                            AND CLASS REPRESENTATIVE; (5)
                              19                                            APPOINTMENT OF SETTLEMENT
                              20
                                                                            ADMINISTRATOR; AND (6) SETTING
                                                                            A FINAL APPROVAL HEARING
                              21
                                                                            Date: March 22, 2021
                              22                                            Time: 11:15 a.m.
                              23
                                                                            Courtroom: 14A

                              24                                            Complaint Filed: May 6, 2019
                                                                            Removal Date: June 12, 2019
                              25
                                                                            ORAL ARGUMENT REQUESTED
                              26

                              27

                              28
                                                                     1
                                      DECLARATION OF GRAHAM S.P. HOLLIS IN SUPPORT OF PLAINTIFF’S MOTION
                                                        FOR PRELIMINARY APPROVAL
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                               1 I, Graham S.P. Hollis, declare as follows:

                               2        1.   I am an attorney at law licensed to practice before all courts of the State of
                               3 California. I am a shareholder of the law firm GrahamHollis, APC in San Diego, California.

                               4 Associate Nathan Reese and myself are the primary attorneys from my firm handling this

                               5 case. I am thoroughly familiar with, and have personal knowledge of, all of the facts set

                               6 forth herein. If called as a witness, I could and would competently testify to the information

                               7 set forth below.

                               8        2.   I submit this declaration in support of Plaintiff Carter Pool’s Motion for
                               9 Preliminary Approval of Class Action Settlement, which seeks an order: (1) preliminarily

                              10 approving the proposed Settlement; (2) provisionally certifying the Settlement Class; (3)

                              11 approving the form and content of the Class Notice and Notice Plan; (4) appointing Class
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                              12 Counsel and the Class Representative; (5) appointing the Settlement Administrator; and
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                              13 (6) scheduling a Final Approval Hearing.

                              14        3.   A true and correct copy of the fully executed Stipulation of Class Action and
                              15 PAGA Representative Action Settlement and Release (“Settlement” or “Settlement

                              16 Agreement” or “SA”) is attached hereto as Exhibit 1. A true and correct copy of the Notice

                              17 of Class Action Settlement (“Class Notice”) is attached as Exhibit A to the Settlement

                              18 Agreement.

                              19        4.   A copy of the Settlement Agreement was provided to the State of California
                              20 Labor and Workforce Development Agency (“LWDA”) at the same time Plaintiff’s Motion

                              21 for Preliminary Approval of Class Action Settlement was filed with the Court. A true and

                              22 accurate copy of the confirmation of said submission is attached as Exhibit 2.

                              23        5.   I am not aware of any class, representative, or other action in any other court in
                              24 this or any other jurisdiction which asserts claims similar to those asserted in this action on

                              25 behalf of a class or group of individuals who would also be members of the Class as defined

                              26 in this action. I made a reasonable inquiry of other members of my law firm and they are

                              27 not aware of any such similar actions.

                              28 ///
                                                                      2
                                       DECLARATION OF GRAHAM S.P. HOLLIS IN SUPPORT OF PLAINTIFF’S MOTION
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                               1                 CLASS COUNSEL’S CLASS ACTION EXPERIENCE
                               2        6.   I have been a member of the State Bar of California since 1985. I have
                               3 personally tried many bench and jury trials to verdict in various courts in California and I

                               4 have represented employees and employers in employment litigation matters since 1995.

                               5 My involvement in various forms of class action litigation spans more than twenty years.

                               6        7.   Over the past ten years, my firm has been appointed as class counsel and
                               7 received adequate and fair settlements in over eighty class action lawsuits in the district

                               8 and state courts of California with claims similar to those presented here. Additionally, my

                               9 firm currently serves as plaintiff’s counsel for approximately thirty wage and hour class

                              10 and representative employment law cases. A list of the cases in which my firm has served

                              11 as class counsel and/or currently serves as counsel for plaintiffs in wage and hour
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                              12 employment actions pending throughout California is attached hereto as Exhibit 3.
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                              13        8.   I have also served as defense counsel in the following class action cases:
                              14 Garza, et al. v. SRH Investments LLC, et al., Superior Court for the County of Los Angeles;

                              15 Avila, et al. v. Gateway Ivey Ranch Associates, et al., Superior Court for the County of San

                              16 Diego; Cabrera, et al. v. Fieldstone Communities, Inc., et al., Superior Court for the

                              17 County of San Diego; Cheatwood, et al. v. Greystone Homes, Inc., et al., Superior Court

                              18 for the County of San Bernardino; Castro, et al. v. Kaufman & Broad of Southern

                              19 California, Inc. et al., Superior Court for the County of San Diego; Flores, et al. v. Eastlake

                              20 Trails Co. LLC et al., Superior Court for the County of San Diego; Pacheco, et al. v. WL

                              21 Coral Gate Associates, et al., Superior Court for the County of San Diego; Garcia, et al.

                              22 v. Cambridge Homes, et al., Superior Court for the County of Riverside; Harris, et al. v.

                              23 LNC Properties, LTD, et al., Superior Court for the County of San Bernardino; Soriano, et

                              24 al. v. Kaufman and Broad of Southern California, Inc., et al., Superior Court for the County

                              25 of Kern; Rodriguez, et al v. Epic Development Corporation, et al., Superior Court for the

                              26 County of Kern; Gates, et al. v. Kaufman and Broad Coastal Valleys, Inc., et al., Superior

                              27 Court for the County of Los Angeles; Zimmerman, et al. v. West Venture Development,

                              28 Inc., et al., Superior Court for the County of San Bernardino; Robles, et al. v. Rockfield
                                                                               3
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                               1 Development Corporation, et al., Superior Court for the County of San Bernardino; Riley,

                               2 et al. v. So Cal Housing Partners, LLC, et al., Superior Court for the County of San

                               3 Bernardino; Castillo, et al. v. LNC Properties LTD, et al., Superior Court for the County

                               4 of San Bernardino; Reynoso, et al v. DOES 1-50, inclusive, Superior Court for the County

                               5 of San Diego; Frais v. Forecast Group, Superior Court for the County of Los Angeles;

                               6 Haney v. The Presley Group, Superior Court for the County of Riverside; Le Doux v. KB

                               7 Homes, Superior Court for the County of Los Angeles; Long v. West Venture, Superior

                               8 Court for the County of Los Angeles; Manning v. Presley Homes, Superior Court for the

                               9 County of Los Angeles; McLellan v. Stratham Group, Superior Court for the County of

                              10 Los Angeles; Winkler v. West Venture, Superior Court for the County of Los Angeles.

                              11        9.   Nathan Reese was admitted to the State Bar of California in 2012. He has
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                              12 represented employees in employment litigation matters, including wage and hour class
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                              13 action litigation. Mr. Reese, along with myself, has obtained settlements and been approved

                              14 as class counsel in the following Class and PAGA Representative actions: Milburn v.

                              15 PetSmart, Inc., United States District Court Eastern District, settled for $1,350,000 on

                              16 behalf of approximately a total of 3,491 class members and aggrieved employees, and

                              17 Judge Drozd approved fees of 33 1/3%; Dadafshar v. KT Hotels, LLC et al., Superior Court

                              18 County of San Diego, settled for $515,000 on behalf of approximately 892 class members

                              19 and Judge Pollock awarded 33.33% in fees; Potter v. Big Tex Trailer Manufacturing Inc.

                              20 et al., United States District Court Central District, settled for $972,391.68 on behalf of

                              21 104 class members and Judge Gutierrez approved fees of 33.33%; Taylor v. Cross Country,

                              22 Superior Court County of Los Angeles, settled for $582,000 on behalf of a settlement class

                              23 of 589 and 1602 aggrieved employees and Judge Nelson approved fees of 33 1/3%; and

                              24 Ramirez v. Baker Hughes Oilfield Operations, LLC, Superior Court County of Santa

                              25 Barbara, settled for $2,750,000 on behalf of a settlement class of 165 employees, and Judge

                              26 Anderle approved fees of 33 1/3%; Cassels v. Select Comfort Retail Corporation, Superior

                              27 Court San Diego County, settled for $1,250,000 on behalf of 426 class members and 997

                              28 aggrieved employees, and Judge Wohlfeil awarded fees of 33 1/3%.
                                                                           4
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                               1        10. My fellow shareholders, associates and I have considerable experience handling
                               2 complex wage and hour class action cases with claims similar to those asserted in this

                               3 action and have successfully represented tens of thousands of employees in state and

                               4 federal court cases throughout California.

                               5               CASE BACKGROUND AND PROCEDURAL HISTORY
                               6        11. Plaintiff Carter Pool (“Plaintiff”) seeks preliminary approval of a non-
                               7 reversionary $1,750,000.00 class action and Private Attorneys General Act of 2004,

                               8 California Labor Code § 2698, et seq. (“PAGA”) representative action settlement entered

                               9 into by Plaintiff on behalf of himself and other similarly situated and/or aggrieved parking

                              10 valet employees who worked for Defendant AmeriPark, LLC (“Defendant”) in California

                              11 between May 6, 2015 through the date of preliminary approval (the “Class Period”).
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                              12        12. Defendant is a Georgia based corporation which operates and manages parking
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                              13 facilities, including facilities in San Diego and throughout California. Defendant also

                              14 provides parking logistics consulting, valet parking, ambassador and traffic management,

                              15 shuttle, and trolley services to entertainment complexes, arenas, and retail centers.

                              16 Defendant’s California parking valet accounts include numerous shopping malls,

                              17 amusement parks, hospitals, and office buildings, among other establishments.

                              18        13. Plaintiff worked for Defendant as a parking valet from November of 2013 to
                              19 January of 2019, earning minimum wage plus tips. Plaintiff worked at the Fashion Valley

                              20 Mall in San Diego, California during the relevant time period. Plaintiff generally worked

                              21 shifts that lasted between five to eight hours, but occasionally worked shifts that exceeded

                              22 eight hours in a workday. Plaintiff resigned from his employment in January of 2019, at

                              23 which time he alleged he was constructively wrongfully discharged.

                              24        14. Plaintiff filed the initial Complaint in this action on May 6, 2019 in the Superior
                              25 Court for the State of California, County of San Diego, Case No. 37-2019-00023222-CU-

                              26 OE-CTL. Plaintiff filed a First Amended Complaint on May 15, 2019.

                              27        15. On June 12, 2019, Defendant filed a Notice of Removal, thereby removing this
                              28 case to the United States District Court, Southern District of California, Case No.
                                                                           5
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                               1 19CV1103-BEN-WVG.

                               2        16. Plaintiff filed a Motion to Remand the Litigation to State Court on July 12,
                               3 2019, which was later denied by this Court.

                               4        17. The Parties agreed to attend an early mediation, prior to which time Plaintiff
                               5 identified additional causes of action he sought to add to the operative complaint. Plaintiff

                               6 informed Defendant of his intention to add causes of action to the operative complaint for

                               7 failure to provide meal periods, failure to provide minimum wages, and failure to pay all

                               8 overtime hours worked.

                               9        18. The Parties then participated in a private mediation session with Hon. Carl J.
                              10 West (Ret.), a highly respected mediator, on August 31, 2020. With the assistance of the

                              11 mediator, the Parties were able to arrive at a deal in principle to resolve Plaintiff’s all
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                              12 individual and representative claims alleged by Plaintiff, including those causes of action
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                              13 he sought to add to the operative complaint.

                              14        19. Plaintiff filed a Second Amended Complaint on October 29, 2020. The Second
                              15 Amended Complaint included causes of action failure to provide meal periods, failure to

                              16 provide minimum wages, and failure to pay all overtime hours worked.

                              17        20. The Class is comprised of all current and former non-exempt employees of
                              18 Defendant who worked in the State of California and who performed parking valet duties

                              19 during the Class Period.

                              20                      PLAINTIFF’S CLASS AND PAGA CLAIMS
                              21            Plaintiff’s Claims for the Failure to Provide Meal and Rest Breaks
                              22        21. Plaintiff claims that Defendant’s failure to provide compliant meal periods and
                              23 rest periods to Class Members stems from Defendant’s policy and practice of requiring

                              24 parking valets to remain at or near their assigned job site and respond to customer needs

                              25 throughout the entire workday. Plaintiff alleges that, as a result, parking valets were

                              26 required to remain on duty at all times throughout their shifts, including during meal and

                              27 rest periods.

                              28        22. Plaintiff argues that Defendant does not have a procedure for relieving
                                                                     6
                                      DECLARATION OF GRAHAM S.P. HOLLIS IN SUPPORT OF PLAINTIFF’S MOTION
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                               1 employees of their duties so that they can take a compliant meal period or rest period.

                               2 Instead, Plaintiff argues that Class Members are required to promptly greet customers and

                               3 attend to their needs. Plaintiff further alleges that even when Class Members are permitted

                               4 to leave their work area, such as to run to a mall food court to buy some food, they are

                               5 required to have their mobile device turned on and promptly respond to any calls and texts

                               6 from their coworkers and supervisors.

                               7        23. Plaintiff further claims that many valet locations also only had one Parking
                               8 Valet assigned at any given time throughout the workday. As such, there would be no other

                               9 employees available to relieve Class Members when it was time to take a meal or rest

                              10 break. Class Members who worked alone were also not permitted to close their valet stand

                              11 in order to take an uninterrupted meal or rest period. As a result of these policies and
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                              12 practices, Plaintiff alleges that Class Members were never truly relieved of all duties during
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                              13 their breaks.

                              14        24. Plaintiff further alleges that Defendant lacked a written meal break policy that
                              15 complied with California law, and lacked any written policy permitting rest breaks. In

                              16 addition, Defendant did not have a written policy that specifically providing for the

                              17 payment of rest period premium wages.

                              18    Plaintiff’s Claims for the Failure to Pay Minimum, Regular, and Overtime Wages
                              19        25. Plaintiff’s claims for the failure to pay minimum, regular, and overtime wages
                              20 are predominantly based on the fact that Defendant’s time clock system does not permit

                              21 Class Members to clock in immediately at the beginning of a shift. Defendant permits

                              22 employees to clock in using a mobile phone application on their personal cell phones or on

                              23 the cell phones which are provided at the locations where Class Members work. In order

                              24 to clock in for work, Class Members would be required to be within an authorized area at

                              25 the valet stand to which they were assigned. As a result, Class Members were prevented

                              26 from clocking in immediately upon arrival at the job location.

                              27        26. Plaintiff’s claim is also based on the fact that Class Members performed pre-
                              28 shift duties prior to clocking in. For example, immediately upon arriving at work, Class
                                                                              7
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                               1 Members would often find customer waiting for them and would be forced to serve these

                               2 customers. Due to the aforementioned issues with the time clock, Plaintiff alleges that Class

                               3 Members would often have to serve these customers before the Class Members had the

                               4 ability to clock in.

                               5        27. Plaintiff alleges that when Class Members worked the opening shift, they were
                               6 required to set up the valet area prior to clocking in. This included moving parking cones

                               7 which delineated the valet area, and retrieving items from other on-site locations, including

                               8 cell phones, key tags, keys to the valet stand, and other items. Class Members would need

                               9 to retrieve these items and walk back to their workstation prior to clocking in.

                              10        28. Despite Class Members being suffered or permitted to work prior to clocking
                              11 in and after clocking out, Plaintiff alleges that Defendant lacked a policy or practice of
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                              12 compensating Class Members for time spent performing pre-shift and post-shift duties.
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                              13        29. Plaintiff’s unpaid wages claims are further based on the fact that Class Members
                              14 clocked out for meal breaks even though they remained on duty. Plaintiff alleges that

                              15 Defendant knowingly permitted employees to clock out for meal breaks and either continue

                              16 working or remain on duty and ready to respond to customers’ needs. Defendant’s policies

                              17 state that Class Members were required to clock out during meals breaks. As a result, Class

                              18 Members performed a considerable amount of work off the clock during on duty meal

                              19 breaks.

                              20 Plaintiff’s Claims that Defendant’s Tip Pooling Practice Systematically Deprived Class

                              21                               Members of all Gratuities Owed
                              22        30. Defendant had a practice of having Plaintiff and Class Members pool and share
                              23 their tips using a tip pool. Despite having such a practice, Plaintiff alleges that Defendant

                              24 instituted no policies, guidelines, or procedures to ensure that tips were fully or fairly

                              25 distributed to Class Members.

                              26        31. Plaintiff alleges that Defendant permitted unscrupulous supervisors and
                              27 managers to develop their own methods of distributing tips. For example, at the Fashion

                              28 Valley Mall, where Plaintiff worked, there were multiple tip pools based on the multiple
                                                                             8
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                               1 valet stands at the mall. Plaintiff’s alleges his supervisor would include himself in multiple

                               2 tip pools simultaneously, as well as exaggerate his own hours, thereby increasing his

                               3 portion of the daily tips. As a result, the manager collected tips which were disproportionate

                               4 to the number of hours he worked.

                               5         Plaintiff’s Claims for the Failure to Indemnify for all Necessary Business
                               6                                         Expenditures
                               7        32. Plaintiff alleges that he and Class Members frequently used their personal cell
                               8 phones throughout the work day to make phone calls, send and receive text messages, and

                               9 otherwise communicate with other Class Members and supervisors. Class Members also

                              10 clocked in and out using their personal cell phones, especially when the devices provided

                              11 by Defendant to clock in and out did not work. As such, Plaintiff alleges that Defendant
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                              12 was required to reimburse Class Members for a reasonable percentage of their personal cell
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                              13 phone expenses, and did not do so, nor did Defendant have a written policy regarding

                              14 reimbursement for these expenses.

                              15      Plaintiff’s Claims for the Failure to Provide Suitable Seating when Reasonably
                              16                                           Permitted
                              17        33. Plaintiff alleges that Many of the duties performed by Class Members
                              18 reasonably permitted the use of a seat. For example, Class Members spend a significant

                              19 amount of time waiting for customers to arrive, and many Class Members spend most of

                              20 their time checking customers in and out rather than actually retrieving vehicles. Plaintiff

                              21 alleges that, although the work performed by Plaintiff and Class Members reasonably

                              22 permitted the use of a seat, Defendant failed to provide suitable seating.

                              23     Plaintiff’s Claims for the Failure to Provide Accurate Itemized Wage Statements,
                              24       Failure to Maintain Accurate Records, and Failure to Timely Pay all Wages
                              25        34. Plaintiff and Class Members were paid on a bi-weekly basis. Plaintiff alleges
                              26 that Defendant failed in its obligation to provide Plaintiff and Class Members with accurate

                              27 itemized wage statements because the wage statements did not state the correct total

                              28 number of hours worked, the correct amounts of gross and net wages, all applicable rates
                                                                           9
                                    DECLARATION OF GRAHAM S.P. HOLLIS IN SUPPORT OF PLAINTIFF’S MOTION
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                               1 for the hours worked, and all meal and rest period premium wages owed.

                               2        35. Plaintiff alleges that Defendant further failed to maintain accurate time records
                               3 showing when Plaintiff and Class Members began and ended each shift and each meal

                               4 period, as well as the total daily number of hours worked. Thus, Plaintiff alleges that

                               5 Defendant failed to maintain accurate records in compliance with Labor Code section 1174.

                               6        36. Plaintiff alleges that, as a result of Defendant’s conduct during the Class Period,
                               7 Plaintiff alleges that Defendant willfully failed to pay Plaintiff and Class Members all

                               8 wages due and owing to them within the time required by Labor Code sections 201 and

                               9 202.

                              10    Plaintiff’s Individual Claims for Retaliation and Wrongful Constructive Discharge
                              11        37. Plaintiff also alleged individual claims for retaliation and wrongful constructive
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                              12 discharge in violation of public policy pursuant to California Labor Code section 1102.5.
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                              13        38. In the fall of 2018, Plaintiff was assigned to work with a new manager. Plaintiff
                              14 alleges that the new manager began participating in the tip pool with parking valets even

                              15 though he did not spend the majority of his time doing the same work as a parking valet.

                              16 Plaintiff further alleges that the new manager’s title was changed from Manager to Valet

                              17 Lead soon after he started working at the Fashion Valley Mall, even though his position

                              18 did not otherwise change. As Valet Lead, this individual used his title as a rationale for his

                              19 participation in the valet tip pool, and also began logging his hours simultaneously in

                              20 multiple tip pools at the Fashion Valley Mall. Plaintiff asserts that the Valet Lead also

                              21 exaggerated his hours so that it appeared he worked longer hours that he actually did in

                              22 order to receive a larger portion of tips.

                              23        39. Plaintiff states he made a complaint to Defendant’s Retail Manager, who failed
                              24 to take any action or investigate the matter any further. Plaintiff alleges that, ultimately,

                              25 the Retail Manager became aggressive with him, and accused him of making false

                              26 accusations. Plaintiff states he then took his complaint to Defendant’s Human Resources

                              27 Manager.

                              28        40. Plaintiff alleges that, thereafter, the tone and tenor of Plaintiff’s supervisors
                                                                     10
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                               1 became hostile during subsequent interactions. He further alleges that his supervisors and

                               2 managers became overly critical and double-checked all of Plaintiff’s work, while also

                               3 cutting his hours and days of work. Plaintiff claims his hours and locations of work would

                               4 be changed without him being notified. Plaintiff states he ultimately ended his employment

                               5 after deciding that such working conditions and the actions being levied against him for his

                               6 complaint about the Valet Lead were insufferable.

                               7   CLASS COUNSEL’S INVESTIGATION OF THE CLASS AND PAGA CLAIMS
                               8        41. The Settlement was reached only after the Parties conducted extensive
                               9 investigation into Plaintiff’s class and representative claims.

                              10        42. Prior to filing the initial Complaint in this action, my firm conducted a thorough
                              11 investigation into the merits of Plaintiff’s claims and the applicable law related thereto, and
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                              12 reviewed numerous documents and records provided by Plaintiff in support of his claims.
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                              13 My firm also requested Plaintiff’s employment files from Defendant and spent significant

                              14 time reviewing these records.

                              15        43. Throughout the course of this litigation, Defendant provided Plaintiff with a
                              16 substantial amount of information and documents, including relevant company policies and

                              17 class data, such as a sample of time and pay records for Class Members. Defendant also

                              18 provided Plaintiff with contact information for a sample of the Class Members.

                              19        44. The exchange of information and documents was substantial and enabled the
                              20 Parties to sufficiently assess the strengths and weaknesses of their respective positions

                              21 during arm’s-length negotiations at mediation. My firm conducted a thorough analysis and

                              22 review of Defendant’s employment policies and practices applicable during the Class

                              23 Period, reviewed thousands of documents and records, including a significant sample of

                              24 putative Class Members’ time and payroll records, and conducted in-depth Class Member

                              25 interviews prior to participating in private mediation.

                              26        45. Class Counsel has conducted a thorough investigation into the facts of this
                              27 action, including an extensive review and analysis of the documents provided by

                              28 Defendant, and approximately 35 interviews with Class Members who worked at
                                                                         11
                                    DECLARATION OF GRAHAM S.P. HOLLIS IN SUPPORT OF PLAINTIFF’S MOTION
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                               1 approximately 20 different locations. Class Counsel is knowledgeable about, and has

                               2 conducted extensive research with respect to, the applicable law and potential defenses to

                               3 the claims of the Class Members. Class Counsel has diligently pursued an investigation of

                               4 the Class’s claims against Defendant.

                               5        46. Plaintiff propounded formal discovery regarding his individual, class, and
                               6 representative claims, but the Parties ultimately agreed to temporarily stay all formal

                               7 discovery and instead focus their efforts on the informal exchange of documents needed to

                               8 conduct a productive mediation session.

                               9        47. In preparation for mediation, Defendant agreed to provide copies of its relevant
                              10 wage and hour policies, a sample of the contact information for 25% of the putative Class

                              11 Members, and the corresponding time and payroll records for 25% of the putative Class
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                              12 Members. Plaintiff also requested records related to the pooling of tips.
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                              13        48. While preparing for mediation, Defendant’s counsel indicated that there were
                              14 instances where Defendant was unable to access time and payroll records which were under

                              15 the control of an unaffiliate third party. Although Defendant was unable to access particular

                              16 time and pay records, Plaintiff’s counsel had enough information to determine the average

                              17 number of shifts any particular employee worked during each pay period, and then

                              18 extrapolated that out through the time period for which records were missing or

                              19 unavailable, thus allowing Plaintiff’s counsel to calculate a close approximation of the

                              20 potential damage exposure to Defendant.

                              21        49. Based on the information provided by Defendant, my firm prepared a
                              22 comprehensive mediation brief that outlined that relevant factual and legal issues in this

                              23 case, contained a detailed analysis of the time and payroll records, and presented a complete

                              24 breakdown of the liability exposure for Defendant in Plaintiff succeeded on each of his

                              25 claims at trial.

                              26        50. The Parties then participated in a private mediation session with Hon. Carl J.
                              27 West (Ret.) on August 31, 2020. During the mediation, the Parties engaged in good-faith,

                              28 non-collusive, arm’s-length negotiations, and exchanged additional information regarding
                                                                              12
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                               1 the realistic damage exposure to Defendant. The Parties discussed the relative strengths

                               2 and weaknesses of Plaintiff’s claims, the potential risks and delays associated with further

                               3 litigation, the current state of the law as it related to Plaintiff’s claims, and the potential

                               4 difficulty Plaintiff may have in obtaining and maintaining class certification for each claim.

                               5 Each Party was represented at the mediation by experienced counsel with significant

                               6 experience in wage and hour class action litigation.

                               7        51. With the assistance of the mediator, the Parties discussed the many difficult
                               8 legal and factual issues of this case. During this process, both sides were required to make

                               9 reasonable compromises in light of the facts, issues, and risks presented. In particular, Class

                              10 Counsel considered the uncertainty and risks of further litigation, and the difficulties

                              11 inherent in further litigation. Class Counsel also considered the burdens of proof necessary
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                              12 to establish and maintain class certification, and then to also establish liability against
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                              13 Defendant and defeat all defenses raised by Defendant. All of these considerations

                              14 indicated that the best interests of the Class Members would be served by a settlement of

                              15 the action in the manner and upon the terms set forth in the Settlement. Thus, the Parties

                              16 ultimately reach an agreement at the mediation, which the Parties and their counsel have

                              17 concluded to be a fair, reasonable, and adequate resolution of this action.

                              18        52. The mediator’s participation was extremely helpful to manage the Parties’
                              19 expectations and provide a useful, neutral analysis of the issues and risks to all Parties. At

                              20 all times, the Parties’ negotiations were hard-fought and conducted at arm’s-length

                              21 between attorneys with substantial wage and hour class action experience, and the

                              22 Settlement Agreement is evidence of the Parties’ substantial efforts to reach a mutually

                              23 agreement compromise.

                              24 CLASS COUNSEL’S EVALUATION OF THE CLASS AND PAGA CLAIMS FOR

                              25                                SETTLEMENT PURPOSES
                              26        53. I believe the Settlement provides a real and substantial benefit to the 1,025 Class
                              27 Members, considering the highly disputed nature of the claims. Our determination of a fair

                              28 value of the settlement was based on a number of factors, including our investigation of
                                                                           13
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                               1 the applicable law as it applied to the facts discovered, the suitability of the case for class

                               2 treatment, Plaintiff’s claims and the associated damages, as well as Defendant’s potential

                               3 defenses thereto. After careful consideration of the strength of Plaintiff’s claims and

                               4 Defendant’s potential defenses, as well as the expense, complexity, risk, and likely duration

                               5 of continued litigation, I believe the Settlement is fair, adequate, and reasonable, and I

                               6 strongly support approval of this Settlement.

                               7        54. I believe the documents and information exchanged and analyzed by the Parties
                               8 are sufficient to make an informed decision about a fair resolution of this case. The

                               9 thorough investigation conducted by my firm allowed us to prepare a complete liability

                              10 analysis and estimate the amount of potential exposure to Defendant if Plaintiff succeeded

                              11 on all claims at trial, which we then measured against the relative strength of each claim in
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                              12 order to better identify an appropriate range of settlement figures. Our analysis was based
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                              13 on information represented in the records provided by Defendant prior to mediation, as

                              14 well as facts and information gleaned from Class Member interviews. Based on this and

                              15 other information exchanged with Defendant, we ascertained there were 1,025 total Class

                              16 Members and a total of approximately 135,704 shifts during the Class Period.

                              17        55. Using this information, Class Counsel calculated a total maximum recovery of
                              18 damages payable to the Class of $8,618,283. Defendant, however, hotly contests the

                              19 violation rates and argues the validity of any of Plaintiff’s Class claims. Based on

                              20 Defendant’s potentially viable defenses to many of the claims, Class Counsel greatly

                              21 reduces its estimates as discussed herein.

                              22        56. The following methodology was used to calculate the amount of damages for
                              23 Class Members:

                              24        a.   Meal Periods
                              25             135,704               (Number of Shifts)
                              26        x    $12.17                (Average Hourly Rate of Pay)
                              27        x    86%                   (Percentage of Shifts Over 5 Hours)
                              28        x    100%                  (Estimated Violation Rate)
                                                                     14
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                               1            $1,420,305
                               2       b.   Rest Periods
                               3            135,704            (Number of Shifts)
                               4       x    $12.17             (Average Hourly Rate of Pay)
                               5       x    97%                (Percentage of Shifts Over 3.5 Hours)
                               6       x    97%               (Estimated Violation Rate)
                               7            $1,692,199
                               8       c.   Unpaid Minimum Wage and Liquidate Damages
                               9            135,704            (Number of Shifts)
                              10       x    $10.57             (Average Minimum Wage)
                              11       x    0.17               (Average Estimated Time Off-The-Clock Per Shift)
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                              12       x    2                  (Multiplier to Accommodate for Liquidated Damages)
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                              13       x    100%              (Estimated Violation Rate)
                              14            $487,693
                              15       d.   Unpaid Overtime
                              16            135,704            (Number of Shifts)
                              17       x    $18.25            (Average Overtime Rate of Pay)
                              18       x    0.17               (Average Estimated Time Off-The-Clock)
                              19       x    29%                (Percentage of Shifts Over Eight Hours)
                              20       x    100%              (Estimated Violation Rate)
                              21            $122,096
                              22       e.   Unreimbursed Cell Phone Expenses
                              23            135,704            (Number of Shifts)
                              24       x    $1.00              (Estimate of Cell Phone Expenses Per Shift)
                              25       x    100%              (Estimated Violation Rate)
                              26            $135,704
                              27       f.   Wage Statement Violations
                              28            145                (Avg. No. of Employees At Any Given Time Pre-Covid)
                                                                    15
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                               1        x    69                   (Number of Pay Periods)
                               2        x    $100                 (Penalty Amount Per Pay Period)
                               3        x    100%                 (Estimated Violation Rate)
                               4             $1,000,500
                               5        g.   Unpaid Tips
                               6             135,704              (Number of Shifts)
                               7        x    $11.08               (Estimate of Unpaid Tips Per Shift)
                               8        x    79%                  (Estimated Violation Rate)
                               9             $1,187,844
                              10        g.   Waiting Time Penalties
                              11             1,025                (Total Number of Employees)
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                              12        x    $12.17               (Average Hourly Rate of Pay)
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                              13        x    6.87                 (Average Shift Length)
                              14        x    30                   (Maximum Number of Penalties)
                              15             $2,570,942
                              16        TOTAL DAMAGES FOR CLASS CLAIMS:                      $1,420,305
                              17                                                             $1,692,199
                                                                                             $487,693
                              18                                                             $122,096
                              19                                                             $135,704
                                                                                             $1,000,500
                              20                                                             $1,187,844
                              21                                                             $2,570,942
                                                                                             $8,618,283
                              22

                              23        57. The violation rates, estimates of the amount of work performed off-the-clock,

                              24 and the amount of unpaid tips were each estimated based on interviews with Class

                              25 Members. The violation rates were hotly disputed by Defendant who argued that the

                              26 violation rates were much lower, if not altogether nonexistent, based on their investigation.

                              27 The average hourly rate of pay was calculated using the payroll records obtained from

                              28 Defendant. There was no disagreement regarding the average hourly rate of pay for the
                                                                          16
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                               1 Class Members.

                               2        58. During the approximately two years that this litigation has been ongoing, the
                               3 Parties have engaged in discussions regarding the factual and legal issues presented by the

                               4 litigation, and Defendant’s potential defenses thereto. Defendant vehemently denies any

                               5 liability or wrongdoing of any kind associated with the alleged claims, and further denies

                               6 that this action is appropriate for class treatment for any purpose other than this Settlement.

                               7 Defendant maintains that Class Members had autonomy in the execution of their duties and

                               8 that their hours worked varied greatly, and claims that such variations would present an

                               9 obstacle to class certification. Defendant maintains that it complied with all meal and rest

                              10 period obligations under California law, and that Plaintiff and Class Members were

                              11 properly provided with the opportunity to take all meal and rest periods to which they were
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                              12 entitled at all times during the Class Period. Defendant maintains that there was always
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                              13 adequate employee coverage, and that there was always relief available when it was time

                              14 for an employee to take a meal or rest period. Defendant maintains that Class Members

                              15 were not required to monitor their phones during their meal and rest breaks, and that any

                              16 Class Member who did acted voluntarily. Defendant maintains that it provided meal period

                              17 premiums during instances when Class Member did not take meal periods. Defendant

                              18 claims that its policies were all compliant, and that there were no written policies

                              19 specifically requiring Class Members to stay on duty, to answer phone calls, or to stay close

                              20 to their assigned areas at all times. Defendant contends that its timekeeping practices did

                              21 not deprive Plaintiff or Class Members of any minimum or overtime wages, and that each

                              22 Class Member was required to accurately record all of his or her own time worked, thereby

                              23 posing an obstacle to class certification. Defendant vehemently denies that any putative

                              24 Class Member was ever required to perform work while off the clock, and that Defendant

                              25 strictly prohibits off-the-clock work. Defendant maintains that if any putative Class

                              26 Member ever performed work while off the clock, he or she did not without authorization,

                              27 that Defendant was unaware of it, and that if Defendant were aware it would have provided

                              28 compensation. Defendant contends that it provided Class Members with a place to clock
                                                                            17
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                               1 in and out for work so that the Class Members did not have to use their own personal

                               2 phones. Defendant further contends that Class Members did not need to use their cell

                               3 phones to communicate as cell phones were not necessary for Class Members to perform

                               4 their duties of employment. Defendant maintains that it otherwise complied at all times

                               5 with the California Labor Code, the IWC Wage Orders, and the California Business and

                               6 Professions Code, and that all written policies were fair and fully compliant with the

                               7 relevant laws. Further, Defendant argues that Plaintiff’s claims are inappropriate for class

                               8 treatment, because individualized issues exist such that Plaintiff cannot support class-wide

                               9 claims.

                              10        59. Plaintiff maintains that each of his claims has merit and that class certification
                              11 is appropriate, but recognizes that his claims are met with plausible defenses. Plaintiff
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                              12 acknowledges that he faces a significant battle in maintaining class certification, proving
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                              13 liability, and proving damages as to all claims. Plaintiff also understands, for example, that

                              14 it is difficult to prove cases of off-the-clock work, because there are no records identifying

                              15 the amount of time associated with the off-the-clock work, and the damages therefore had

                              16 to be calculated based on interviews with Plaintiff and other Class Members. As another

                              17 example, Plaintiff recognizes that while he contends that he and other Class Members were

                              18 not provided duty-free, uninterrupted meal periods, many of the time records reflect that a

                              19 thirty-minute meal period was taken. Moreover, Defendant paid a significant number of

                              20 meal period premiums to Class Members, including Plaintiff, during the applicable period.

                              21 As such, Defendant claims that, to extent any meal periods were not provided, it met its

                              22 obligations to pay meal period premiums, thereby precluding the recovery of meal period

                              23 premiums as recoverable damages.

                              24        60. In addition, Plaintiff would have faced significant challenges in pursuit of his
                              25 claims for unlawfully withheld tips. To start, there were no records available to confirm

                              26 Plaintiff’s claims that managers unlawfully included themselves in the tip pool. As such,

                              27 the damages had to be calculated based on interviews with Plaintiff and other Class

                              28 Members, which would have presented challenges to Plaintiff in presenting common proof
                                                                          18
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                               1 of the claims and damages. Further, a small number of the Class Member reported that they

                               2 worked in positions that did not permit tips, which presenting a potential defense to class-

                               3 wide treatment in that Defendant would claim that individualized inquiries predominate

                               4 over common questions of fact. Finally, there appeared to be variation in how the tip

                               5 pooling practice was implemented at various location, which would have provided a

                               6 significant challenge to maintaining certification of class claims for unlawfully withheld

                               7 tips.

                               8         61. Plaintiff’s maximum-possible damages exposure the Class assumed that class
                               9 certification for all of the claims would be granted, assumed the class certification would

                              10 be maintained through trial, assumed that Plaintiff would prevail on all claims at trial, and

                              11 recover the full amount of the estimated damages. Accordingly, the estimated value of
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                              12 Plaintiff’s claims was premised on an optimistic, “everything goes right” scenario for each
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                              13 claim, for a maximum class-wide damages exposure, of approximately $8,618,283.

                              14 However, and for the reasons discussed herein, the likelihood of obtaining complete

                              15 recovery of the estimated damages was far from certain, particularly in light of the relative

                              16 strength of Defendant’s defenses and the existence of potential variations of working

                              17 conditions.

                              18         62. With respect to the waiting time penalties claim, Defendant contends that their
                              19 good-faith belief in the use of their timekeeping and payroll practices and their reliance on

                              20 Class Members to keep accurate records of their hours worked precludes the imposition of

                              21 any waiting time penalties since Plaintiff will not be able to prove that Defendant’s alleged

                              22 failure to pay all wages at the time of Plaintiff’s and Class Members’ separation of

                              23 employment with Defendant was “willful.”

                              24         63. It should further be noted that Plaintiff’s wage statement claims and waiting
                              25 penalties are both derivative in nature. Therefore, if Plaintiff was not able to prevail on the

                              26 substantive underlying claims, he would likewise not be able to recover the waiting time

                              27 penalties as well. Excluding Plaintiff’s derivative claims for wage statement violations and

                              28 waiting time penalties, Plaintiff’s “everything goes right” damages are estimated to be
                                                                              19
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                               1 $5,045,841.

                               2        64. Based on my experience litigating almost exclusively wage and hour claims I
                               3 believe for settlement purposes it would be appropriate to discount the value of the Class

                               4 claims by 40% to represent the risk of being able to maintain class certification and to

                               5 discount that amount by a further 40% due to the risk of prevailing at trial. This brings the

                               6 estimated settlement value of the case to $1,816,502.

                               7        65. Given the hotly contested nature of Plaintiff’s claims and the inherent
                               8 difficulties and uncertainties of proof at trial, the $1,750,000.00 settlement is a fair and

                               9 reasonable compromise of Plaintiff’s and the Class Members’ claims based on the strengths

                              10 and weaknesses of the claims, Defendant’s formidable defenses, and the avoidance of

                              11 further risk, time, and expense to pursue further litigation.
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                              12        66. In addition to the class action claims, Plaintiff also seeks recovery of civil
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                              13 penalties on behalf of the state of California pursuant to PAGA. The estimated maximum

                              14 amount of civil penalties recoverable under PAGA totaled $16,359,925, which is derived

                              15 from Defendant’s alleged violations of Labor Code sections 201, 202, 204, 226, 226.7,

                              16 1194, 1198 (for the alleged failure to provide suitable seating), 2802, and 1102.5. In

                              17 determining the potential civil penalties recoverable under Labor Code Sec. 204, 226(a),

                              18 226.7, 1194, 1198, and 2802, Plaintiff multiplied the number of employees at any given

                              19 time, which was determined to be 145 employees, by the number of pay periods during the

                              20 time for which civil penalties are recoverable pursuant to PAGA.

                              21        67. Plaintiff calculated the penalties using the statutorily provided civil penalty for
                              22 the initial violation for each pay period work prior to Plaintiff filing his letter with the

                              23 LWDA and serving said letter on Defendant. For each pay period following service of

                              24 Plaintiff’s LWDA letter, Plaintiff assumed the civil penalty violation rate for a subsequent

                              25 violation would apply. As such, Plaintiff determined the remaining civil penalties as

                              26 follows:

                              27        a. Plaintiff’s estimate of the applicable PAGA penalties for violation of Labor Code
                              28        sections 201 and 202 totaled approximately $41,800 and was calculated using the
                                                                     20
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                               1       $100 civil penalty, under Labor Code section 2699(f) for the first violation, and the
                               2       number of former employees within the PAGA period.
                               3       b. Plaintiff’s estimate of the applicable PAGA penalties for violation of Labor Code
                               4       section 204 totaled $1,771,401, using the civil penalties specified under Labor Code
                               5       Sec 210, which are $100 per pay period for the initial violation and $200 per period
                               6       for each subsequent violation.
                               7       c. Plaintiff’s estimate of the applicable PAGA penalties for violation of Labor Code
                               8       section 226 totaled $7,911,908, using the civil penalties provided for under Labor
                               9       Code Sec 226.7, which are $250 per pay period for the initial violation and $1,000
                              10       per period for each subsequent violation.
                              11       d. Plaintiff’s estimate of the applicable PAGA penalties for violation of Labor Code
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                              12       section 226.7 totaled $1,718,218, using the civil penalty specified under Labor Code
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                              13       Sec. 2699, subd. (f), which are $100 per pay period for the initial violation and $200
                              14       per period for each subsequent violation. Plaintiff then multiplied said amount by
                              15       the estimated violation rate (97%).
                              16       e. Plaintiff’s estimate of the applicable PAGA penalties for violation of Labor Code
                              17       section 1194 totaled $1,363,942, using the civil penalty specified under Labor Code
                              18       Sec. 2699, subd. (f), which are $100 per pay period for the initial violation and $200
                              19       per period for each subsequent violation. Plaintiff then multiplied said amount by
                              20       the estimated violation rate (77%).
                              21       f. Plaintiff’s estimate of the applicable PAGA penalties for violation of Labor Code
                              22       section 1198 totaled $1,771,354, using the civil penalty specified under Labor Code
                              23       Sec. 2699, subd. (f)\, which are $100 per pay period for the initial violation and $200
                              24       per period for each subsequent violation.
                              25       g.   Plaintiff’s estimate of the applicable PAGA penalties for violation of Labor
                              26       Code section 2802 totaled $1,771,354, using the civil penalty specified under Labor
                              27       Code Sec. 2699, subd. (f), which are $100 per pay period for the initial violation and
                              28       $200 per period for each subsequent violation.
                                                                    21
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                               1        h. Plaintiff’s estimate of the applicable PAGA penalties for violation of Labor Code
                               2        section 1102.5 totaled $10,000, which is the maximum civil penalty specified in
                               3        Labor Code Sec. 1102.5.
                               4        68. As with the other claims referenced above, however, Plaintiff’s estimate of civil
                               5 penalties was based on violations rates vulnerable to being undercut and/or substantially

                               6 devalued. Furthermore, as with the imposition of any penalties under PAGA, there was a

                               7 very real risk that the Court may further reduce Plaintiff’s estimated amount under Labor

                               8 Code section 2699(e)(2), and it was very likely that, given the attenuated nature of some

                               9 of the claims, the Court would, in its discretion, limit the award because it was unjust,

                              10 arbitrary and oppressive, or confiscatory. Therefore, the settlement of the claim for

                              11 penalties under PAGA is reasonable under the circumstances here because the Parties
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                              12 negotiated a good faith amount for PAGA penalties, which was not the result of self-
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                              13 interest at the expense of Class Members.

                              14        69. It must further be noted that Defendant has agreed to revise its written policies
                              15 and practices to address Plaintiff’s claims for suitable seating and the failure to pay rest

                              16 period periods. [SA, at ¶ 5.3.] Given the fact that the change of Defendant’s written policies

                              17 furthers the purpose of PAGA in that it reduces the likelihood for further violations. As

                              18 such, a reduction in the total amount of civil penalties is further supported.

                              19        70. Each Class Member is expected to recover an estimated $7.92 per shift
                              20 [$1,075,041.67 (Net Settlement Sum) /135,704 (total number of shifts) = $7.92 per shift].

                              21 My firm has determined that Class Members worked an approximate average of 3.14 shifts

                              22 per workweek. Although each Class Member’s Individual Settlement Payment is

                              23 determined by the number of shifts he or she worked, I will also provide the per-workweek

                              24 value of Class Members’ recovery in the event it will assist the Court in its evaluation of

                              25 this Settlement. Class Members are due to receive an average of $24.87 per workweek,

                              26 which is an excellent result for the Class, puts this settlement well-within the range of

                              27 reasonableness, and further favors Court approval of the Settlement.

                              28 ///
                                                                      22
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                               1                                  SETTLEMENT TERMS
                               2        71. The term “Class Members” refers to all current and former non-exempt
                               3 employees of Defendant who worked in the State of California and who performed parking

                               4 valet duties during the Class Period. [SA, at ¶ 1.4.] The “Class Period” is the period

                               5 beginning on May 6, 2015, through the date of the order approving Plaintiff’s Motion for

                               6 Preliminary Approval of Class Action Settlement. [SA, at ¶ 1.5.]

                               7        72. The “Maximum Settlement Amount” is the maximum amount of one million
                               8 seven hundred fifty thousand dollars ($1,750,000.00) which Defendant will pay as a result

                               9 of the Settlement. [SA, at ¶ 1.15.] The Maximum Settlement Amount excludes the

                              10 employer’s share of payroll taxes. [SA, at ¶ 1.15.]

                              11        73. The “Net Settlement Sum” is the Maximum Settlement Amount less the Fee
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                              12 and Expense Award, PAGA Payment, Administration Costs, Service Award, and Labor
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                              13 Code Sec. 1102.5 Award. [SA, at ¶ 1.18.] This amount will be distributed to the Class

                              14 Members who do not timely request exclusion from the Settlement. [SA, at ¶ 1.18.]

                              15        74. The “Fee and Expense Award” is the award of fees and costs as the Court may
                              16 authorize which is to be paid to Class Counsel for the services they have rendered and will

                              17 continue to render to the Class in this action. [SA, at ¶ 1.10.] Class Counsel shall apply to

                              18 the Court for attorney’s fees in an amount up to one-third (1/3) of the Maximum Settlement

                              19 Amount ($583,333.33), plus the actual costs and expenses incurred in an amount not to

                              20 exceed $15,000.00. [SA, at ¶ 1.10.]

                              21        75. The “PAGA Payment” is the sum of $87,500.00 which shall be allocated from
                              22 the Maximum Settlement Amount to penalties under the PAGA. [SA, at ¶ 1.22.] Seventy-

                              23 five percent (75%) of the PAGA Payment – i.e., $65,625.00 – will be paid to the California

                              24 Labor and Workforce Development Agency (“LWDA”), and the remaining twenty-five

                              25 percent (25%) – i.e., $21,875.00 – will be part of the Net Settlement Sum to be distributed

                              26 to the Class. [SA, at ¶ 1.22.]

                              27        76. The “Administration Costs” are the actual and direct costs reasonably charged
                              28 by ILYM Group, Inc. (the “Settlement Administrator”) for its services in administering the
                                                                          23
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                               1 Settlement, which are currently projected by the Parties not to exceed $16,000.00. [SA, at

                               2 ¶ 1.2.]

                               3           77. The “Service Award” is the amount of be paid to Plaintiff in recognition of his
                               4 effort in obtaining the benefits of the Settlement, and also in recognition for his willingness

                               5 to provide a full and separate general release of any and all claims against Defendant. [SA,

                               6 at ¶ 1.29.] The Service Payment shall not exceed $5,000.00. [SA, at ¶ 1.29.]

                               7           78. The “Labor Code Sec. 1102.5 Award” is the amount of civil penalties paid to
                               8 Plaintiff in recognition of his allegations against Defendant pursuant to Labor Code section

                               9 1102.5. [SA, at ¶ 1.14.] The Labor Code Sec. 1102.5 Award shall not exceed $5,000.00.

                              10 [SA, at ¶ 1.14.] Plaintiff is the only employee who is alleged to have suffered a violation

                              11 of Labor Code section 1102.5 based on his individual claims for retaliation and
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                              12 constructive discharge. Therefore, the civil penalties recoverable under Labor Code section
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                              13 1102.5 pursuant to PAGA are only shared with Plaintiff, as opposed to the PAGA Payment

                              14 which is split between the LWDA and all aggrieved employees. Thus, the Parties have

                              15 agreed to allocate $5,000 of Maximum Settlement Amount to Plaintiff as the Labor Code

                              16 Sec. 1102.5 Award, subject to Court approval.

                              17           79. Class Members will not have to submit a claim form in order to participate in
                              18 the Settlement. [SA, at ¶ 5.2(c)(i).] Each Class Member who does not timely submit a

                              19 Request for Exclusion will be mailed a check representing his or her Individual Settlement

                              20 Payment. [SA, at ¶ 5.2(c)(ii).]

                              21           80. The Individual Settlement Payments will be allocated on a pro rata basis
                              22 according to the number of shifts each Class Member worked during the Class Period. [SA,

                              23 at ¶ 5.2(c)(ii).] In the event time records are missing or unavailable for a particular

                              24 workweek worked by a Class Member during the Class Period, the Class Member will be

                              25 presumed to have worked the average number of shifts worked by Class Members during

                              26 the period in which records are available for that particular week. [SA, at ¶ 5.2(c)(ii).] Thus,

                              27 participating Class Members shall be allocated a pro-rata share of the Net Settlement Sum

                              28 based on the ratio of the number of each Class Member’s shifts to the total number of shifts
                                                                              24
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                               1 for all Class Members, and multiplying this result by the Net Settlement Sum – i.e.,

                               2 Individual Settlement Payment = Net Settlement Amount x (Participating Class Member’s

                               3 Individual Number of Shifts / Total Number of Shifts for all Participating Class Members).

                               4 [SA, at ¶ 5.2(c)(ii).]

                               5         81. The Individual Settlement Payments shall be allocated 20% to wages, 40% to
                               6 interest, and 40% to penalties. [SA, at ¶ 5.2(c)(v).] The portion allocated to wages shall be

                               7 reported on an IRS Form W-2, and the Settlement Administrator shall coordinate with

                               8 Defendant such that Defendant will pay the employer’s portion of payroll taxes, including

                               9 but not limited to FICA and FUTA, which is not part of the Maximum Settlement Amount.

                              10 [SA, at ¶ 5.2(c)(v).] Defendant agrees to reasonably cooperate with the Settlement

                              11 Administrator to the extent necessary to determine or confirm the amount of the payroll
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                              12 tax payment required under this section. [SA, at ¶ 5.2(c)(v).] The portion allocated to
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                              13 interest and/or statutory penalties shall be reported on an IRS Form 1099. [SA, at ¶

                              14 5.2(c)(v).]

                              15         82. The release is carefully tailored to the claims at issue in this case. Upon the
                              16 Effective Date, as defined by the Settlement, all Class Members who do not opt out of the

                              17 Settlement will release and discharge the Released Parties from any and all claims,

                              18 demands, rights, liabilities, causes of action, and factual or legal theories that were pled in

                              19 the operative complaint, or which reasonably could have been alleged based on the facts

                              20 and legal theories contained in the operative complaint, including all of the following

                              21 claims for relief: (i) failure to provide rest periods; (ii) failure to provide meal periods; (iii)

                              22 failure to pay minimum and regular wages; (iv) failure to pay all overtime wages; (v) failure

                              23 to provide accurate wage statements; (vi) waiting time penalties; (vii) failure to indemnify

                              24 employees for necessary expenditures incurred in the discharge of duties; (viii) failure to

                              25 institute a lawful tip pooling policy; (ix) failure to provide suitable seating; (x) unfair

                              26 business practices that could have been premised on the claims, causes of action, or legal

                              27 theories of relief described above or any of the claims, causes of action, or legal theories

                              28 of relief pleaded in the operative complaint; (xi) all claims under the PAGA which could
                                                                               25
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                               1 have been premised on the claims, causes of action, or legal theories described above or

                               2 any of the claims, causes of action, or legal theories of relief pleaded in the operative

                               3 complaint; (xii) any other claims or penalties under the wage and hour laws pleaded in the

                               4 operative complaint; and (xiii) all damages, penalties, interest, and other amount

                               5 recoverable under said claims, causes of action, or legal theories of relief. [SA, at ¶¶ 1.7,

                               6 6.1.]

                               7         83. Plaintiff, and only Plaintiff, additionally expressly waives any and all rights and
                               8 benefits conferred by the provisions of section 1542 of the California Civil Code. [SA, at

                               9 ¶ 5.2(e)(v).]

                              10         84. No unclaimed amounts will revert to Defendant. [SA, at ¶ 5.2(d).] If, after 180
                              11 calendar days of mailing, the checks cashed by Class Members total less than 100% of the
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                              12 Net Settlement Sum, the amount remaining will be redistributed among those Class
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                              13 Members who cashed the checks sent to them within the 180 days on a pro rata basis in

                              14 proportion to their original Individual Settlement Payment, so long as the costs of

                              15 redistribution are less than the amount left for redistribution. [SA, at ¶ 5.2(d).] If the cost

                              16 of redistribution is more than the amount to be redistributed, or any unclaimed amounts

                              17 remain 60 calendar days after the redistribution, the Settlement Administrator shall issue a

                              18 check of the unpaid residue or unclaimed funds to the Legal Aid Association of California,

                              19 a nonprofit organization which supports projects that will benefit interests similar to those

                              20 of the Class Members. [SA, at ¶ 5.2(d)(ii).]

                              21         85. Within ten (10) calendar days after entry of the Preliminary Approval Order,
                              22 Defendant shall provide a list of all Class Members to the Settlement Administrator, which

                              23 is to include the Class Member’s name, Social Security Number, last known address,

                              24 telephone number, dates of employment, and the total number of shifts worked during the

                              25 Class Period (the “Class List”). [SA, at ¶ 4.1.] Prior to the initial mailing of the Notice to

                              26 Class Members (“Class Notice”), the Settlement Administrator will perform both an

                              27 Accurint (or substantially similar) skip trace search as well as a search on the National

                              28 Change of Address Database (“NCOA”) to attempt to obtain the best possible address for
                                                                         26
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                               1 each Class Member. [SA, at ¶ 4.2.]

                               2        86. Within fourteen (14) calendar days of receiving the Class List, the Settlement
                               3 Administrator will mail the Class Notice via first class U.S. Mail to each Class Member.

                               4 [SA, at ¶ 4.2.] If a Class Notice is returned as undeliverable with a forwarding address

                               5 provided by the United States Postal Service, the Settlement Administrator will promptly

                               6 resend the Class Notice to that forwarding address along with a brief letter stating that the

                               7 recipient has until the original deadline set forth in the Class Notice, or ten (10) calendar

                               8 days after the remailing of the Class Notice (whichever is later), to submit a Request for

                               9 Exclusion, an Objection, or to dispute the amount of shifts identified. [SA, at ¶ 4.3.]

                              10        87. The Class Notice will state the total number of shifts worked by the Class
                              11 Member, based on the data provided to the Settlement Administrator. [SA, at ¶ 4.4.] The
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                              12 Class Notice will provide that any Class Member who wishes to exclude himself or herself
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                              13 from the Settlement must submit a Request for Exclusion postmarked by the

                              14 Objection/Exclusion Deadline, which is forty-five (45) calendar days following the initial

                              15 mailing of the Class Notice. [SA, at ¶ 4.4.] Any Class Member who properly requests

                              16 exclusion from the Settlement will not receive any payment from the Settlement and will

                              17 not be bound by its terms, nor have any right to object, appeal, or comment thereon. [SA,

                              18 at ¶ 4.4.] If five percent (5%) or more of the Class Members submit a timely and valid

                              19 Request for Exclusion, Defendant shall have the option of canceling the Settlement and all

                              20 actions taken in its furtherance will be null and voided. [SA, at ¶ 4.7.]

                              21        88. Any Class Member who disagrees with Defendant’s records regarding the
                              22 number of shifts credited to him or her and/or his or her estimated Individual Settlement

                              23 Payment must provide documentation and/or an explanation to the Settlement

                              24 Administrator demonstrating contrary information. [SA, at ¶ 4.5.] The Parties will meet

                              25 and confer to determine whether an adjustment to the Class member’s shifts and/or

                              26 Individual Settlement Payment is warranted. [SA, at ¶ 4.5.]

                              27        89. Defendant will fund the Settlement within fifteen business days after the
                              28 Effective Date of the Settlement (the “Payment Obligation Date”). [SA, at ¶¶ 1.24, 4.8.]
                                                                            27
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                               1 The Settlement Administrator will mail all required payments no later than seven calendar

                               2 days after the Payment Obligation Date. [SA, at ¶ 4.9.] Individual Settlement Payment

                               3 checks not cashed within 180 calendar days of mailing will become void. [SA, at ¶ 4.9.]

                               4        90. In addition to payment of the Maximum Settlement Amount, Defendant agrees
                               5 to implement a California seating policy stating that it will provide one stool per valet

                               6 stand. Defendant will also implement a written California policy that provides for the

                               7 payment of a one-hour premium for missed rest periods. [SA, at ¶ 5.3.]

                               8                          CLASS NOTICE AND NOTICE PLAN
                               9        91. The proposed Class Notice informs Class members in plain language about the
                              10 terms of the Settlement and explains the payments to which they are entitled. The proposed

                              11 notice plan, calling for first-class mailed notice to all Class Members, as well as in-depth
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                              12 skip tracing at the outset and further in-depth skip tracing on Class Notices returned without
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                              13 a forwarding address, is consistent with class notices approved by state and federal courts.

                              14 Under the circumstances here, I believe the Class Notice and notice plan provide the best

                              15 notice practicable and the method most likely to reach the greatest number of Class

                              16 Members.

                              17        92. The Class Notice in this case summarizes the lawsuit, including the contentions
                              18 and denials of the Parties, the proceedings to date, and the terms and conditions of the

                              19 Settlement. The Class Notice fully informs Class Members of the Settlement’s effect on

                              20 their rights, of their options as Class Members (i.e., to object, opt out, and/or do nothing),

                              21 and of the consequences of exercising those options.

                              22        93. The Class Notice also outlines the procedure and deadlines for opting out of the
                              23 Settlement, for submitting objections to the Settlement, and for receiving a payment –

                              24 stating clearly that a Class Member need not submit a claim form in order to receive his or

                              25 her Individual Settlement Payment, thereby encouraging Class Member participation and

                              26 increasing the likelihood of Class Members obtaining recovery.

                              27        94. The Class Notice states the amount of the proposed Service Award to be paid
                              28 to Plaintiff; states the amount of the Fee and Expense Award to be paid to Class Counsel;
                                                                               28
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                               1 states the amount of Administration Costs to be paid to the Settlement Administrator; states

                               2 the amount of the PAGA Payment; states the amount of the Labor Code Section 1102.5

                               3 Award to be paid to Plaintiff; states the date, time, and place of the Final Approval hearing;

                               4 and explains how Class Members can obtain additional information.

                               5        95. Furthermore, the Class Notice makes it clear that the Settlement does not
                               6 constitute an admission of liability by Defendant, that the Court has not ruled on the merits

                               7 of the action, and that the final settlement approval decision has yet to be made.

                               8        96. The Parties agree to hire ILYM Group, Inc., an experienced third-party
                               9 administrator, to serve as the Settlement Administrator, subject to Court approval. Prior to

                              10 selecting ILYM Group, Inc., the Parties obtained competitive bids from other third-party

                              11 administrators, and determined ILYM Group, Inc. to be the best choice for this case. ILYM
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                              12 Group, Inc. has indicated its fees for the administration of the settlement shall not exceed
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                              13 $14,500.00.

                              14       PROVISIONAL CERTIFICATION OF THE CLASS IS APPROPRIATE
                              15        97. For the purpose of settlement only, Defendant does not dispute that provisional
                              16 certification is appropriate.

                              17                      The Proposed Settlement Class Satisfies Rule 23
                              18        98. The Class definition is precise, objective, and presently ascertainable, and
                              19 makes abundantly clear who is a Class Member. In addition, Class Members can be

                              20 identified easily by way of Defendant’s records. According to information provided by

                              21 Defendant, there are approximately 1,025 Class Members.

                              22        99. Plaintiff and the putative Class Members suffered similar violations pursuant to
                              23 the same policies and practices, and Defendant’s liability can be determined on a class-

                              24 wide basis using evidence common to the Class. Plaintiff’s claims are based on the same

                              25 facts and legal theories applicable to the rest of the Class Members. Plaintiff contends that

                              26 according to the company-wide policies and practices instituted by Defendant, all putative

                              27 Class Members were subject to Defendant’s above-described labor and payroll practices,

                              28 and each Class Member’s injury is the result of his or her exposure to the same allegedly
                                                                             29
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                               1 unlawful wage and hour practices giving rise to Plaintiff’s injuries. Plaintiff maintains that

                               2 there are no defenses unique to Plaintiff that could not be equally asserted by all Class

                               3 Members. Moreover, Class Counsel interviewed approximately 35 Class Members who

                               4 worked as Parking Valets at approximately 20 different locations at different times during

                               5 the Class Period who reported suffering the same kinds of violations as Plaintiff.

                               6        100. Plaintiff has demonstrated his dedication and commitment to the Class and has
                               7 no known conflicts of interest. Likewise, Class Counsel has worked diligently on behalf of

                               8 Plaintiff and all Class Members and has no conflicts of interest with any member of the

                               9 Class. Further, Plaintiff’s counsel is well situated to assume the responsibilities of Class

                              10 Counsel in this case because my firm is experienced in employment and class action

                              11 litigation similar to that at issue in the present case, and counsel is fully qualified to pursue
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                              12 the interests of the Class.
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                              13        101. Plaintiff contends that several questions of law and fact are common to his
                              14 claims and to those claims of the putative Class Members, which provides a justification

                              15 for handling the dispute on a class and representative basis rather than on an individual

                              16 basis for settlement purposes. For example, common questions of fact include, but are not

                              17 limited to, whether Defendant required its Parking Valet employees to monitor their phones

                              18 during meal and rest breaks; whether Defendant required its Parking Valet employees to

                              19 remain near their assigned valet location even during meal and rest periods; and whether

                              20 managers would unlawfully include themselves within the tip pool which rightfully should

                              21 have been distributed to the Parking Valet employees. Common questions of law include,

                              22 but are not limited to, whether Defendant’s written policy that meal breaks must be taken

                              23 in a location designated by the employee’s manager is illegal because it does not allow for

                              24 employees to leave the premises during the meal periods, and whether Defendant’s rest

                              25 break policy which did not state that Defendant will pay rest period premium wages for

                              26 missed rest periods is illegal.

                              27        102. Class treatment is also the superior method for resolving all claims in this case,
                              28 because a class action would (1) accomplish judicial economy by avoiding multiple suits,
                                                                             30
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                               1 and (2) protect the rights of persons who might not be able to present claims on an

                               2 individual basis.

                               3        103. Here, Class Members’ claims involve the same issues arising from the same
                               4 factual bases. If Class Members’ claims were considered on an individual basis, over one

                               5 thousand cases would follow a similar trajectory, and each would come to a similar result.

                               6 Furthermore, individual cases would consume a significant amount of the Court’s and the

                               7 Class Members’ resources. It is also likely that most Class Members would not pursue

                               8 litigation on an individual basis due to the high costs of pursuing individual claims. Absent

                               9 class treatment, similarly situated employees with small but nevertheless potentially

                              10 meritorious claims for damages would, as a practical matter, have no means of redress

                              11 because of the time, effort, and expense required to prosecute an individual action. The
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                              12 interests of the Class Members in individually controlling the litigation are minimal,
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                              13 especially given that the same policies and practices would be at issue. I believe that class

                              14 treatment is therefore superior to other available methods for the fair and efficient

                              15 adjudication of this case.

                              16                      The Settlement is Fair, Adequate, and Reasonable
                              17        104. The Settlement is the result of arm’s-length negotiations conducted over the
                              18 course of nearly two years, including each Party’s discovery and investigation of the

                              19 potential value and exposure in the case, as well as a full day ofwith Hon. Carl J. West, an

                              20 experienced mediator who has extensive experience in employment matters such as this

                              21 one. In light of the disagreements as to the merits of Plaintiff’s claims, as well as the

                              22 evaluation from the neutral third-party mediator, both Parties made significant concessions

                              23 in finding the Settlement to be an adequate resolution. Given the hotly contested nature of

                              24 Plaintiff’s claims, Defendant’s formidable defenses thereto, and the inherent difficulties

                              25 and uncertainties of proof at trial, there is a likelihood that continued litigation would carry

                              26 with it significant risks and expenses, and be very lengthy in duration. I believe the

                              27 Settlement is a fair and reasonable compromise by both Parties which avoids these risks.

                              28        105. Absent the Settlement, this case would require a significant amount of motion
                                                                     31
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                               1 practice, including, but not limited to, motions to compel, a motion for class certification,

                               2 motions to decertify the class, cross motions for summary judgment, motions in limine,

                               3 and potential several others prior to the trial of this action. Therefore, further litigation

                               4 could greatly delay resolution of this action and increase expenses. Prior to any judgment,

                               5 the Parties would have to litigate the issue of class certification, which if granted, would

                               6 require significant additional discovery, time, and expense prior to the Parties being

                               7 prepared for trial.

                               8        106. Even though the Parties have both conducted significant discovery and
                               9 investigation into this case, the formal discovery here is still in its early stages, and has

                              10 been focused only on pre-certification issues. To date, the Parties have not concluded their

                              11 pre-certification formal discovery, such as written discovery and depositions. As part of
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                              12 the preparation for trial, the Parties would incur significant additional expenses, potentially
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                              13 included the expense of retaining experts to testify at trial.

                              14        107. Even if Plaintiff were successful in proving the merits of the class action claims,
                              15 Defendant would likely submit an appeal. Thus, the Parties will have to engage in

                              16 expensive and protracted appellate practice. This Settlement avoids all of these risks, as

                              17 well as the accompanying expenses associated therewith, and instead provides immediate

                              18 and substantial monetary relief to Plaintiff and the putative Class Members. The Settlement

                              19 commits Defendant to create a Settlement fund of $1,750,000.00 to compensate Class

                              20 Members for their alleged damages, and to compensate Class Counsel and the Settlement

                              21 Administrator for their fees and costs.

                              22        108. The Parties here hotly dispute whether the Settlement Class can be validly
                              23 certified in the absence of the Settlement. Plaintiff anticipates the Parties will have to

                              24 undergo significant additional litigation before the action is certified, and anticipates that

                              25 Defendant will file at least one motion seeking to decertify the Class prior to the trial in

                              26 this action.

                              27        109. Here, assuming preliminary approval is granted, the Net Settlement Amount,
                              28 currently estimated to be approximately $1,075,041.67, will be distributed to the Class
                                                                            32
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                               1 based on the number of shifts worked during the Class Period. If each of the 1,025 Class

                               2 Members participates, the average recovery per class member will be approximately

                               3 $1,048.82. These are substantial sums which adequately recognize Plaintiff’s and Class

                               4 Members’ damages, and compensates them appropriately. Moreover, Class Members will

                               5 be able to receive their payments soon after Final Approval is granted rather than having

                               6 to wait through years of protracted and uncertain litigation.

                               7        110.        While the Settlement does represent a significant discount on Plaintiff’s
                               8 total estimate of $8,618,283 of exposure to Defendant, this reduction represents an

                               9 extremely reasonable compromise considering Defendant’s viable defenses and the

                              10 substantial risks Plaintiff would face establishing class certification and liability on all

                              11 claims. The Settlement commits Defendant to create a Settlement fund which will provide
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                              12 Class Members a financial recovery and extinguish the risks attendant to continued
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                              13 litigation, as well as any appeals which would likely be filed following the class

                              14 certification decision or a judgment in Plaintiff’s favor. Indeed, such efforts by Defendant

                              15 would likely result in a delay of several years before this case could finally be resolved,

                              16 whereas the Settlement provides Class Members with a significant and timely recovery

                              17 from the $1,750,000.00 Settlement, making it well within the range of reasonableness.

                              18        111. Class Counsel recommends the Settlement and the Settlement was reached after
                              19 the Parties spent significant time and resources investigating Plaintiff’s claims, engaging

                              20 in the informal exchange of documents and information, meeting and conferring regarding

                              21 the strengths and weaknesses of Plaintiff’s claims and Defendant’s defenses, and a full

                              22 day of mediation before a mediator with a wealth of experience in employment class

                              23 action matters. The Parties have therefore entered into this Settlement with a strong

                              24 working knowledge of the relevant facts and law, as well as the strengths and weaknesses

                              25 of their claims and defenses.

                              26        112. The amount allocated to PAGA payments is also reasonable. The settlement
                              27 of PAGA civil penalties in the sum of $87,500, 75% of which ($65,625) will be paid

                              28 directly to the LWDA is reasonable and appropriate under the circumstances. The $65,625
                                                                            33
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                               1 portion to be paid to the LWDA was not the result of self-interest at the expense of other

                               2 Class Members.

                               3       THE REQUESTED CLASS REPRESENTATIVE SERVICE AWARD IS
                               4                                        REASONABLE
                               5        113. Plaintiff assisted counsel with the investigation of the claims, assisted counsel
                               6 with preparation of the complaints, provided relevant documents, and worked with Class

                               7 Counsel throughout the case. Plaintiff also attended the full day of mediation between the

                               8 Parties. Plaintiff’s participation and input were crucial in the prosecution of this litigation.

                               9 Plaintiff spent significant hours discussing with Class Counsel the facts related to his

                              10 employment with Defendant. Plaintiff estimates that he spent approximately 70 hours

                              11 working with Class Counsel in this litigation, including answering questions from counsel,
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                              12 looking for and providing documents, attending mediation, and reviewing the Settlement
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                              13 documents. In addition, Plaintiff retained counsel with extensive experience in prosecuting

                              14 complex wage and hour class action cases and who has worked diligently to obtain this

                              15 Settlement for the Class. This case could not have continued without Plaintiff’s efforts and

                              16 desire to obtain this positive result for the Class.

                              17        114. Plaintiff’s participation was an essential element which allowed Class Counsel
                              18 to reach this Settlement. I believe other Class Members would not have taken any action

                              19 individually, and they would not have received the compensation afforded by this

                              20 Settlement but for Plaintiff’s contributions. Furthermore, under the terms of the Settlement,

                              21 Plaintiff will execute a general release of his claims, which is an expansive release that is

                              22 not required of the other Class Members who will only execute a limited release of their

                              23 claims.

                              24        115. Therefore, I believe the requested Service Award of $5,000.00 is fair and
                              25 reasonable.

                              26        116. In addition, Plaintiff is the only employee who is alleged to have suffered a
                              27 violation of Labor Code section 1102.5, which provides for a civil penalty of an amount

                              28 up to $10,000 upon a showing that an employer retaliated against an employee for
                                                                       34
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                               1 disclosing information that the employee had reasonable cause to believe that the employer

                               2 violated a state or federal statute. As a civil penalty, this amount is recoverable through an

                               3 action pursuant to PAGA. Because the civil penalty is only attributable to Plaintiff’s

                               4 claims—the complaint does not allege a violation of Labor Code section 1102.5 on behalf

                               5 of any other employee beside Plaintiff—the Parties have agreed to allocate $5,000 of the

                               6 Maximum Settlement Amount to Plaintiff in recognition of his claims under Labor Code

                               7 section 1102.5. I believe the requested Labor Code Sec. 1102.5 Award of $5,000.00 is a

                               8 fair and reasonable allocation of said penalties for claims that only Plaintiff has individually

                               9 suffered.

                              10              CLASS COUNSEL’S FEES AND COSTS ARE REASONABLE
                              11          117. Class Counsel seeks an award of one-third (1/3) of the Maximum Settlement
SAN DIEGO, CALIFORNIA 92103
3555 FIFTH AVENUE SUITE 200




                              12 Amount (or approximately $583,333.33) as payment for attorney’s fees in connection with
   GRAHAMHOLLIS APC




                              13 the prosecution of this action. [SA, at ¶ 1.10.] Class Counsel also seeks reimbursement of

                              14 the actual costs and expenses incurred, in an amount not to exceed $15,000.00. [SA, at ¶

                              15 1.10.]

                              16          118. My firm has committed significant financial and staffing resources to the
                              17 representation of Plaintiff and Class Members, diverting resources from other cases.

                              18 Attorneys and paralegals from my firm have spent significant amounts of time conducting

                              19 interviews with Class Members, conducting legal research, drafting pleadings and motions,

                              20 drafting written discovery requests, reviewing documents and information provided by

                              21 Plaintiff and Defendant’s counsel, preparing a comprehensive analysis of Defendant’s

                              22 potential damage exposure, and preparing for and attending the mediation. Plaintiff’s fee

                              23 request will be supported by a detailed explanation of the qualifications of each timekeeper,

                              24 each timekeeper’s hourly rate, and an explanation of the amount of time worked on the

                              25 various tasks performed on behalf of Plaintiff and the Class. Similarly, the request for costs

                              26 will be supported at the time of final approval with an explanation of the amount and nature

                              27 of the costs incurred.

                              28          119. Class Counsel’s work resulted in the Settlement, which provides significant
                                                                     35
                                      DECLARATION OF GRAHAM S.P. HOLLIS IN SUPPORT OF PLAINTIFF’S MOTION
                                                        FOR PRELIMINARY APPROVAL
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                               1 benefits to Class Members.

                               2        120. Given that case law supports a fee award as high as 50% on common settlement
                               3 funds of less than $10 million [See, e.g., Van Vranken v. Atl. Richfield Co., 901 F. Supp.

                               4 294, 297 (N.D. Cal. 1995) (noting that class counsel fee awards of 30-50% are more typical

                               5 where the common fund is less than $10 million), Class Counsel’s request for an attorney

                               6 fee award of $583,333.33, representing one-third of the Maximum Settlement Amount, is

                               7 both reasonable and fair in light of the amount of work performed and the amount of

                               8 resources and labor employed in the prosecution of this action. Based on my experience

                               9 and knowledge of the relevant legal market for wage and hour class actions, these amounts

                              10 accurately reflect the marketplace for similar representation of plaintiffs in wage and hour

                              11 cases on a contingency basis.
SAN DIEGO, CALIFORNIA 92103
3555 FIFTH AVENUE SUITE 200




                              12        121. Plaintiff will provide details of Class Counsel’s fee award request in the Motion
   GRAHAMHOLLIS APC




                              13 for Final Approval and Award of Attorney’s Fees and Costs, to be filed in advance of the

                              14 Final Approval hearing. In making a fee request in a class action such as this, I always

                              15 analyze the factors that a court must consider in awarding fees. I believe that such

                              16 circumstances exist here to justify the requested attorney’s fee award, including (a) the

                              17 skilled work involved in achieving such an excellent result for the Class and bringing this

                              18 hotly contested action to a conclusion, and (b) the associated risks in taking this matter on

                              19 a contingency basis. In light of these considerations, I believe Class Counsel’s requested

                              20 fee of $583,333.33 is reasonable.

                              21        122. In conclusion, it is my opinion that this Settlement is fair, reasonable, and
                              22 adequate, and in the best interest of the Class. The Settlement is an excellent result

                              23 considering the formidable arguments Defendant advanced against liability, damages, and

                              24 class certification. In light of these issues and the fact that the Settlement was the product

                              25 of protracted, contentious, arm’s-length negotiations before an experienced and neutral

                              26 third-party mediator, I believe that the Settlement should be preliminarily approved.

                              27 ///

                              28 ///
                                                                      36
                                       DECLARATION OF GRAHAM S.P. HOLLIS IN SUPPORT OF PLAINTIFF’S MOTION
                                                         FOR PRELIMINARY APPROVAL
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                               1       I declare under penalty of perjury under the laws of the State of California and the
                               2 United States that the foregoing is true and correct. Executed this 10th day of February,

                               3 2021 in San Diego, California.

                               4

                               5                                      By:
                                                                            GRAHAM S.P. HOLLIS
                               6                                            Attorney for Plaintiff
                                                                            Carter Pool
                               7

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                               9

                              10

                              11
SAN DIEGO, CALIFORNIA 92103
3555 FIFTH AVENUE SUITE 200




                              12
   GRAHAMHOLLIS APC




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                                     DECLARATION OF GRAHAM S.P. HOLLIS IN SUPPORT OF PLAINTIFF’S MOTION
                                                       FOR PRELIMINARY APPROVAL
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                             EXHIBIT 1
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                    STIPULATION OF CLASS ACTION AND PAGA REPRESENTATIVE ACTION
                                      SETTLEMENT AND RELEASE

                     This Stipulation of Class Action and PAGA Representative Action Settlement and Release
             (“Stipulation” or “Settlement”) is made and entered into by and between Plaintiff Carter Pool,
             (“Plaintiff”) individually and on behalf of all others similarly situated, and Defendant AmeriPark LLC,
             (“Defendant”) with regard to the action pending in the United States District Court, Southern District
             of California and captioned Carter Pool v. AmeriPark, LLC et al., Case No. 19CV1103-BEN-WVG,
             subject to the terms and conditions herein and the approval of the Court.

             1.       DEFINITIONS

                     1.1    “Action” means the civil action captioned Carter Pool v. AmeriPark, LLC et al., Case
             No. 19CV1103-BEN-WVG, pending in the United States District Court, Southern District of
             California, Honorable Larry Alan Burns presiding.

                     1.2      “Administration Costs” means the actual and direct costs reasonably charged by the
             Settlement Administrator for its services in administering the Settlement, currently projected by the
             Parties not to exceed Sixteen Thousand Dollars ($16,000).

                    1.3    “Class Counsel” means Plaintiff’s counsel, Graham S. P. Hollis, Vilmarie Cordero,
             and Nathan Reese of GrahamHollis A.P.C.

                   1.4     “Class Members” means all current and former non-exempt employees of Defendant
             who worked in the State of California and who performed parking valet duties during the Class Period.

                    1.5     “Class Period” is the period beginning on May 6, 2015 through of date of the order
             approving Plaintiff’s Motion for Preliminary Approval of Class Action Settlement.

                  1.6     “Class Release Date” means the latest effective date of the release provided by Class
             Members, which is the date of Preliminary Approval.

                      1.7     “Class Released Claims” means all causes of action and factual or legal theories that
             were alleged in the Operative Complaint or reasonably could have been alleged based on the facts and
             legal theories contained in the Operative Complaint, including all of the following claims for relief: (i)
             failure to provide rest periods; (ii) failure to provide meal periods; (iii) failure to pay minimum and
             regular wages; (iv) failure to pay all overtime wages; (v) failure to provide accurate wage statements;
             (vi) waiting time penalties; (vii) failure to indemnify employees for necessary expenditures incurred in
             the discharge of duties; (viii) failure to institute a lawful tip pooling policy; (ix) failure to provide
             suitable seating; (x) unfair business practices that could have been premised on the claims, causes of
             action or legal theories of relief described above or any of the claims, causes of action or legal theories
             of relief pleaded in the Operative Complaint; (xi) all claims under the California Labor Code Private
             Attorneys General Act of 2004 that could have been premised on the claims, causes of action or legal
             theories described above or any of the claims, causes of action or legal theories of relief pleaded in the
             Operative Complaint; (xii) any other claims or penalties under the wage and hour laws pleaded in the



             STIPULATION OF SETTLEMENT                                                                          Page 1
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             Operative Complaint; and (xiii) all damages, penalties, interest and other amounts recoverable under
             said claims, causes of action or legal theories of relief.

                      1.8    “Effective Date” means the date on which the Judgment becomes a Final Judgment.

                    1.9    “Defendant’s Counsel” means Marissa Alguire, Damien Delaney, and Corina
             Valderrama of Akerman LLP.

                     1.10 “Fee and Expense Award” means such award of fees and costs as the Court may
             authorize to be paid to Class Counsel for the services they have rendered and will render to the Class
             in the Action. Class Counsel shall apply to the Court for fees in an amount up to one third (1/3) of the
             Maximum Settlement Amount ($583,333.33) in attorneys’ fees plus the actual costs and expenses as
             supported by declaration. Class Counsel’s request for actual costs incurred in the litigation will not
             exceed Fifteen Thousand dollars ($15,000).

                     1.11 “Final Approval” means the final settlement approval order and judgment that will be
             entered by the Court.

                    1.12 “Final Judgment” means the latest of: (a) the date of final affirmance on an appeal of
             the Judgment; (b) the date of final dismissal with prejudice of the last pending appeal from the
             Judgment; or (c) if no appeal is filed, the expiration date of the time for the filing or noticing of any
             form of valid appeal from the Judgment. The Parties intend that the Final Approval Order will
             encompass an order entering Judgment.

                     1.13 “Individual Settlement Payment” or “Individual Settlement Allocation” means the
             portion of the Net Settlement Sum allocable to each participating Class Member.

                     1.14 “Labor Code Sec. 1102.5 Award” means the amount of civil penalties paid to Plaintiff
             Carter Pool in recognition of his individual allegations against Defendant pursuant to California Labor
             Code Sec. 1102.5. The Labor Code Sec. 1102.5 Award shall not exceed Five Thousand Dollars
             ($5,000.00).

                      1.15 “Maximum Settlement Amount” means the maximum amount of One Million Seven
             Hundred Fifty Thousand dollars ($1,750,000.00) that Defendant would pay as a result of this
             Stipulation of Settlement. The Maximum Settlement Amount includes: (1) the Individual Settlement
             Allocations; (2) the Fee and Expense Award; (3) the Administration Costs; (4) the PAGA Payment;
             (5) the Service Award; and (6) the Labor Code Sec. 1102.5 Award. The Maximum Settlement Amount
             excludes the employer’s share of payroll taxes, which shall be paid separately by Defendant. All
             amounts to be paid by Defendant shall be paid to a qualified settlement fund (“Qualified Settlement
             Fund”), which shall be administered by the Settlement Administrator. All amounts to be paid to anyone
             pursuant to this Stipulation of Settlement shall be paid out of the Qualified Settlement Fund. The
             Maximum Settlement Amount shall not increase unless it is determined that the number of actual shifts
             in the Class Period increases above 134,346 by five percent (5%) or more, as described more fully in
             paragraph 5.1 below.

                      1.16   “Mediator” means Hon. Carl West (Ret.).

                      1.17   “Named Plaintiff” or “Class Representative” means Carter Pool.

             STIPULATION OF SETTLEMENT                                                                        Page 2
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                    1.18 “Net Settlement Sum” means the Maximum Settlement Amount less the Fee and
             Expense Award, the PAGA Payment, Administration Costs, the Service Award, and Labor Code Sec.
             1102.5 Award, as approved and awarded by the Court. This amount will be distributed to the Class
             Members who do not timely request exclusion from the Settlement.

                    1.19 “Notice” means the Court-approved form of Notice of Proposed Class Action
             Settlement, substantially in the same form as Exhibit A, attached hereto.

                    1.20 “Objection/Exclusion Deadline” means the date forty-five (45) calendar days
             following the date on which the Settlement Administrator first mails the Notice to the Class Members.

                   1.21 “Operative Complaint” means, collectively, Plaintiff’s Complaint, First Amended
             Complaint, and Second Amended Complaint, which is attached as Exhibit B to this Settlement.

                    1.22 “PAGA Payment” means the sum of Eighty-Seven Thousand Five Hundred Dollars
             ($87,500.00), which shall be allocated from the Maximum Settlement Amount to penalties under the
             Labor Code §2698 et seq., the Private Attorneys General Act (“PAGA”). Of the total PAGA Payment
             ($87,500.00), seventy five percent (75%) of this sum ($65,625.00) will be paid to the California Labor
             and Workforce Development Agency (“LWDA”), and the remaining twenty five percent (25%) or
             $21,875.00 will be added to the Net Settlement Sum to be distributed to the Class.

                      1.23   “Parties” means Plaintiff and the Class and Defendant, collectively.

                     1.24 “Payment Obligation Date” means the date which is fifteen (15) business days after
             Effective Date of the Settlement.

                     1.25 “Preliminary Approval” means an Order of the Court approving this Settlement, and
             the exhibits thereto, and setting a hearing for Final Approval of the Settlement, including approval of
             attorneys’ fees and costs.

                     1.26 “Released Parties” means Defendant, and its past, present and/or future, direct and/or
             indirect, officers, directors, members, managers, employees, agents, representatives, attorneys,
             insurers, partners, investors, shareholders, administrators, parent companies, subsidiaries, affiliates,
             divisions, predecessors, successors, assigns, and joint venturers.

                     1.27 “Remainder” means the unclaimed funds of the Net Settlement Sum allocated to the
             Class if fewer than all Class Members cash the Individual Settlement Allocation checks sent to them.

                     1.28 “Request for Exclusion” means a letter or written request submitted by a Class Member
             to the Settlement Administrator and postmarked by the Objection/Exclusion Deadline that includes the
             Class Member’s name and signature, the last four digits of his or her Social Security Number and the
             following statement or something similar to “I request to be excluded from the class action proceedings
             in the matter of Carter Pool v. AmeriPark, LLC et., Case No. 19CV1103-BEN-WVG, pending in the
             United Stated District Court, Southern District of California.”

                     1.29 “Service Award” means the sum paid to Plaintiff Carter Pool in recognition of his effort
             in obtaining the benefits of the Settlement and additionally, in recognition for his willingness to provide


             STIPULATION OF SETTLEMENT                                                                          Page 3
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             a full and separate general release of any and all claims against Defendant. The Service Payment shall
             not exceed Five Thousand Dollars ($5,000.00).

                  1.30 “Settlement” means the terms and conditions set forth in this Stipulation of Class and
             PAGA Representative Action Settlement and Release.

                      1.31   “Settlement Administrator” means ILYM Group, Inc., subject to Court approval.

                     1.32 “Settlement Class” means all Class Members except those who submit a valid and
             timely request for exclusion.

             2.       GENERAL

                      2.1    The following is the procedural history of this Action:

                             (a)      Plaintiff filed the Complaint on May 16, 2019 and a First Amended Complaint
             May 15, 2019 in the Superior Court for the County of San Diego, Case No. 37-2019-00023222-CU-
             OE-CTL, alleging class action and representative PAGA allegations against Defendant on behalf of
             similarly situated and/or aggrieved employees of Defendant who performed parking valet duties in
             California. Plaintiff’s Complaint further alleged causes of action against Defendant on an individual
             basis for wrongful constructive discharge and retaliation.

                            (b)     On June 12, 2019, Defendant filed a Notice of Removal, thereby removing this
             Action to the United States District Court, Southern District of California, with case No. 19CV1103-
             BEN-WVG.

                             (c)    During the course of the litigation, Defendant provided Plaintiff a substantial
             amount of information and documents, including relevant company policies and class data, including
             a sample of timekeeping and corresponding payroll data for Plaintiff and the Class Members.
             Defendant also provided Plaintiff with a sample of the contact information for Class Members. The
             exchange of information and documents was comprehensive and enabled the parties to sufficiently
             assess the strength and weaknesses of their respective positions during arms-length negotiations at
             mediation.

                             (d)    While investigating the Action, Plaintiff identified additional areas where he
             sought to amend the operative complaint and bring additional causes of action against Defendant on a
             class basis. Class Counsel provided Defendant’s Counsel a proposed Second Amended Complaint
             adding these additional causes action and the legal and factual bases supporting them prior to a
             mediation.

                           (e)    The Parties participated in a private mediation session with the Mediator on
             August 31, 2020. The Parties reached an agreement at the mediation, which the Parties and their
             counsel have concluded to be a fair, reasonable, and adequate resolution of this Action. A fully
             executed Memorandum of Agreement (“MOA”) was signed by the Parties on September 30, 2020.

                      2.2     Plaintiff’s First Amended Complaint alleges eight causes of action, including five class
             action causes of action for wages and statutory penalties as follows: failure to provide rest periods,
             failure to provide accurate itemized wage statements, failure to timely pay wages due upon separation

             STIPULATION OF SETTLEMENT                                                                        Page 4
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             of employment, failure to indemnify all necessary work expenses, and violation of the Business and
             Professions Code § 17200, et seq. In addition, the First Amended Complaint alleged causes of action
             on an individual basis for wrongful constructive termination and retaliation. The First Amended
             Complaint further alleges representative claims under the Labor Code Private Attorney General Act
             (PAGA).

                     2.3      On October 29, 2020, Plaintiff filed a Second Amended Complaint, for purposes of the
             settlement, to add three additional causes of action for: (1) failure to provide meal periods, (2) failure
             to pay minimum and regular wages, and (3) failure to pay all overtime wages. These additional causes
             of action shall relate back to the date of the filing of Plaintiff’s original Complaint commencing the
             Action. Should, for whatever reason, the settlement set forth herein not become final, the Second
             Amended Complaint shall be deemed stricken, null and void, with the previously-filed First Amended
             Complaint in the Action remaining the operative pleading; however, Plaintiff will have the right to
             seek permission from the Court to file an amended complaint, and Defendant will have the right to
             contest that request.

                     2.4     Defendant denies any liability and wrongdoing of any kind associated with the claims
             alleged in the Action, and further denies that the Action is appropriate for class and/or representative
             treatment for any purpose other than this Settlement. Defendant in no way admits any violation of law
             or any liability whatsoever to Plaintiff and/or the Class Members, or “aggrieved” employees,”
             individually or collectively, all such liability being expressly denied. Defendant contends that it has
             complied at all times with the California Labor Code, the Wage Orders and the California Business
             and Professions Code.

                    2.5      Plaintiff believes that the Action is meritorious and that class certification is
             appropriate.

                      2.6     The Parties have engaged in substantial litigation and have thoroughly investigated
             Plaintiff’s causes of action.

                      2.7      Class Counsel has conducted a thorough investigation into the facts of the Action,
             including pre-trial motions, an extensive review and analysis of Defendant’s documents, and
             interviewed key witnesses including Class Members. Class Counsel is knowledgeable about and has
             done extensive research with respect to the applicable law and potential defenses to the claims of the
             Class Members. Class Counsel has diligently pursued an investigation of the Class Members’ claims
             against Defendant. Based on the forgoing data and on its own independent investigation and
             evaluation, Class Counsel is of the opinion that the Settlement for the consideration and on the terms
             set forth in this Stipulation of Settlement is fair, reasonable, and adequate and is in the best interest of
             the Class Members in light of all known facts and circumstances, including the risk of significant delay
             and uncertainty associated with litigation, the various defenses asserted by Defendant, and the
             numerous potential appellate issues. Further, Plaintiff has carefully evaluated the terms of the
             Settlement, and, based upon that review, has determined that it is fair and reasonable.

                     2.8     Defendant and its counsel believe that the claims asserted in the Action are without
             merit. Thus, Defendant has denied, and continues to deny, specifically and generally, each and every
             claim asserted in the Action and any and all liability or wrongdoing of any kind whatsoever associated
             with any of the facts or claims alleged in the Action. Defendant makes no concessions or admissions


             STIPULATION OF SETTLEMENT                                                                           Page 5
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             of wrongdoing or liability of any kind whatsoever. Defendant maintains that for any purpose other than
             settlement, the Action is neither suitable nor appropriate for treatment as a class or representative
             action. Although Defendant has vigorously contested the allegations in the Action to date and denies
             that it committed any wrongful action or violation of law, Defendant believes that further litigation
             with respect to the Plaintiff’s claims would be protracted, expensive, and contrary to its best interests.
             Substantial amounts of time, energy, and other resources have been, and, absent settlement, will
             continue to be devoted to Defendant’s defense against Plaintiff’s claims. In light of these realities,
             Defendant believes that settlement is the best way to resolve the disputes among the Parties while
             minimizing its own further expenditures. Defendant thus agrees the Settlement is fair, reasonable and
             adequate.

                       2.9     The Parties stipulate and agree to the conditional certification of the Class for purposes
             of this Settlement only. Should, for whatever reason, the Court not grant Final Approval, the Parties’
             stipulation to class certification as part of the Settlement shall become null and void and shall have no
             bearing on, and shall not be admissible in connection with, the issue of whether or not certification
             would be appropriate in a non-settlement context. Defendant expressly reserves its rights and declare
             that it intends to oppose class certification and any form of representative action vigorously should this
             Settlement not be granted Final Approval.

                       2.10 The Parties acknowledge that factual and legal issues have not yet been resolved and
             that if this litigation were to proceed, the Court would specifically need to resolve, among other issues,
             whether Plaintiff and the Class Members: (1) were denied meal periods required by California law
             without being paid a premium as required by California Labor Code § 226.7; (2) were denied rest
             periods required by California law without being paid a premium as required by California Labor Code
             § 226.7; (3) worked hours for which they were not properly compensated with appropriate minimum,
             hourly, and/or overtime wages as required by the California Labor Code and/or applicable Industrial
             Welfare Commission Wage Order(s); (4) were provided with inaccurate itemized wage statements in
             violation of California Labor Code § 226; (5) were timely paid final wages upon the termination of
             their employment from Defendant as required by California Labor Code §§ 201 and/or 202 and/or
             were owed waiting time penalties under California Labor Code § 203; (6) incurred reasonable and
             necessary business expenses for which they were not reimbursed as required by California Labor Code
             § 2802; (7) were deprived of all gratuities owed to them under Defendant’s tip pooling practices; (8)
             were denied suitable seating; and/or (9) suffered any unfair business practices in violation of California
             Business & Professions Code § 17200 et seq., and/or (10) were entitled to penalties under the California
             Labor Code Private Attorneys General Act of 2004.

             3.       PRELIMINARY APPROVAL

                     3.1     The Parties agree to fully cooperate with each other to accomplish the terms of this
             Stipulation of Settlement, including but not limited to, execution of such documents and to take such
             other actions as may reasonably be necessary to implement the terms of this Stipulation.

                     3.2     Class Counsel shall request a hearing before the Court to seek Preliminary Approval
             of the Settlement on a mutually available date as soon as reasonably practicable. Further, Plaintiff’s
             counsel shall file Plaintiff’s Motion for Preliminary Approval of Settlement within twenty-one (21)
             days of execution of this Settlement. In conjunction with such hearing, Class Counsel shall submit this


             STIPULATION OF SETTLEMENT                                                                           Page 6
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             Stipulation of Settlement, together with the exhibits attached hereto, and any other documents
             necessary to implement the Settlement.

                      3.3    Plaintiff’s Counsel shall provide a copy of the motion for preliminary approval to
             Defendant’s Counsel for review before filing it with the Court. Defendant agrees not to oppose
             Plaintiff’s motion for preliminary approval unless the motion is inconsistent with the terms set forth in
             this Settlement or requests any relief they believe is unreasonable.

             4.       NOTICE AND CLAIM PROCESS

                     4.1      Class Information. Within ten (10) calendar days after entry of the order granting
             Preliminary Approval, Defendant shall provide to the Settlement Administrator a list of all Class
             Members, including their name, Social Security number, last-known address, telephone number, dates
             of employment, and the total number of shifts worked for each Class Member during the Class Period.
             In the event any Defendant’s timekeeping data is unavailable and Defendant is unable to identify the
             number of shifts worked by Class Members for any workweeks during the Class Period, Defendant
             shall also identify for the Settlement Administrator any such instances, including the dates during
             which Defendant is unable to identify the shifts worked by Class Members. At no time during the
             settlement process will any Class Member’s address, telephone number or Social Security number be
             filed with the Court, except under seal as may be ordered by the Court. The Settlement Administrator
             will ensure that the Class Notice and any other communications to Class Members will not include the
             Class Members’ Social Security numbers, except for the last four digits. Class Members may,
             however, be required to submit a Form W-4 or W-9 as required by the Settlement Administrator for
             tax reporting purposes.

                     4.2     Notice by First Class U.S. Mail. Prior to the mailing of the Notice to the Class
             Members, the Settlement Administrator will run one Accurint (or substantially similar) skip trace as
             well as perform one basic search on the National Change of Address Database to attempt to obtain the
             best possible address for the Class Members before it mails the notices to the Class Members. Within
             fourteen (14) calendar days after receiving the Class Member list from Defendant, the Settlement
             Administrator shall send the Notice via first class mail, to the Class Members after it has followed the
             procedure in this Paragraph 4.2.

                     4.3      Undeliverable Notices. If a Notice is returned as undeliverable with a forwarding
             address provided by the United States Postal Service, the Settlement Administrator will promptly
             resend the Notice to that forwarding address along with a brief letter stating that the recipient of the
             Notice has until the original deadline set forth on the Notice, or ten (10) calendar days after the re-
             mailing of the Notice (whichever is later), to submit a Request for Exclusion, objection to the
             settlement, or to dispute the amount of shifts identified.

                    4.4      Objection/ Exclusion. The Class Notice shall state the total number of shifts worked
             based on the data provided to the Settlement Administrator. The Notice shall provide that Class
             Members who wish to exclude themselves from the Settlement of Class Released Claims must submit
             a Request for Exclusion postmarked by the Objection/Exclusion Deadline. The Objection/Exclusion
             Deadline is forty-five (45) calendar days following the initial mailing of the Notice. Any Class Member
             who properly requests exclusion using this procedure will not receive any payment from the Settlement


             STIPULATION OF SETTLEMENT                                                                        Page 7
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             and will not be bound by the Stipulation of Settlement or have any right to object, appeal or comment
             thereon. Class Members who do not submit a valid and timely Request for Exclusion shall be bound
             by all terms of the Stipulation of Settlement and any judgment entered in the Actions once the
             Settlement is approved by the Court.

                      4.5     Disputes Regarding Individual Settlement Allocations. Class Members who
             disagree with Defendant’s records regarding their number of shifts credited to him or her and/or
             estimated Individual Settlement Payment must provide documentation and/or an explanation
             showing contrary information directly to the Settlement Administrator by the Response Deadline.
             The dispute must: (1) contain the case number and number of the Action; (2) contain the Class
             Member’s full name, address, telephone number, and last four digits of his or her Social Security
             number, (3) contain a clear statement explaining that the Class Member wishes to dispute the number
             of shifts credited to him or her and also stating the number of shifts that he or she contends is correct;
             and (4) attach documentation demonstrating that the Class Member was not credited with the correct
             number of shifts. The Settlement Administrator will in turn provide any such submissions by Class
             Members to the Parties. The Parties will meet and confer to determine whether adjustments to the
             Class Member’s shifts and/or Individual Settlement Allocation are warranted. If the Parties are
             unable to reach an agreement as to a dispute, the Court will decide the outstanding issue. The Court’s
             determination of the eligibility for and amount of any Individual Settlement Allocation will be
             binding upon the Class Member and the Parties. In the absence of circumstances indicating fraud,
             manipulation, negligence, or destruction, Defendant’s records will be given a rebuttable presumption
             of accuracy.

                     4.6     Declaration of Due Diligence. At least thirty-five (35) calendar days prior to the final
             approval hearing, the Settlement Administrator will provide a declaration of due diligence and proof
             of mailing with regard to the mailing of the Notice to counsel for all Parties. Further, in order to permit
             Class Counsel to file its Motion to Approve Class Counsel’s Fee and Expense Award prior to the
             Objection/Exclusion Deadline, the Settlement Administrator shall also provide a preliminary
             declaration of due diligence and proof of mailing with regard to the status of the mailing of the Notice
             to counsel for all Parties at least ten (10) calendar days prior to the Objection/Exclusion Deadline.

                     4.7     If five percent (5%) or more of the Class Members submit a timely and valid Request
             for Exclusion, Defendant shall have the option of canceling the Settlement and all actions taken in its
             furtherance will be null and void. Defendant must exercise this right within five (5) business days after
             the Settlement Administrator notifies the Parties of the number of valid and timely Request for
             Exclusion letters received, which the Settlement Administrator must do within seven (7) calendar days
             after the Objection/Exclusion Deadline. If Defendant exercises its option to cancel the settlement,
             Defendant will retain the entirety of the Maximum Settlement Amount, except for the administration
             costs incurred to that date. The Parties and their counsel agree not to take any action to encourage any
             Class Members to opt into or out of or to object to the settlement.

                   4.8 Defendant will provide the Settlement Administrator with sufficient funds to make all
             payments due to Plaintiff, Class Counsel, the LWDA, the Settlement Administrator, and the Class
             Members, plus any owed Payroll Taxes, no later than the Payment Obligation Date.




             STIPULATION OF SETTLEMENT                                                                          Page 8
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                     4.9    The Settlement Administrator will mail all required payments no later than seven (7)
             calendar days after the Payment Obligation Date. Individual Settlement Allocation checks not cashed
             within 180 calendar days of mailing will become void. If a Class Member’s check is returned to the
             Settlement Administrator, with a forwarding address provided by the United States Postal Service, the
             Settlement Administrator will promptly resend the check to that Class Member.

                     4.10 No person shall have any claim against Defendant, Defendant’s Counsel, Plaintiff, the
             Class, Class Counsel or the Settlement Administrator based on mailings, distributions and payments
             made in accordance with this Stipulation of Settlement.

                      4.11   The following is a summary of the proposed timeline related to this Settlement:

               EVENT                                               DEADLINE
               Preliminary Approval of the Settlement by the       TBD
               Court

               Defendant to provide Settlement Administrator       10 calendar days after entry of the order
               with list of Class Members, including their         granting Preliminary Approval
               name, Social Security number, last-known
               address, telephone number, dates of
               employment, and the total number of shift
               worked, if available, for each Class Member
               during the Class Period.

               Settlement Administrator to the parties of actual   10 calendar days after receiving Class Member
               number of shifts in the Class Period.               List

               Settlement Administrator to mail Notice to          14 calendar days after receiving Class Member
               Class Members                                       List

               Objections/Exclusion Deadline                       45 calendar days after mailing of Notice

               Settlement Administrator to provide a               10 calendar days prior to the
               preliminary declaration of due diligence and        Objection/Exclusion Deadline.
               proof of mailing with regard to the mailing of
               the Notice to counsel for all Parties.

               Settlement Administrator to notify Parties of the 7 calendar days after Objections/Exclusion
               number of valid and timely request for            Deadline
               exclusion letters received

               Deadline for Defendant to exercise its option to    5 business days after Settlement Administrator
               cancel the settlement if 5% or more of the Class    notifies the Parties of the number of valid and
               Members submit a timely and valid request for       timely requests for exclusion
               exclusion



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               Settlement Administrator to provide declaration    35 calendar days prior to Final Approval
               of due diligence                                   Hearing

               Final Approval Hearing                             TBD

               Effective Date of the Settlement                   Date the Court signs the Final Approval Order
                                                                  and Judgment, if no objections to the
                                                                  Settlement.

               Payment Obligation Date                            15 business days after Effective Date of the
                                                                  Settlement

               Settlement Administrator to mail Individual        7 business days after the Defendant makes all
               Settlement Payments                                the necessary payments into the Qualified
                                                                  Settlement Fund

               Uncashed Checks Become Void                        180 calendar days after mailing of the
                                                                  Individual Settlement Payment Checks and the
                                                                  funds are redistributed to Class Members whose
                                                                  checks were not returned

               Redistribution of Unclaimed Funds                  Within 30 calendar days after the 180-day
                                                                  check cashing deadline


             5.       SETTLEMENT COMPONENTS

                     5.1     This Settlement is based on the number of shifts in the Class Period, which is currently
             estimated to be 134,346. Within ten (10) days after receipt of the Class Member data from Defendant,
             the Settlement Administrator shall provide the Parties the total number of shifts in the Class Period. In
             determining the number of shifts in the Class Period, the Settlement Administrator shall use the method
             described in paragraph 5.2(c)(ii) below. If the number of shifts in the Class Period increases above
             134,346 by 5% or more (i.e. exceeds 141,188 shifts): (i) the Maximum Settlement Amount shall be
             increased pro-rata by the amount of the increase in shifts over 134,346, or (ii) Plaintiff shall have the
             option to terminate the Settlement.

                      5.2    The Settlement shall have six components: (1) the Individual Settlement Allocations;
             (2) the Fee and Expense Award; (3) the Administration Costs; (4) the PAGA Payment; (5) the Service
             Award; and (6) the Labor Code Sec. 1102.5 Award. All of these components are included in the
             Maximum Settlement Amount.

                            (a)     Payroll Taxes: The Maximum Settlement Sum does not include the Payroll
             Taxes, which shall be paid by Defendant separate and apart from the Maximum Settlement Amount.
             The Payroll Taxes will be computed by the Settlement Administrator based on the amounts paid to the
             participating Class Members. The Settlement Administrator shall be responsible for making all
             necessary payments and government filings in connection with such payments.


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                              (b)     Circular 230 Disclaimer: Each Party (for purposes of this section, the
             “acknowledging party” and each Party to this Stipulation of Settlement other than the acknowledging
             party, an “other party”, acknowledges and agrees that (i) no provision of this Stipulation of Settlement,
             and no written communication or disclosure between or among the Parties or their attorneys and other
             advisers, is or was intended to be, nor shall any such communication or disclosure constitute or be
             construed or be relied upon as, tax advice within the meaning of the United States Treasure Department
             circular 230 (31 C.F.R. part 10, as amended); (ii) the acknowledging party (a) has relied exclusively
             upon his, her, or its own, independent legal and tax counsel for advice (including tax advice) in
             connection with this Stipulation of Settlement, (b) has not entered into this Stipulation of Settlement
             based upon the recommendation of any other party or any attorney to any other party, and (c) is not
             entitled to rely upon any communication or disclosure by any attorney or adviser to any other party to
             avoid any tax penalty that may be imposed on the acknowledging part, and (iii) no attorney or adviser
             to any other party has imposed any limitation that protects the confidentiality of any such attorney’s or
             adviser’s tax strategies (regardless of whether such limitation is legally binding) upon disclosure by
             the acknowledging party of the tax treatment or structure of any transaction, including any transaction
             contemplated by this Agreement.

                             (c)      Individual Settlement Payments: Administrator shall have the authority and
             obligation to calculate the amounts of Individual Settlement Payments in accordance with the
             methodology set forth in this Stipulation of Settlement and orders of the Court. The Parties agree that
             the formula for the Individual Settlement Payments to Class Members provided herein is reasonable
             and that the payments provided herein are designed to provide a fair settlement to such persons, in light
             of the uncertainties of the damages and penalties alleged to be owed to the Class and the calculation of
             such amounts.

                                    (i)     The parties agree that Class Members will not have to submit a claim
             form in order to participate in the Settlement. Each Class Member who does not timely submit a
             Request for Exclusion will be mailed a check representing his or her Individual Settlement Payment
             for Class Released Claims.

                                    (ii)    Distribution Formula for Settlement Class. The Parties agree that
             one hundred percent (100%) of the Net Settlement Sum will be allocated to Settlement Class. The
             Individual Settlement Payments be allocated on a pro rata basis according to the number of shifts each
             Class Members worked during the Class Period. In the event time records are missing or unavailable
             for a particular workweek worked by a Class Member during the Class Period, the Class Member will
             be presumed, for the workweek during which he or she worked and the records are missing or
             unavailable, to have worked the average number of shifts worked by Class Members during the period
             in which records are available. Thus, participating Class Members shall be allocated a pro-rata share
             of the Net Settlement Sum based on the ratio of the number of each Class Member’s shifts to the total
             number of shifts for all Class Members and multiplying this result by the Net Settlement Sum:
             Individual Settlement Payment = Net Settlement Amount x (Participating Class Member’s
             Individual Number of Shifts/Total Number of Shifts For All Participating Class Members).

                                      (iii)  Each Class Member mailed an Individual Settlement Payment will
             have 180 calendar days from the date of the mailing of the Settlement Payment check to cash the check.
             Failure to cash the check within 180 calendar days will result in the Class Member foregoing all
             eligibility to receive any payment from the Settlement, but the Settlement Class Member shall remain

             STIPULATION OF SETTLEMENT                                                                       Page 11
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             bound by the Settlement and its Class Released Claims. The checks will state they are void if not
             cashed within 180 calendar days of mailing.

                                      (iv)     The right of any Class Member to receive any settlement payment shall
             be conditioned upon his or her cashing the settlement check by the end of the 180th day after the
             Settlement Administrator mails any settlement check to the Class Member. Checks sent to Class
             Members and not cashed shall be null and void after 180 calendar days of mailing and the recipient
             Class Members shall thereafter have no right of any kind to receive payment. No Class Member or his
             or her heirs or estate shall acquire any interest in any settlement check that the Class Member does not
             cash by the end of the 180th day after the Settlement Administrator mails it.

                                      (v)      Allocation of The Individual Settlement Payments. The Parties
             recognize that the Individual Settlement Payments to be paid to Class Members reflect settlement of a
             dispute over claimed wages, interest, and penalties. The Individual Settlement Payments to the
             Settlement Class shall be allocated 20% to wages, 40% to interest and 40% to penalties. The portion
             allocated to wages shall be reported on an IRS Form W-2, and the Settlement Administrator shall
             coordinate with Defendant, such that Defendant will pay the employer’s portion of payroll taxes,
             including but not limited to FICA and FUTA, which is not part of the Maximum Settlement Amount.
             Defendant agrees to reasonably cooperate with the Settlement Administrator to the extent necessary to
             determine or confirm the amount of the payroll tax payment required under this Section. The portion
             allocated to interest and/or statutory penalties shall be reported on an IRS Form 1099.

                                    (vi)   It shall be the responsibility of the Settlement Administrator to timely
             and properly withhold from Individual Settlement Payments payable to Class Members all applicable
             payroll and employment taxes, including all federal, state, and local income taxes, and to prepare and
             deliver the necessary tax documentation and, thereafter, to cause the appropriate deposits of
             withholding taxes and informational and other tax return filing to occur.

                                    (vii) Each Class Member’s share of all applicable payroll and employment
             taxes withheld and deposited with the applicable governmental authorities in accordance with this
             Stipulation of Settlement shall be a part of, and paid out of, the Individual Settlement Payment to each
             Class Member. Each Class Member will be responsible for paying all applicable state, local, and
             federal income taxes on all amounts the Class Member receives pursuant to this Stipulation of
             Settlement.

                                      (viii) No Effect on Employee Benefits: Individual Settlement Payments
             provided for in this Stipulation of Settlement are the sole payments to be made to the Class Members,
             and the Class Members are not entitled to any new or additional compensation or benefits as a result
             of having received the Individual Settlement Payments (notwithstanding any contrary language or
             agreement in any benefit or compensation plan document that might have been in effect during the
             period covered by this Settlement).

                            (d) Allocation of the Remainder of The Net Settlement Sum. This is a non-
             reversionary “all-in” settlement. No unclaimed amounts will revert to Defendant. If after 180 calendar
             days of mailing, the checks cashed by Class Members total less than 100% of the Net Settlement Sum,
             the amount remaining will be redistributed among those Class Members who cashed the checks sent
             to them within the 180 days (the “Redistribution”), on a pro-rata basis in proportion to their original


             STIPULATION OF SETTLEMENT                                                                      Page 12
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             Individual Settlement Payment, as long as the costs of Redistribution are less than the amount left for
             Redistribution.

                                      (i)     If the costs of Redistribution are less than the amount left for re-
             distribution, the Redistribution will take place within 30 calendar days after the 180-day check cashing
             deadline. The Settlement Administrator shall be paid the costs of Redistribution from the amount left
             for Redistribution. The checks sent as part of the Redistribution must be cashed within 60 calendar
             days of mailing.

                                     (ii)     If the costs of Redistribution are more than the amount to be
             redistributed, or any unclaimed amounts remain 60 calendar days after the Redistribution, the
             Settlement Administrator shall issue a check of the unpaid residue or unclaimed or abandoned Class
             Members’ funds to the cy pres beneficiary selected by the Parties: The Legal Aid Association of
             California, a nonprofit organization that support projects that will benefit of Class Members. Class
             Members who do not timely cash their Individual Settlement Payments and whose checks are cancelled
             shall nevertheless be bound by all of the terms of the Settlement, including without limitation, including
             the applicable releases set forth herein.

                           (e)   1.28 Service Award, Labor Code Sec. 1102.5 Award, and General
             Release by Named Plaintiff: Defendant agrees not to challenge Class Counsel’s request for the
             Service Award and Labor Code Sec. 1102.5 Award to the Plaintiff. The Service Award and Labor
             Code Sec. 1102.5 Award will be paid in addition to Plaintiff’s Individual Settlement Payment.

                                    (i)     The Service Award will, subject to Court approval, be in the amount of
             Five Thousand Dollars ($5,000). Should the Service Payment approved by the Court be less than the
             amount sought, the difference shall revert to the Net Settlement Sum.

                                     (ii)    The Labor Code Sec. 1102.5 Award will, subject to Court approval, be
             in the amount of Five Thousand Dollars ($5,000). Should the Labor Code Sec. 1102.5 Award approved
             by the Court be less than the amount sought, the difference shall revert to the Net Settlement Sum.

                                      (iii)  The Service Award is for the Class Representative services and
             assistance to the Class throughout the over a year of litigation, and additionally, in recognition for his
             willingness to provide a full and separate general release of any and all claims against Defendant
             regardless of whether such claims are known and unknown, suspected or unsuspected.
             Notwithstanding this release, the Parties agree that Plaintiff shall separately execute an individual
             settlement agreement related to his individual claims. Plaintiff’s release, as described herein, shall
             neither conflict with nor bar Plaintiff from obtaining settlement for his individual claims for (1)
             wrongful constructive termination and (2) unlawful retaliation, as described in Plaintiff’s Second
             Amended Complaint, attached as Exhibit B. Nothing in this Paragraph shall be construed as a waiver
             or limitation of Defendant’s affirmative defenses.

                                    (iv)   Except as to Named Plaintiff’s individual claims for (1) wrongful
             constructive termination and (2) unlawful retaliation, which are subject to a separate Individual
             Settlement Agreement, Named Plaintiff hereby releases, on behalf of himself and each of his family
             members, heirs, representatives, attorneys, and assigns, all federal and state statutory claims, and
             federal and state common law claims. Named Plaintiff expressly waives the protections of California


             STIPULATION OF SETTLEMENT                                                                        Page 13
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             Civil Code Section 1542. Named Plaintiff understands and agrees that claims or facts in addition to or
             different from those which are now known or believed by him to exist may hereafter be discovered. It
             is his intention to settle fully and release all of the claims he now has against the Released Parties,
             whether known or unknown, suspected or unsuspected. The Service Payment shall be paid to Named
             Plaintiff specifically in exchange for the general release of the Released Parties from all claims,
             including those specified in this paragraph, but excluding those claims for (1) wrongful constructive
             termination and (2) unlawful retaliation, which are subject to a separate Individual Settlement
             Agreement.

                                    (v)     Named Plaintiff acknowledges he is expressly waiving any and all
             rights and benefits conferred by the provisions of Section 1542 of the California Civil Code, which
             provides:

                             A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                             WHICH THE CREDITOR OR RELEASING PARTY DOES
                             NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
                             FAVOR AT THE TIME OF EXECUTING THE RELEASE,
                             AND THAT IF KNOWN BY HIM OR HER, WOULD HAVE
                             MATERIALLY AFFECTED HIS OR HER SETTLEMENT
                             WITH THE DEBTOR OR RELEASED PARTY.

                                      (vi)   Named Plaintiff promises never to sue nor participate in any lawsuit
             against the Released Parties in any forum or for any reason related to the laws or theories covered by
             the release set forth herein. Named Plaintiff expressly waives any rights or potential rights of recovery
             that he may have in a potential class, collective, or representative settlement in any actions related to
             the claims released herein.

                                      (vii) The Labor Code Sec. 1102.5 Award is made to Named Plaintiff in
             recognition of the civil penalties recoverable under the PAGA pursuant to California Labor Code Sec.
             1102.5, which provides for civil penalties. The Parties have allocated five thousand dollars ($5,000.00)
             to cover these civil penalties, and, for settlement purposes only, agree that this allocation is fair and
             reasonable and aligned with the stated purpose of the PAGA.

                                      (viii) Because the Service Award represents payment to the Class
             Representative for services to the Class Members, and not wages, taxes will not be withheld from the
             Named Plaintiff Service Award. Because the Labor Code Sec. 1102.5 Award represents the payment
             of civil penalties, and not wages, taxes will not be withheld from the Labor Code Sec. 1102.5 Award.
             No party has made any representation to Named Plaintiff as to the taxability of the Service Award or
             Labor Code Sec. 1102.5 Award. The Settlement Administrator will report the Service Award and
             Labor Code Sec. 1102.5 Award on a Form 1099, which it will provide to the Named Plaintiff and to
             the pertinent taxing authorities as required by law.

                                      (ix)    The Named Plaintiff assumes full responsibility for paying all taxes and
             penalties, if any, federal and state, due as a result of the Service Award and Labor Code Sec. 1102.5
             Award.



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                             (f)      Class Counsel’s Fees and Expense Award: Defendant agrees not to
             challenge Class Counsel’s request for its Fee and Expense Award up to the maximum amount of $
             583,333.33, plus an award of reasonable litigation expenses actually and necessarily incurred in the
             Action. Should the Fee and Expense Award approved by the Court be less than the amount sought,
             the difference shall be added to the Net Settlement Sum. Payment of the Fee and Expense Award to
             Class Counsel shall constitute full satisfaction of any obligation to pay any amounts to any person,
             attorney or law firm for attorneys’ fees, expenses or costs in the Actions, and shall relieve Defendant
             and Defendant’s Counsel of any other claims or liability to any other attorney or law firm for any
             attorneys’ fees, expenses and/or costs to which any of them may claim to be entitled on behalf of
             Plaintiffs and/or the Class.

                     5.3     In addition to payment of the Maximum Settlement Amount, Defendant agrees to
             implement a California seating policy stating that it will provide one stool per valet stand. Defendant
             will also implement a written California policy that provides for the payment of a one-hour premium
             for missed rest periods. Defendant shall provide Class Counsel a copy of these written policy changes.

             6.       RELEASE BY THE CLASS

                       6.1     Upon the Effective Date, all Settlement Class Members who do not opt out of the
             Settlement will release and discharge Released Parties from any and all claims, demands, rights,
             liabilities, and causes of action that were pled in the Operative Complaint, or which could have been
             pled in the Operative Complaint based on the factual allegations therein, with respect to the Class
             Released Claims defined above. The res judicata effect of the Judgment will be the same as that of the
             Class Released Claims.

             7.       VOIDING THE AGREEMENT

                     7.1      In the event of any of the following: (i) the Court does not approve the scope of the
             Class Released Claims; (ii) the Court finds the Maximum Settlement Sum is insufficient to warrant
             approval; or (iii) five percent (5%) or more of the Class Members submit a timely and valid Request
             for Exclusion, Defendant may elect to reject this Settlement and the Settlement shall be null and void.
             In such case, the Class Members and Defendant shall be returned to their respective statuses as of the
             date immediately prior to the execution of this Settlement. In the event an appeal is filed from the Final
             Approval Order and Judgment, or any other appellate review is sought prior to the Payment Obligation
             and Class Release Date, administration of the Settlement, including disbursement of any payments of
             any settlement amounts, shall be stayed pending final resolution of the appeal or other appellate review.

             8.       PARTIES’ AUTHORITY

                    8.1     The signatories hereto represent that they are fully authorized to enter into this
             Settlement and bind the Parties to the terms and conditions hereof.

             9.       MUTUAL FULL COOPERATION

                     9.1      The Parties and their counsel agree to fully cooperate with each other to accomplish
             the terms of this Settlement, including but not limited to, execution of such documents and to take such


             STIPULATION OF SETTLEMENT                                                                        Page 15
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             other action as may reasonably be necessary to implement the terms of this Settlement. The Parties to
             this Settlement shall use their best efforts, including all efforts contemplated by this Settlement and
             any other efforts that may become necessary by order of the Court, or otherwise, to effectuate this
             Settlement and the terms set forth herein. In the event the Parties are unable to reach agreement on the
             form or content of any document needed to implement the Settlement, or on any supplemental
             provisions or actions that may become necessary to effectuate the terms of this Settlement, the Parties
             shall seek the assistance of the Court or the Mediator to resolve such disagreement.

             10.      NO ADMISSION

                     10.1 Nothing contained herein, nor the consummation of this Settlement, is to be construed
             or deemed an admission of liability, culpability, negligence, or wrongdoing on the part of Defendant
             or any of the other Released Parties. Each of the Parties hereto has entered into this Settlement with
             the intention of avoiding further disputes and litigation with the attendant risk, inconvenience and
             expenses. This Settlement is a settlement document and shall, pursuant to California Evidence Code
             section 1152 and/or Federal Rule of Evidence 408 and/or any other similar law, be inadmissible as
             evidence in any proceeding, except an action or proceeding to approve the settlement, and/or interpret
             or enforce this Settlement.

             11.      CONFIDENTIALITY/PUBLICITY

                      11.1 Plaintiff and Plaintiff’s Counsel agree not to disclose or publicize the settlement in a
             matter that would identify Defendant, including the fact of the settlement, its terms or contents, and the
             negotiations underlying the settlement, in any manner or form, directly or indirectly, that to any person
             or entity, except potential class members and as shall be contractually required to effectuate the terms
             of the settlement. For the avoidance of doubt, this section means Plaintiff and Plaintiff’s Counsel agree
             not to issue press releases, communicate with, or respond to any media or publication entities, publish
             information in manner or form, whether printed or electronic, on any medium or otherwise
             communicate, whether by print, video, recording or any other medium, with any person or entity
             concerning the settlement, including the fact of the settlement, its terms or contents and the negotiations
             underlying the settlement, except as shall be contractually required to effectuate the terms of the
             settlement. However, for the limited purpose of allowing Plaintiff’s Counsel to prove adequacy as class
             counsel or submit fee requests in other actions, Plaintiff’s Counsel may disclose the name of the Parties
             in this action, the venue/case number of this action, and the amount of attorney’s fee granted (but not
             any other settlement details) for such purposes.

             12.      OTHER CLAIMS

                     12.1 Plaintiff and Plaintiff’s Counsel represent that they are not currently aware of any: (a)
             unalleged claims in addition to, or different from, those which are finally and forever settled and
             released against the Released Parties by this settlement; and (b) unalleged facts or legal theories upon
             which any claims or causes of action could be brought against Defendant, except such facts and
             theories specifically alleged in the Operative Complaint. Plaintiff and Plaintiff’s Counsel further
             represent that, other than the instant Action, they have no current intention of asserting any other claims
             against Defendant in any judicial or administrative forum. Plaintiff and Plaintiff’s Counsel further
             represent that they do not currently know of or represent any persons who have expressed any interest


             STIPULATION OF SETTLEMENT                                                                         Page 16
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             in pursuing litigation or seeking any recovery against Defendant. The Parties acknowledge,
             understand, and agree that the representations described in this paragraph are essential to the
             Agreement and that this Agreement would not have been entered into were it not for this representation.

             13.      CONSTRUCTION

                      13.1 The Parties hereto agree that the terms and conditions of this Settlement are the result
             of lengthy, intensive arms’ length negotiations between the Parties and that this Settlement shall not
             be construed in favor of or against any of the Parties by reason of the extent to which any Party or his
             or its counsel participated in the drafting of this Settlement.

             14.      JURISDICTION OF THE COURT

                      14.1 Except for those matters to be resolved by the Mediator or the Settlement Administrator
             as expressly stated, any dispute regarding the interpretation or validity or otherwise arising out of this
             Settlement, or relating to the Actions or the Class Released Claims, shall be subject to the exclusive
             jurisdiction of the Court, and the Plaintiff, Class Members and Defendant agree to submit to the
             personal and exclusive jurisdiction of the Court. The Court shall retain jurisdiction solely with respect
             to the interpretation, implementation and enforcement of the terms of this Settlement and all orders
             and judgments entered in connection therewith, and the Parties and their counsel submit to the
             jurisdiction of the Court for purposes of interpreting, implementing and enforcing the settlement
             embodied in this Settlement and all orders and judgments entered in connection therewith.

             15.      CALIFORNIA LAW GOVERNS

                    15.1 All terms of this Settlement and the exhibits hereto shall be governed by and interpreted
             according to the laws of the State of California, regardless of its conflict of laws.

             16.      INVALIDITY OF ANY PROVISION

                     16.1 The Parties request that before declaring any provision of this Stipulation of Settlement
             invalid, the Court shall first attempt to construe all provisions valid to the fullest extent possible
             consistent with applicable precedents.

             17.      AMENDMENT OR MODIFICATION

                    17.1 This Settlement may be amended or modified only by a written instrument signed by
             counsel for all Parties or their successors-in-interest.

             18.      ENTIRE AGREEMENT

                    18.1 This Settlement, including Exhibits attached hereto, contains the entire agreement
             between the Parties. All prior or contemporaneous agreements, understandings, representations, and
             statements, whether oral or written and whether by a party or such party’s legal counsel, including the
             Memorandum of Agreement between the Parties, are merged herein.



             STIPULATION OF SETTLEMENT                                                                        Page 17
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             19.      INTERIM STAY OF PROCEEDINGS

                     19.1 The Parties agree to hold in abeyance all proceedings in the Actions, except such
             proceedings necessary to implement and complete the Settlement, pending the final approval hearing
             to be conducted by the Court.

             20.      COUNTERPARTS

                     20.1 This Settlement may be executed in counterparts, and when each of the Parties has
             signed and delivered at least one such counterpart, each counterpart shall be deemed an original, and,
             when taken together with other signed counterparts, shall constitute one fully signed Settlement, which
             shall be binding upon and effective as to all Parties.

             IT IS SO AGREED.
                            
               Dated: ___________________                     PLAINTIFF:

                                                              __________________________________________
                                                                             CARTER POOL

               Dated: ___________________                     DEFENDANT:

                                                              By: ____________________________________
                                                              Title: ____________________________________
                                                                         on behalf of AMERIPARK, LLC



             APPROVED AS TO CONTENT ONLY:


                       1/13/2021
               Dated: ___________________                     GRAHAMHOLLIS APC
                                                              Attorneys for Plaintiff Carter Pool

                                                              By: ______________________________________
                                                                    Graham Hollis, Esq.
                                                                    Nathan Reese, Esq.

               Dated: ___________________                     AKERMAN LLP
                                                              Attorneys for Defendant AmeriPark, LLC

                                                              By: ______________________________________
                                                                    Marissa Alguire, Esq.
                                                                    Damien Delaney, Esq.
                                                                    Corina Valderrama, Esq.



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                              EXHIBIT A
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                                      Pool v. AmeriPark, LLC
          United States District Court, Southern District of California, Case 19CV1103-BEN-WVG

   PLEASE READ THIS NOTICE CAREFULLY. YOUR LEGAL RIGHTS ARE AFFECTED
   WHETHER YOU ACT OR NOT.

                    The Court authorized this notice. This is not a solicitation from a lawyer.

   A proposed class action settlement (“Settlement”) has been reached between the Parties in the
   above-entitled action and preliminarily approved by the Court as described below. You have
   received this notice because AmeriPark’s records indicate that you are a current or former non-
   exempt employee of AmeriPark, LLC who worked in the State of California and who performed
   parking valet duties from any time between May 6, 2015 and [insert date of preliminary approval]
   (the “Class”).

   Dear [CLASS MEMBER NAME]:

                You are eligible to receive an Individual Settlement Amount, estimated to be
                                     approximately $ [_______________].

   This settlement relates only to the time period May 6, 2015 - [date of preliminary approval] (the
   “Class Period”), the qualifying time period for this Settlement, and may not reflect all of your
   employment dates with AmeriPark, LLC.

   1.       WHY SHOULD I READ THIS NOTICE?

   You should read this notice because you may be entitled to payment from the Settlement in the
   above-entitled action and because your legal rights may be affected even if you do nothing. The
   Plaintiff and AmeriPark have entered into a Joint Stipulation of Settlement and Release
   (“Settlement Agreement”) that will, if finally approved by the Court, fully resolve the claims
   alleged against AmeriPark in this case, as described in Section 2. The Settlement Agreement sets
   forth the details of the settlement. You may obtain a copy of the Settlement Agreement from
   either the Claims Administrator or Class Counsel. The proposed Settlement Agreement has been
   submitted to the Court, and has been preliminarily approved for settlement purposes. The Court
   also preliminarily appointed Plaintiff as a representative of the Class (“Class Representative”) and
   has preliminarily appointed the following Plaintiff’s counsel as counsel for the Class (“Class
   Counsel”):

                                         GRAHAMHOLLIS APC
                           Graham S. P. Hollis (ghollis@grahamhollis.com)
                            Vilmarie Cordero (vcordero@grahamhollis.com)
                             Nathan J. Reese (nreese@grahamahollis.com)
                                        3555 Fifth Avenue, Ste 200
                           San Diego, CA 92103Telephone: (619) 344-8696
   As a member of the Class, you are entitled to share in the funds available for settlement of this
   class action. You are not being sued and you will not be individually responsible for any of the
   attorney’s fees or expenses of the litigation, as the settlement requires those amounts to be paid by
                                                          1
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   AmeriPark. Your rights will be affected by the Settlement described in this Notice whether you
   act or not.

   The Court must finally approve the terms of the settlement described below as fair and reasonable
   to the Settlement Class, before it will take effect. If approved, the settlement will affect all Class
   Members who do not exclude themselves from the Settlement Class. An administrator that has
   been appointed by the Court will make all approved settlement payments after the Court orders
   them.
   2.       WHAT IS THIS CASE ABOUT?

   Carter Pool (“Plaintiff”) is a former employee of AmeriPark who held the position of Parking
   Valet in California. Plaintiff filed a class action and representative action lawsuit which is now
   pending in the United States District Court for the Southern District of California located in San
   Diego. The Plaintiff alleges that he and the other employees performing parking valet duties
   (“Class Members”) were not paid for all of their hours worked, including minimum, regular, and
   overtime wages. Plaintiff also alleges that he and Class Members were not provided with all
   required meal and rest breaks, reimbursement for necessary expenditures they incurred as a result
   of their employment with AmeriPark, or suitable seating while working for AmeriPark. Plaintiff
   further alleges that Defendant’s tip pooling practices deprived them of receipt of all of their
   gratuities.

   There has been no Court ruling or determination on the merits of the claims alleged by Plaintiff or
   of AmeriPark’s defenses, and as such, the Court has found no liability in this Action. AmeriPark
   denies all of the allegations in the lawsuit or that it violated any law and contends that at all times
   it has complied with the law.

   The Parties participated in mediation with a respected class action mediator, and as a result of
   mediation, the Parties reached a settlement as described below.

   3.       WHO IS INCLUDED IN THE SETTLEMENT CLASS?

   This settlement includes all current and former non-exempt employees of Defendant who worked
   in the State of California and who performed parking valet duties between May 6, 2015 and
   [insert date of preliminary approval]

   4.       WHAT ARE THE TERMS OF THE SETTLEMENT AND HOW MUCH CAN I
            EXPECT TO RECEIVE?

                a. Summary of Settlement Terms
    AmeriPark will pay $1,750,000.00 to settle this case (the “Maximum Settlement Amount”).
    From that amount, payments will be made to Class Counsel for court-approved attorney’s fees
    and costs, to the Claims Administrator for administration costs, to the California Labor and
    Workforce Development Agency for penalties, and to the Plaintiff as a service award for his
    representation of the Class and for civil penalties pursuant to the Labor Code. After deduction of
    these amounts, the remainder – the “Net Settlement Sum” – of approximately $1,060,000.00 will
                                                      2
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    be distributed to participating Settlement Class Members on a pro rata basis according the
    number of shifts they worked during the Class Period (May 6, 2015 through [insert date of
    preliminary approval].)
    The Individual Settlement Payments Made to Class Members Shall Be Calculated as Follows:
            The Individual Settlement Payments be allocated on a pro rata basis according to
            the number of shifts each Class Members worked during the Class Period. In the
            event time records are missing or unavailable for a particular workweek worked
            by a Class Member during the Class Period, the Class Member will be presumed,
            for the workweek during which he or she worked and the records are missing or
            unavailable, to have worked the average number of shifts worked by Class
            Members during the period in which records are available.
    Your Settlement Payment (i.e. the amount you will receive if you do not submit a Request for
    Exclusion) will be calculated using the formulas described above. However, the actual Settlement
    Payment may vary depending on the number of Class Members that exclude themselves from the
    Settlement.
                b.   Who will receive settlement payments?
    Any Class Member who does not submit a timely Request for Exclusion.
                c.   When will I receive my settlement payment?
    Distributions of Settlement Payments to Participating Settlement Class Members shall occur no
    later than twenty-two (22) business days after the Court approves the settlement at a Final
    Fairness Hearing and enters Judgment in accordance with the terms of the Settlement. To
    ensure that you receive your settlement payment check you must notify the Settlement
    Administrator if you change your mailing address.

                e.   How much can I expect to receive?
    The estimated payment on this Notice states the estimated total amount you can expect to receive
    if you participate in the settlement. This amount is based on AmeriPark’s records of your total
    number of shifts worked during the Class Period.
    The estimated payment amount may be reduced or increased, however, based on the number of
    participating Settlement Class Members, the number of Requests for Exclusion submitted,
    whether additional class members are identified or come forward, the potential reallocation of
    some of the unclaimed funds to participating Settlement Class Members, and the terms of the
    Court’s final approval order.
    Unclaimed Amounts/Uncashed Checks
    Participating Settlement Class Members shall have one hundred and eighty (180) calendar days
    after the mailing of each Settlement Payment check by the Settlement Administrator to cash their
    Settlement Payment checks. If after 180 calendar days of mailing, the checks cashed by Class
    Members total less than 100% of the Net Settlement Sum, the amount remaining will be
    redistributed among those Class Members who cashed the checks sent to them within the 180
    days, on a pro-rata basis in proportion to their original Individual Settlement Payment, as long as
    the costs of Redistribution are less than the amount left for Redistribution. If the costs of
    Redistribution are more than the amount to be redistributed, or any unclaimed amounts remain
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    60 calendar days after the Redistribution, the Settlement Administrator shall issue a check of the
    unpaid residue or unclaimed or abandoned Class Members’ funds to The Legal Aid Association
    of California.
            C.    SETTLEMENT ADMINISTRATION COSTS

    Costs incurred by the Settlement Administrator in connection with providing Notice to the
    Class, receiving and determining challenges to estimated settlement payment amounts,
    receiving and forwarding to the Court and the parties Requests for Exclusion and objection
    letters received, if any, and calculating and distributing payments due to participating
    Settlement Class Members and others entitled to settlement payment under the terms of the
    Settlement Agreement as approved by the Court, will be paid from the Maximum Settlement
    Amount. These costs are estimated not to exceed $16,000.00.
    The Claims Administrator is:
                          ILYM Group, Inc.
                          [INSERT contact information]

            D.    ATTORNEYS’ FEES AND COSTS

    All payments for Class Counsel’s attorney’s fees and costs will be deducted from the
    Maximum Settlement Amount. Class Counsel will apply to the Court for final approval of their
    attorney’s fees and costs. The attorneys for the Class will ask for reimbursement of their costs
    actually incurred in litigating this case and for fees of up to $583,333.33. The amount of fees
    and costs awarded will be determined by the Court, and will be paid from the Maximum
    Settlement Amount paid by Defendant.

            E.    SERVICE AWARDS PAYABLE TO PLAINTIFF

    The Court has also preliminarily approved a payment of $5,000.00 to Plaintiff as a service
    award. The service award is to compensate Plaintiff for his risk incurred and time and efforts in
    assisting with the prosecution of the Action on behalf of the Class Members and in return for
    executing a General Release of all Claims against AmeriPark and its past, present and/or future,
    direct and/or indirect, officers, directors, members, managers, employees, agents,
    representatives, attorneys, insurers, partners, investors, shareholders, administrators, parent
    companies, subsidiaries, affiliates, divisions, predecessors, successors, assigns, and joint
    venturers, ("Released Parties") which is broader than the release applicable to the Settlement
    Class Members who are not a named plaintiff. The Court has further approved the additional
    payment of $5,000.00 to Plaintiff as an award for his individual claims under Labor Code Sec.
    1102.5. These awards will be paid from the Maximum Settlement Amount.

            F.    PAYMENT TO THE LABOR AND WORKFORCE DEVELOPMENT
                  AGENCY

    $87,500.00 of the Total Settlement Sum will be allocated as penalties authorized by the Private
    Attorneys General Act, of which $65,625.00 will be paid to the California Labor and
                                                     4
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    Workforce Development Agency and $21,875.00 will be paid to participating Settlement Class
    Members by including that amount in the settlement payments made to the participating Class
    Members as described in this notice.

            G.     TAX TREATMENT OF INDIVIDUAL SETTLEMENT AMOUNTS

    Settlement Payments to participating Settlement Class Members are allocated as follows: (a)
    20% as wages; (b) 40% as penalties; and (c) 40% as interest. Participating Settlement Class
    Members will be responsible for the tax consequences of all payments received by them, for
    filing returns and reporting all income received to state and federal taxing authorities, and for
    payment of any other applicable taxes due. The parties to the case cannot provide and will not
    provide any advice regarding tax obligations. You should seek tax advice as to any amounts
    you receive pursuant to the Settlement from your own tax advisor. That portion of each Class
    Member’s Individual Settlement Payment representing wages will be subject to normal
    employment tax withholdings and an IRS Form W-2 will be provided to each Settlement Class
    Member. That portion of each Class Member’s Individual Settlement Payment constituting
    interest and penalties will be reported on an IRS Form 1099 provided to each Settlement Class
    Member, with required copies of the IRS Form 1099s provided to the Internal Revenue
    Service.

   5.       WHAT DO I NEED TO DO TO COLLECT MONEY?

   If you want to participate in the settlement, you need not take any action to receive a
   settlement payment as this will occur automatically. All you need to do is make sure the
   Settlement Administrator is aware of your correct mailing address.

   6.       WHAT IF I DO NOTHING?

   If you decide to do nothing and the Settlement is approved by the Court, you will receive an
   Individual Settlement Payment. You will, however, also be bound by the terms of the Settlement
   Agreement. Specifically, unless you affirmatively exclude yourself from the Settlement, you will
   be bound by the terms of the release as described in #9 below and therefore be barred from
   pursuing any state wage law claims against AmeriPark that were alleged in this lawsuit.

   7.       HOW DO I EXCLUDE MYSELF FROM THE SETTLEMENT?

   If you do not wish to participate in the Settlement, you may exclude yourself (“opt out”) by
   sending a Request for Exclusion to the Claims Administrator listing your name, address, and
   phone number, and the last four digits of your social security number along with the following
   statement:

            “I request to be excluded from the class action proceedings in the matter of Carter
            Pool v. AmeriPark, LLC et., Case No. 19CV1103-BEN-WVG, pending in the
            United Stated District Court, Southern District of California.”


   The Request for Exclusion must be completed, signed, dated, and returned to the Claims
   Administrator. THE REQUEST FOR EXCLUSION MUST BE MAILED VIA FIRST-
                                                     5
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   CLASS MAIL AND POSTMARKED NO LATER THAN [INSERT DATE 45 DAYS
   AFTER MAILING].

   Any person who submits a timely Request for Exclusion shall, upon receipt, no longer be a
   member of the Settlement Class, shall be barred from participating in any portion of the
   Settlement, and shall receive no money from the Settlement. Any such person, at his/her own
   expense, may pursue any claims he/she may have against AmeriPark. However, there are
   deadlines to pursuing such claims, known as statutes of limitation. Please consult an attorney of
   your choice to ensure you are not forever barred from pursuing a claim if you decide to opt out of
   this Settlement.

   8.       HOW DO I OBJECT TO THE SETTLEMENT?

   You may object to the terms of the Settlement before final approval. If you choose to object to the
   Settlement, you may represent yourself or hire your own attorney. If you wish to object to the
   settlement, you must file a written objection.

   You must file these documents, along with any briefs, exhibits, and/or other material that you
   wish the Court to consider, with the United States District Court Clerk, Southern District of
   California at James M. Carter and Judith N. Keep United States Courthouse, 333 West Broadway,
   Courtroom 14A (14th floor), San Diego, CA 92101. In addition, you must send copies to Class
   Counsel and Defendant’s Counsel identified in Number 10 below. Copies of any documents filed
   with the Court in this Litigation should be sent to the Settlement Administrator listed below.

   Any written objections should state each specific reason for your objection and any legal support
   for each objection. Your objection must also state your full name, address, and the dates of your
   employment by AmeriPark in California. To be valid and effective, any objections to the
   proposed Settlement must be filed with the Clerk of the Court and served upon each of the above-
   listed attorneys no later than [INSERT DATE 45 DAYS AFTER MAILING].

   IF THE COURT REJECTS YOUR OBJECTION AND APPROVES THE SETTLEMENT,
   YOU WILL BE BOUND BY THE TERMS OF THE SETTLEMENT.

   9.       WHAT CLAIMS DO I RELEASE IF I PARTICIPATE IN THE SETTLEMENT?

   Upon the final approval of the Settlement by the Court, all Class Members who do not opt out of
   the Settlement will release and discharge Released Parties, as defined above, from any and all
   claims, demands, rights, liabilities, and causes of action that were pled in the Complaint/First
   Amended Complaint/Second Amended Complaint (altogether, the Operative Complaint), or
   which could have been pled in the Operative Complaint based on the factual allegations therein,
   including all of the following claims for relief: (i) failure to provide rest periods; (ii) failure to
   provide meal periods; (iii) failure to pay minimum and regular wages; (iv) failure to pay all
   overtime wages; (v) failure to provide accurate wage statements; (vi) waiting time penalties; (vii)
   failure to indemnify employees for necessary expenditures incurred in the discharge of duties;
   (viii) failure to institute a lawful tip pooling policy; (ix) failure to provide suitable seating; (x)
   unfair business practices that could have been premised on the claims, causes of action or legal
   theories of relief described above or any of the claims, causes of action or legal theories of relief
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   pleaded in the Operative Complaint; (xi) all claims under the California Labor Code Private
   Attorneys General Act of 2004 that could have been premised on the claims, causes of action or
   legal theories described above or any of the claims, causes of action or legal theories of relief
   pleaded in the Operative Complaint; (xii) any other claims or penalties under the wage and hour
   laws pleaded in the Operative Complaint; and (xiii) all damages, penalties, interest and other
   amounts recoverable under said claims, causes of action or legal theories of relief. This period
   covered by this release includes May 6, 2015 through [insert date of preliminary approval].

   10.      WHO ARE THE LAWYERS REPRESENTING THE PARTIES?

   Attorneys for Plaintiffs & the Class are:          Attorneys for AmeriPark, LLC are:
   GRAHAMHOLLIS APC                                   AKERMAN, LLP
   Graham S. P. Hollis                                Marissa Alguire
   ghollis@grahamhollis.com                           marissa.alguire@akerman.com
   Vilmarie Cordero                                   Damien DeLaney
   vcordero@grahamhollis.com                          damien.delaney@akerman.com
   Nathan J. Reese                                    601 West Fifth Street, Suite 300
   nreese@grahamahollis.com                           Los Angeles, CA 90071
   3555 Fifth Avenue, Ste 200
   San Diego, CA 92103
   Telephone: (619) 344-8696

   Copies of any documents filed with the Court in this Litigation should be sent to the above-listed
   counsel.

   11.      WHO IS THE SETTLEMENT ADMINISTRATOR?

   ILYM Group, Inc.
   [ADDRESS]
   [PHONE#]

   If you move after receiving this notice, or if it was incorrectly addressed, please provide
   your correct address to the Settlement Administrator.

   12.      FINAL SETTLEMENT APPROVAL HEARING.

   The Court will hold a hearing to determine whether the Settlement should be finally approved as
   fair, reasonable, and adequate. This hearing will take place at United States District Court Clerk,
   Southern District of California at James M. Carter and Judith N. Keep United States Courthouse,
   333 West Broadway, Courtroom 14A (14th floor), San Diego, CA 92101 at [time] on [date]. The
   Court also will be asked to approve Class Counsel’s request for attorneys’ fees and
   reimbursement of costs and expenses and the service awards to be paid to Plaintiff. The hearing
   may be continued without further notice to the Settlement Class. It is not necessary for you to
   appear at this hearing. For up to date information regarding appearing remotely during the Covid-
   19 Pandemic, please visit: https://www.casd.uscourts.gov/covid19.aspx.

   13.      ADDITIONAL INFORMATION.
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   The above is a summary of the basic terms of the Settlement. A complete copy of the Settlement
   Agreement may be obtained from the Settlement Administrator or Class Counsel.

   PLEASE DO NOT TELEPHONE OR WRITE THE COURT, AMERIPARK OR ITS
   ATTORNEYS FOR INFORMATION REGARDING THIS SETTLEMENT. ALL
   QUESTIONS REGARDING THE SETTLEMENT SHOULD BE DIRECTED TO THE
   SETTLEMENT ADMINISTRATOR OR CLASS COUNSEL.




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                              EXHIBIT B
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 1   GRAHAMHOLLIS APC
     Graham Hollis (SBN 120577)
 2   ghollis@grahamhollis.com
     Vilmarie Cordero (SBN 268860)
 3   vcordero@grahamhollis.com
     Nathan Reese (SBN 283150)
 4   nreese@grahamhollis.com
     3555 Fifth Avenue Suite 200
 5   San Diego, California 92103
     Telephone: 619.692.0800
 6   Facsimile: 619.692.0822
 7   Attorneys for Plaintiff CARTER POOL
 8                            UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10   CARTER POOL, in a representative            Case No.: 3:19-cv-01103-LAB-WVG
     capacity, and on behalf of all similarly
11   situated and aggrieved current and former   [Assigned to Hon. Larry Alan Burns]
     employees of DEFENDANTS in the
12   State of California,                         SECOND AMENDED INDIVIDUAL
                 Plaintiff,                       AND CLASS ACTION COMPLAINT
13                                                   [Cal. Code Civ. Proc. § 382]
         v.                                               [IMAGED FILE]
14
     AMERIPARK, LLC, a Georgia Limited              1. Failure to Provide Rest Periods;
15                                                  2. Failure to Provide Meal Periods;
     Liability Company; and DOES 1-50,
16   inclusive,                                     3. Failure to Pay Minimum and
                                                        Regular Wages;
17               Defendants.                        4. Failure to Pay All Overtime Wages;
                                                    5. Failure to Provide Accurate
18                                                      Itemized Wage Statements;
                                                    6. Failure to Timely Pay All Wages
19                                                      Due Upon Separation of
                                                        Employment;
20                                                  7. Failure to Indemnify Necessary
                                                        Business Expenses;
21                                                  8. Violation of Business & Professions
                                                        Code §17200, et seq.;
22                                                  9. Wrongful Constructive
                                                        Termination;
23                                                  10. Unlawful Retaliation; and
24
                                                  REPRESENTATIVE ACTION FOR
25                                                     PAGA PENALTIES
26                                                  11. Violation of the Private Attorneys
                                                        General Act of 2004, Labor Code §§
27                                                      2698, et seq.
28                                                   – JURY TRIAL DEMANDED -
                                         1
                   FIRST AMENDED CLASS ACTION AND PAGA COMPLAINT
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 1        Plaintiff CARTER POOL (hereinafter “Plaintiff”), on behalf of himself and all other
 2 similarly situated and aggrieved employees of Defendants AMERIPARK, LLC, and DOES

 3 1 THROUGH 50, inclusive, (hereinafter “Defendants”), alleges as follows:

 4                                               I.
 5                                      INTRODUCTION
 6        1.      Plaintiff brings this putative class and individual action against Defendants
 7 AMERIPARK, LLC, and DOES 1 THROUGH 50, for engaging in a pattern of wage and

 8 hour violations under the California Labor Code and the Industrial Welfare Commission

 9 (“IWC”) Wage Orders, all of which have contributed to Defendants’ deliberate unfair

10 competition.

11        2.      Plaintiff brings this action on behalf of all current and former non-exempt
12 employees who worked for Defendants in the State of California and who performed

13 parking valet duties during the applicable relevant time period, (hereinafter “similarly

14 situated employees”).

15        3.      Plaintiff also brings this representative action pursuant to the Private
16 Attorneys General Act of 2004, California Labor Code § 2698, et seq. (“PAGA”) against

17 Defendants for engaging in a pattern of wage and hour violations under the California

18 Labor Code and the applicable IWC Wage Order. Plaintiff brings this action on behalf of

19 all other current and former non-exempt employees of Defendants in the State of California

20 who have suffered at least one of the Labor Code violations described herein during the

21 applicable relevant time period (hereinafter “aggrieved employees”).

22        4.      Plaintiff is informed and believes, and on that basis alleges, that Defendants
23 decreased its employment-related costs by systematically violating California wage and

24 hour laws and engaging in unlawful and unfair business practices.

25        5.      Defendants’ systematic pattern of wage and hour and IWC Wage Order
26 violations toward Plaintiff and other similarly situated and aggrieved employees in

27 California include, inter alia:

28                a.     Failure to provide compliant meal and rest periods;
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 1              b.        Failure to provide compensation for all hours worked, including
 2                        minimum wage, regular, and overtime wage;
 3              c.        Failure to provide accurate itemized wage statements;
 4              d.        Failure to timely pay wages due during and upon separation of
 5                        employment;
 6              e.        Failure to institute a lawful tip pooling policy that did not deprive
 7                        employees of all gratuities due to them;
 8              f.        Failure to provide suitable seats; and
 9              g.        Failure to reimburse for all business expenses.
10        6.    Plaintiff also brings an individual action against Defendants for constructive
11 wrongful termination and retaliation as a result of his making complaints about wages and

12 working conditions and perceived unlawful activity.

13        7.    Plaintiff brings this lawsuit seeking restitution, injunctive relief, and monetary
14 relief against Defendants, on behalf of himself and all other similarly-situated and/or

15 aggrieved employees in California, to recover, among other things, unpaid wages, benefits,

16 expenses, interest, attorney’s fees, damages, liquidated damages, penalties, and costs

17 pursuant to Labor Code §§ 201, 202, 203, 204, 210, 226.3, 226.7, 351, 558, 558.1, 510.

18 512, 1102.5, 1194, 1197.1, 1198, 2802, the Private Attorney General Act, California Labor

19 Code § 2698, et seq.; the Business and Professions Code §§17200, et seq., and the

20 provisions of the applicable IWC Wage Order. Plaintiff also brings an individual action

21 seeking any and all remedies for Plaintiff’s constructive wrongful termination of his

22 employment in violation of public policy and retaliation, including, monetary relief,

23 punitive damages, attorney’s fees and costs, and civil penalties that are required pursuant

24 to California Labor Code section 1102.5.

25        8.    Plaintiff reserves the right to name additional representatives throughout the
26 State of California.

27                                                 II.
28                          PARTIES, JURISDICTION AND VENUE
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 1        9.    Plaintiff is an individual who worked for Defendants as a parking valet. He
 2 was primarily engaged in administrative duties, and the majority of the work he performed

 3 was non-managerial in nature. Plaintiff was not primarily engaged in work directly related

 4 to management policies or general business operations of the Defendants. Plaintiff was not

 5 permitted to exercise discretion or independent judgment and could not hire or fire

 6 employees. At all times, Plaintiff was a non-exempt employee and should have received

 7 the protections afforded by the California Labor Code and the applicable Industrial Welfare

 8 Commission (“IWC”) Wage Order.

 9        10.   Defendant AMERIPARK, LLC, is organized under the laws of the State of
10 Georgia and has its principal place of business in Marietta, Georgia.

11        11.   Defendants operates several businesses and locations throughout California,
12 including in San Diego, California.

13        12.   Plaintiff and all other current and former similarly situated and aggrieved
14 employees are and were employees of Defendants within the meanings set forth in the

15 Labor Code and IWC Wage Order at all times during the applicable statutory period.

16        13.   Defendants’ wrongful conduct, as herein alleged, occurred in the County of
17 San Diego and in various counties throughout the State of California. Plaintiff is informed

18 and believes, and thereon alleges, that Defendants are, and at all relevant times were,

19 authorized to do business and did business in the State of California, and were Plaintiff’s

20 and similarly situated and aggrieved employees’ “employers” as defined in and subject to

21 the California Labor Code and Industrial Welfare Commission Wage Orders.

22        14.    The true names and capacities of the Defendants named as DOES 1
23 THROUGH 50, inclusive, are presently unknown to Plaintiff. Plaintiff will amend this

24 Complaint, setting forth the true names and capacities of these fictitiously named

25 Defendants when their true names are ascertained. Plaintiff is informed and believes, and

26 on that basis alleges, that each of the fictitious Defendants have participated in the acts

27 alleged in this Complaint.

28        15.   Plaintiff and all other similarly situated and aggrieved employees are, and at
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 1 all relevant times were, employees of each Defendant, including DOES 1 THROUGH 50,

 2 within the meanings set forth in the California Labor Code and applicable Industrial

 3 Welfare Commission Wage Order.

 4        16.   At all relevant times, each Defendant, whether named or fictitious, was the
 5 agent, employee or other person acting on behalf of each other Defendant, and, in

 6 participating in the acts alleged in this Complaint, acted within the scope of such agency

 7 or employment and ratified the acts of the other.

 8        17.   Plaintiff’s injuries as herein alleged were proximately caused by said
 9 Defendants. Wherever it is alleged herein that any act or omission was done or committed

10 by any specially named Defendant or Defendants, Plaintiff intends thereby to allege and

11 does allege that the same act or omission was also done and committed by each and every

12 Defendant named as a DOE, both separately and in concert or conspiracy with the named

13 Defendant.

14        18.   Each Defendant, whether named or fictitious, exercised control over
15 Plaintiff’s wages, working hours, and/or working conditions.

16        19.   Each Defendant, whether named or fictitious, acted in all respects pertinent to
17 this action as the agent of the other Defendants, carried out a joint scheme, business plan

18 or policy, and the acts of each Defendant are legally attributable to the other Defendants.

19        20.   Each Defendant, whether named or fictitious, was the alter ego of each of the
20 other Defendants at all relevant times herein.

21        21.   On information and belief, a unity of interest and ownership between each
22 Defendant, whether named or fictitious, exists such that all Defendants acted as a single

23 employer of Plaintiff and all other aggrieved employees.

24        22.   Defendants, including DOES 1 THROUGH 50, were Plaintiff’s employers or
25 persons acting on behalf of Plaintiff’s employer, within the meaning of California Labor

26 Code section 558, who violated or caused to be violated, a section of Part 2, Chapter 1 of

27 the California Labor Code or any provision regulating hours and days of work in any order

28 of the Industrial Welfare Commission and, as such, are subject to civil penalties for each
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 1 underpaid employee, as set forth in Labor Code section 558, at all relevant times.

 2        23.    Venue is proper in this Court pursuant to 28 U.S. Code § 1391 because a
 3 substantial part of the events or omissions giving rise to the claims alleged occurred within

 4 the San Diego County in the Southern District of California. Defendants maintain offices,

 5 transact business, and/or have an agent in San Diego County and Defendants are otherwise

 6 within this Court’s jurisdiction for purposes of service of process. The unlawful acts

 7 alleged herein arose in San Diego County and have a direct effect on Plaintiff and other

 8 similarly situated employees within the State of California and San Diego County.

 9 Defendants employ numerous individuals throughout San Diego County and the State of

10 California.

11                                              III.
12                               GENERAL ALLEGATIONS
13        24.    AMERIPARK, LLC, (hereinafter “AMERIPARK”) is a full-service parking
14 company providing valet and parking management services within numerous markets

15 across the United States, including California. AMERIPARK employed Plaintiff and other

16 similarly situated and/or aggrieved employees to perform valet parking services.

17        25.    Plaintiff was employed by Defendants as a parking valet at its location in
18 Fashion Valley Mall in San Diego, California. Plaintiff worked for Defendants from on or

19 around November 11, 2013 until January 25, 2019. At the end of his employment, Plaintiff

20 was paid $11.50 an hour. Plaintiff typically worked between 5 and 8 hours per workday,

21 however, his schedule and workdays have varied throughout his employment and based on

22 Defendants’ seasonal needs. There were occasions when Plaintiff worked in excess of 8

23 hours in a workday or 40 hours in a workweek.

24        26.    At no time during Plaintiff’s employment as a parking valet was he primarily
25 engaged in administrative duties, and the majority of the work he performed was non-

26 managerial in nature. Furthermore, Plaintiff was not primarily engaged in work directly

27 related to management policies or general business operations of the Defendants. Plaintiff

28 was not permitted to exercise discretion or independent judgment and could not hire or fire
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 1 employees. At all times, Plaintiff was non-exempt employee and should have been received

 2 the protections afforded by the California Labor Code and the applicable Industrial Welfare

 3 Commission IWC Wage Order.

 4        27.    On information and belief, Plaintiff and other similarly situated and/or
 5 aggrieved employees of Defendants were subject to the same policies, practices, and

 6 procedures governing the control and payment of wages and hours worked and were denied

 7 specific rights afforded to them under the California Labor Code and applicable IWC Wage

 8 Order.

 9        28.    Plaintiff and other similarly situated and/or aggrieved employees of
10 Defendants regularly worked shifts at least three and a half hours long and Defendants

11 failed to authorize and permit them to take duty-free rest periods of at least 10 minutes for

12 every four-hour work period, or major fraction thereof.

13        29.    Plaintiff and, on information and belief, other similarly situated and/or
14 aggrieved employees were scheduled to work at posts where they were the only parking

15 valet working at the time. Defendants required Plaintiff and the other similarly situated

16 and/or aggrieved employees to remain at that post and be available to park and retrieve cars

17 and perform other services. No one was available to relieve Plaintiff and other similarly

18 situated and/or aggrieved employees for rest breaks when they were scheduled to work

19 alone. When Plaintiff and other similarly situated and/or aggrieved employees were

20 stationed at posts with other employees, they too were required to remain at or near their

21 posts and respond to all customer needs as they arose throughout the workday. As such,

22 they remained on-duty during the entirety of their shifts and were not authorized or

23 permitted to take rest breaks.

24        30.    For the same reasons that Plaintiff and other similarly situated and/or
25 aggrieved employees were not authorized or permitted to take legally compliant rest

26 breaks, they were not provided legally compliant meal breaks. Plaintiff and other similarly

27 situated and/or aggrieved employees were required to remain at or near their posts and

28 respond to all customer needs at all times during their shifts, including meal breaks. In
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 1 addition, during instances when Plaintiff and other similarly situated and/or aggrieved

 2 employees were stationed at a post alone, there were no other employees available to

 3 relieve them during breaks.

 4        31.    On information and belief, Defendants did not have a valid written meal or
 5 rest period policy applicable to Plaintiff and other similarly situated and/or aggrieved

 6 employees. Further, due to the scheduling of parking valets and Defendants’ requirements,

 7 Plaintiff and other similarly situated and/or aggrieved employees were required to forego

 8 meal and rest periods.

 9        32.    Defendants failed to pay Plaintiff and, on information and belief, other
10 similarly situated and/or aggrieved employees a premium wage equivalent to one hour of

11 pay at their regular rate of pay for all the times that Defendants failed to authorize and

12 permit them to take duty-free rest periods in accordance with the Rest Periods section of

13 the applicable IWC Wage Order and Labor Code section 226.7. Defendants also failed to

14 pay Plaintiff and other similarly situated and/or aggrieved employees a premium wage

15 equivalent to one hour of pay at their regular rate of pay for all the times that Defendants

16 failed to provide them duty-free meal periods in accordance with the Meal Periods section

17 of the applicable IWC Wage Order and Labor Code sections 512 and 226.7.

18        33.    Defendants had the policy, pattern and practice of not compensating Plaintiff
19 and, on information and belief, other similarly situated and/or aggrieved employees for

20 meal and rest period premiums when meal and rest periods were not provided as required

21 under Labor Code section 226.7.

22        34.    Plaintiff and similarly situated and/or aggrieved employees were required to
23 perform duties either before clocking out at the beginning of their shift or after clocking

24 out at the end of their shift. For example, Plaintiff and similarly situated and/or aggrieved

25 employees would not be able to clock in for work until after they had already begun

26 performing duties. Plaintiff and similarly situated and/or aggrieved employees would clock

27 in for work using a mobile phone application. However, very often the mobile application

28 did not work, and they were not permitted to clock in at the time they started working.
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 1 Plaintiff and similarly situated and/or aggrieved employees would further arrive at the

 2 worksite and find customers waiting for them when they arrived. They were then required

 3 to greet the customers and check them in before they had the opportunity to clock for work.

 4 In addition, Plaintiff and similarly situated and/or aggrieved employees would be required

 5 to set up the workstations prior to clocking in. Plaintiff and similarly situated and/or

 6 aggrieved employees would arrive at the job site, greet and assist any customers that were

 7 waiting for them, clear the parking lanes for the valet parking area, obtain keys, tags, and

 8 cell phone devices used for checking in customers all before clocking in for work. As a

 9 result, Plaintiff and similarly situated and/or aggrieved employees would frequently be

10 required to perform duties for several minutes prior to clocking in.

11        35.    As previously mentioned, Plaintiff and similarly situated and/or aggrieved
12 employees were required to remain on-duty during their meal breaks, because they were

13 required to remain at or near their posts and respond to all customer needs at all times

14 during their shifts. As such, the meal periods of Plaintiff and similarly situated and/or

15 aggrieved employees was compensable hours worked. Nevertheless, Plaintiff and similarly

16 situated and/or aggrieved employees would clock out during their on-duty meal breaks.

17 Therefore, Plaintiff and similarly situated and/or aggrieved employees performed duties

18 off-the-clock for which they should have been compensated but were not.

19        36.    As a result of the foregoing, Plaintiff and similarly situated employees and/or
20 aggrieved employees did not receive the statutory minimum wage for all time they were

21 suffered or permitted to work because they were not properly compensated at minimum

22 wage for all hours worked. Plaintiff and, on information and belief, similarly situated

23 and/or aggrieved employees worked in excess of eight hours in a workday or forty hours

24 in a workweek. As such, Defendants further failed to provide them with overtime

25 compensation for all hours worked.

26        37.    As a direct result of Defendants’ illegal policies and procedures, Defendants
27 failed to maintain accurate records reflecting all of Plaintiff’s and other similarly situated

28 employees’ time worked and wages paid, in violation of California law.
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 1        38.    As a direct result of the Defendants’ illegal policies and procedures,
 2 Defendants intentionally and knowingly failed to provide Plaintiff and, on information and

 3 belief, other similarly situated and/or aggrieved employees with accurate itemized wage

 4 statements as required by Labor Code section 226. Defendants failed to maintain accurate

 5 records reflecting all of Plaintiff and, on information and belief, other similarly situated

 6 and/or aggrieved employees’ correct total regular and overtime hours worked, the correct

 7 amount of gross and net wages earned, and meal and rest period premiums owed.

 8 Therefore, the wage statements issued by Defendants did not include the correct amount of

 9 gross and net wages earned as required under Labor Code section 226.

10        39.    In addition, Defendants failed to provide Plaintiff and, on information and
11 belief, other similarly situated and/or aggrieved employees with suitable seats even though

12 the nature of the work reasonably permitted the use of seats. The duties of a parking valet

13 permits permitted them to use a seat; nonetheless, Defendants failed to provide such seating

14 as required under Labor Code section 1198 and section 14 of Applicable IWC Wage Order.

15        40.    Plaintiff asserts that Defendants had, and continue to have a policy, practice,
16 procedure, guideline and/or culture of instituting a tip pool. Defendants did not have a

17 written tip pool agreement, and Plaintiff further alleges that Defendants did not distribute

18 tips in a fair and reasonable manner.

19        41.    Plaintiff also asserts that Defendants’ tip pool policy, practice, procedure,
20 guideline and/or culture is unlawful and improper because Defendants improperly share

21 tips earned by valets with owners, managers, agents, and/or supervisors of Defendants in

22 violation of Labor Code section 351. As a result of Defendants’ unlawful and improper tip

23 pooling policy, practice, procedure, guideline and/or culture, Plaintiff and other similarly

24 situated and/or aggrieved employees, were not timely paid all gratuities given to them by

25 patrons.

26        42.    Plaintiff further alleges that Defendants did not, and do not have a policy,
27 practice, procedure, guideline and/or culture of maintaining accurate records of all

28 gratuities received in violation of California law.
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 1        43.   Plaintiff and other similarly situated and/or aggrieved employees were
 2 stationed at a valet stand. Their duties included checking customers in/out, inputting data,

 3 waiting for customers to arrive, and parking and retrieving cars. The tasks performed by

 4 parking valets at the valet stand reasonably permitted the use of seats. Plaintiff and other

 5 similarly situated and/or aggrieved employees purchased a chair for the valet stand with

 6 their own money after Defendants failed to provide suitable seating. Defendants, however,

 7 removed that chair and refused to allow Plaintiff and other similarly situated and/or

 8 aggrieved employees to use a seat, in violation of the California Labor Code and the

 9 applicable IWC Wage Order.

10        44.   Defendants maintained a pattern and practice of failing to timely pay Plaintiff
11 and, on information and belief, other similarly situated and/or aggrieved employees’ wages

12 due and owing, as required by Labor Code sections 201 and 202. Defendants failed to pay

13 Plaintiff and, on information and belief, other similarly situated and/or aggrieved

14 employees’ wages due and owing at the time of separation of employment because

15 Defendants willfully failed to pay Plaintiff and, on information and belief, other similarly

16 situated and/or aggrieved employees for all hours worked and all meal and rest period

17 premium wages owed upon their separation of employment.

18        45.   Plaintiff is informed and believes that Defendants maintained a pattern and
19 practice of failing to pay Plaintiff and other similarly situated and/or aggrieved employees

20 all wages due and owing during their employment within the time specified by Labor Code

21 section 204 because Defendants failed to pay Plaintiff and other aggrieved employees all

22 meal and rest period premium wages.

23        46.   Defendants engaged in retaliation against Plaintiff and wrongfully took
24 adverse employment action against him in violation of Labor Code section 1102.5. On

25 information and belief, Defendants collected, took, or received gratuity or a part thereof

26 that was paid, given to, or left for Plaintiff and other similarly situated and/or aggrieved

27 employees by patrons. Plaintiff and other similarly situated and/or aggrieved employees

28 pooled tips, which were later distributed to all parking valets working during that shift
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 1 based on the total number of hours they worked during the shift. Defendants employed a

 2 manager at the parking location where Plaintiff worked by the name of Josh Baker. After

 3 Baker began working as a manager, he began participating in the tip pool with the parking

 4 valets he managed. On information and belief, at no time did Baker spend the majority of

 5 his time doing the same work as parking valets, and most of his time was spent on

 6 administrative tasks. Nonetheless, Baker’s title was changed from manager to valet lead,

 7 even though his position did not otherwise change, as an excuse to justify Baker’s

 8 participation in the tip pool. On information and belief, Baker would exaggerate the hours

 9 he worked performing duties as a parking valet, in order to receive a higher portion of the

10 tip pool. Baker would further, on information and belief, record that he worked at multiple

11 locations at the same time or at locations where he was not working, so that he could

12 participate in multiple tip pools at the same time.

13        47.    Plaintiff brought his concerns regarding his belief that Baker was unlawfully
14 stealing tips to multiple management level employees. Plaintiff initially made his first

15 complaint to one of Defendants’ regional managers. The regional manager failed to take

16 any action to investigate the matter and instead accused Plaintiff of making false

17 accusations. Plaintiff then spoke to the regional manager’s supervisor and the head of

18 Defendants’ Human Resources in order to share the same complaints. After complaining

19 about what Plaintiff believed was the unlawful theft of tips, Defendants then began swiftly

20 retaliating against him in several ways.

21        48.    After complaining about what Plaintiff believed was his manager’s theft of
22 tips, and as a direct and proximate result of said complaints, Defendants immediately

23 retaliated against Plaintiff. For example, the tone and tenor of Plaintiff’s supervisors

24 became hostile during subsequent interactions. Baker began overseeing Plaintiff’s work

25 intensively by double checking everything he did, and Baker was overly critical of

26 everything Plaintiff did. Defendants began to reduce Plaintiff’s schedule by cutting his

27 hours and the days he worked. Baker began switching the location where Plaintiff worked

28 and the days he was scheduled to work without informing Plaintiff of the change.
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 1        49.    Furthermore, Defendants began writing up Plaintiff and suspended him
 2 without pay for pretextual offenses. For example, Plaintiff was written up and suspended

 3 without pay for switching his shift with another employee, when such conduct was

 4 common place and expressly permitted by Defendants. The work conditions, including the

 5 lack of suitable seating, were so intolerable that Plaintiff had no alternative but to resign.

 6        50.    Due to the foregoing Labor Code violations, Defendants denied Plaintiff and
 7 other similarly situated and/or aggrieved employees certain rights afforded them under the

 8 California Labor Code and IWC Wage Orders. Plaintiff makes these claims against

 9 Defendants on behalf of himself and all other current and former similarly situated and/or

10 aggrieved employees of the Defendants in California.

11                                               IV.
12      PRIVATE ATTORNEYS GENERAL ACT (“PAGA”) REPRESENTATIVE
13                                  ACTION DESIGNATION
14        51.    Plaintiff re-alleges and incorporates by reference the allegations contained in
15 the paragraphs above, as though fully set forth herein.

16        52.    The Causes of Action alleged herein are appropriately suited for a Labor Code
17 Private Attorneys General Act of 2004 (“PAGA”) action because:

18                  a) Pursuant to California Labor Code § 2699(a), any provision of the
19                      Labor Code that provides for a civil penalty to be assessed and collected
20                      by the Labor and Workforce Development Agency or any of its
21                      departments, divisions, commissions, boards, agencies, or employees,
22                      for a violation of the California Labor Code, may, as an alternative, be
23                      recovered through a civil action brought by an aggrieved employee on
24                      behalf of himself or herself and all other current or former employees
25                      pursuant to the procedures specified in § 2699;
26                  b) This action involves allegations of violations of provisions of the
27                      California Labor Code that provide or do not provide for a civil penalty
28                      to be assessed and collected by the LWDA or any departments,
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 1                     divisions, commissions, boards, agencies or employees;
 2                  c) Plaintiff is an “aggrieved employee” because he was employed by the
 3                     alleged violators and had one or more of the alleged violations
 4                     committed against him;
 5                  d) On February 28, 2019, Plaintiff satisfied the procedural requirements
 6                     of § 2699.3 by serving the LWDA electronically and Defendants
 7                     AMERIPARK, LLC via Certified Mail with the notice for wage and
 8                     hour violations and penalties, including the facts and theories to support
 9                     each violation. A true and correct copy of Plaintiff’s notice and proof
10                     of service is attached as Exhibit A; and
11                  e) More than 65 days have passed since Plaintiff served notice via
12                     Certified Mail to the LWDA and his employer. Therefore, Plaintiff
13                     satisfied all the administrative requirements to pursue civil penalties
14                     against Defendants pursuant to Labor Code § 2698, et seq.
15        53.   Plaintiff files this action pursuant to Labor Code § 2699(a) and (f), on behalf
16 of himself and all other aggrieved employees of Defendants to recover civil penalties,

17 including unpaid wages, which are to be paid to the affected employees pursuant to Labor

18 Code §§ 558 and 1197.1.

19        54.   Defendants were Plaintiff’s and aggrieved employees’ employer or person
20 acting on behalf of Plaintiff’s employer, within the meaning of California Labor Code §

21 558, who violated or caused to be violated, a section of Part 2, Chapter 1 of the California

22 Labor Code or any provision regulating hours and days of work in any order of the

23 Industrial Welfare Commission and, as such, is subject to civil penalties for each underpaid

24 employee, as set forth in Labor Code § 558, at all relevant times.

25        55.   Plaintiff seeks to recover all applicable civil penalties under PAGA on behalf
26 on himself and all other aggrieved employees of Defendants in California, including, but

27 not limited to, all unpaid and/or underpaid wages pursuant to Labor Code § 558.

28                          V. CLASS ACTION DESIGNATION
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 1        56.    Plaintiff hereby incorporates by reference all preceding paragraphs set forth
 2 above as though fully set forth herein.

 3        57.    Plaintiff brings Causes of Action One through Eight as a Class Action
 4 pursuant to Federal Rules of Civil Procedure, Rule 23 on behalf of himself and all current

 5 and former similarly situated employees of Defendants.

 6        58.    Plaintiff seeks to represent the following Class, which is defined as:
 7               The Parking Valet Class:
 8               “All current and former non-exempt employees who worked for
 9               Defendants in the State of California and who performed parking
10               valet duties at any time from four years prior to the filing of this
11               Complaint through the present.”
12        59.    Plaintiff also seeks to represent the following Subclass, which is defined as:
13               The Waiting Time Penalties Subclass:
14               “All members of the Parking Valet Class, whose employment
15               with Defendants ended at any time from three year priors to the
16               filing of this Complaint through the present.”
17        60.    Reservation of Rights: Plaintiff reserves the right to amend or modify the
18 class definitions with greater specificity, by further division into subclasses, and/or

19 limitation to particular issues.

20        61.    Causes of Action One through Eight are appropriately suited for a class action
21 pursuant to § 382 of the Code of Civil Procedure because the following requirements are

22 met:

23 A.     Numerosity
24         The members of the Class and Subclasses are sufficiently numerous to render the
25 joinder of all their members impracticable. While Plaintiff has not yet determined the

26 precise number of members of the Class and Subclasses, Plaintiff is informed and believes

27 that the Class and Subclasses likely consist of over 25 individuals. Although the exact

28 number is currently unknown to Plaintiff, this information is easily ascertainable from
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 1 Defendants’ time and payroll records and other personnel records.

 2 B.    Commonality and Predominance
 3       Common questions of law and fact exist as to all class members and predominate
 4 over any questions affecting only individual members of the Class or Subclasses. The

 5 common questions of law and fact that predominate include, but are not limited to:

 6              a.     Whether Defendants failed to permit Class members to take off-duty
 7                     meal periods of at least 30 minutes for every five hours worked;
 8              b.     Whether Defendants failed to permit Class members to take off-duty
 9                     rest periods of at least 10 minutes for every four hours worked, or major
10                     fraction thereof;
11              c.     Whether Defendants failed to pay one additional hour of pay at the
12                     employees’ regular rate of compensation to Class members when they
13                     were not provided with compliant and timely off-duty meal and rest
14                     periods;
15              d.     Whether Defendants failed to provide Class members with accurate
16                     itemized wage statements showing, among other things, the number of
17                     hours worked and the correct amount of gross and net wages earned;
18              e.     Whether Defendants failed to provide compensation to Class members
19                     for all time worked, including all minimum, regular, and overtime
20                     wages;
21              f.     Whether Defendants failed to pay Waiting Time Penalties Subclass
22                     members all of their wages owed within the required time frames upon
23                     separation of employment;
24              g.     Whether Defendants’ tip pooling policies and practice deprived Class
25                     Members of all gratuities to which they were entitled; and
26              h.     Whether Defendants failed to indemnify Class members for necessary
27                     business expenses incurred in direct consequence of the discharge of
28                     their duties.
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 1 C.     Typicality
 2        Plaintiff’s claims are typical of the claims of all class members because Plaintiff and
 3 all class members’ claims arise from the same event, practice and/or course of conduct of

 4 Defendants. Plaintiff and all class members sustained injuries and damages as a result of

 5 Defendants’ illegal policies, practices and/or common course of conduct in violation of

 6 California wage and hour laws and/or illegal, unfair, or fraudulent business practices.

 7        Furthermore, Plaintiff’s claims under the Labor Code and the applicable IWC Wage
 8 Order are typical of the Class and Subclasses because Defendants’ failure to comply with

 9 the provisions of California’s wage and hour laws entitles Plaintiff and each class member

10 to similar pay, benefits, and other relief. Accordingly, the legal theories underlying each

11 cause of action are the same and the remedies sought by Plaintiff and all class members are

12 the same.

13 D.     Adequacy of Representation
14        Plaintiff has no fundamental conflict of interest with the Class or Subclasses he seeks
15 to represent. Plaintiff will adequately protect the interests of all class members because it

16 is in Plaintiff’s best interest to prosecute the claims alleged herein to obtain full

17 compensation and penalties due to him and putative class members.

18        Plaintiff retained attorneys who are experienced employment law litigators with
19 significant wage and hour and class action experience.

20 E.     Superiority of Class Action
21        Plaintiff believes a class action is a superior method of litigation for the fair and
22 efficient adjudication of this controversy. Individual joinder of all class members is not

23 practicable. Class action treatment will allow similarly situated employees to litigate their

24 claims in the manner that is most efficient and economical for the parties and the judicial

25 system.

26        Plaintiff knows of no difficulty that might be encountered in the management of this
27 suit, which would preclude maintenance as a class action.

28                                VI. CAUSES OF ACTION
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 1                               FIRST CAUSE OF ACTION
 2                        FAILURE TO PROVIDE REST PERIODS
 3                 (Violation of Labor Code sections 226.7, 558, and 1198 and
 4               the “Rest Periods” section of the Applicable IWC Wage Order)
 5    (Alleged by Plaintiff Individually and On Behalf of The Parking Valet Class Against
 6                                           Defendants)
 7        62.    Plaintiff hereby incorporates by reference all preceding paragraphs set forth
 8 above as though fully set forth herein.

 9        63.    Plaintiff and Parking Valet Class members were and are non-exempt
10 employees of Defendants in California within the meaning of the Labor Code and the

11 applicable IWC Wage Order.

12        64.    Labor Code section 226.7 requires employers, including Defendants, to
13 provide to their non-exempt employees, including Plaintiff, paid rest periods as mandated

14 by the IWC Wage Orders.

15        65.    Labor Code section 1198 states that the “maximum hours of work and
16 standard conditions of labor fixed by the commission shall be the maximum hours of work

17 and the standard conditions of labor for employees. The employment of any employee for

18 longer hours than those fixed by the order or under conditions of labor prohibited by the

19 order is unlawful.”

20        66.    The “Rest Periods” section of the applicable IWC Wage Order states, “[e]very
21 employer shall authorize and permit employees to take rest periods, which insofar as

22 practicable shall be in the middle of each work period. … The authorized rest period time

23 shall be based on the total hours worked daily at the rate of ten (10) minutes net rest time

24 per four (4) hours or major fraction thereof.” It further states, “[r]est periods need not be

25 authorized in limited circumstances when the disruption of continuous operations would

26 jeopardize the product or process of the work. However, the employer shall make up the

27 missed rest period within the same workday or compensate the employee for the missed

28 ten (10) minutes of rest time at his/her regular rate of pay within the same pay period.”
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 1 Furthermore, “[i]f an employer fails to provide an employee a rest period in accordance

 2 with the applicable provisions of this order, the employer shall pay the employee one (1)

 3 hour of pay at the employee’s regular rate of compensation for each workday that the rest

 4 period is not provided.”

 5        67.      On information and belief, Plaintiff and the Parking Valet Class were subject
 6 to the same policies, practices, and procedures governing the provision and scheduling of

 7 rest periods.

 8        68.      Plaintiff and, on information and belief, the Parking Valet Class were not
 9 authorized and permitted to take compliant rest periods because they were scheduled to

10 work at posts where they were the only parking valet working at the time. Defendants

11 required Plaintiff and Parking Valet Class members to remain at that post and be available

12 to park or retrieve cars. No one was available to relieve Plaintiff and Parking Valet Class

13 members for rest breaks when they were scheduled to work alone. As such, they remained

14 on-duty during the entirety of their shifts and were not authorized or permitted to take rest

15 breaks. Thus, as a result of Defendants’ policies, Plaintiff’s and Parking Valet Class

16 members’ rest periods were on-duty.

17        69.      Labor Code section 226.7(c) states, “[i]f an employer fails to provide an
18 employee a … rest … period in accordance with a state law… the employer shall pay the

19 employee one additional hour of pay at the employee’s regular rate of compensation for

20 each workday that the …. rest … period is not provided.”

21        70.      Even though Plaintiff and, on information and belief, Parking Valet Class
22 members were not authorized and permitted to take off-duty rest periods, Defendants did

23 not pay Plaintiff and the Parking Valet Class appropriate rest period premium wages for

24 each day in which Defendants did not authorize and permit Plaintiff and the Parking Valet

25 Class to take compliant rest periods, in violation of Labor Code section 226.7 and the

26 applicable IWC Wage Order.

27        71.      On information and belief, Defendants have a common policy, pattern, and
28 practice of failing to compensate Plaintiff and the Parking Valet Class with an hour of pay
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 1 at their regular rate of pay for the times that Plaintiff and the Parking Valet Class were not

 2 authorized to take rest periods of at least 10 minutes for each four-hour work period, or

 3 major fraction thereof.

 4        72.    Plaintiff and the Parking Valet Class suffered and continue to suffer losses
 5 related to Defendants’ failure to pay an additional hour of pay for each day a rest period

 6 was not provided and the associated use and enjoyment of compensation due and owing to

 7 them as a direct result of Defendants’ Labor Code and IWC Wage Order violations.

 8        73.    Plaintiff seeks all available remedies for Defendants’ violations including, but
 9 not limited to any and all wages due, monies, and interest, to the extent permitted by law.

10        WHEREFORE, Plaintiff prays for relief as hereinafter requested.
11                              SECOND CAUSE OF ACTION
12                       FAILURE TO PROVIDE MEAL PERIODS
13   (Violation of Labor Code §§ 226.7, 512, and 1198 and the “Meal Periods” section of the
14                                Applicable IWC Wage Order)
15    (Alleged By Plaintiff Individually and On Behalf of the Parking Valet Class Against
16                                          Defendants)
17        74.    Plaintiff re-alleges and incorporates by reference the allegations contained in
18 the paragraphs above, as though fully set forth herein.

19        75.    Labor Code § 512(a) provides, in part, that employers, including Defendants,
20 “may not employ an employee for a work period of more than five hours per day without

21 providing an employee with a meal period of not less than 30 minutes” and “may not

22 employ an employee for a work period of more than 10 hours per day without providing

23 the employee with a second meal period of not less than 30 minutes.”

24        76.    Labor Code § 226.7 requires that employers, including Defendants, provide
25 their employees with meal periods as mandated by the applicable Wage Order of the

26 Industrial Welfare Commission, and prohibits employers from requiring any employee “to

27 work during any meal … period mandated by an applicable order of the Industrial Welfare

28 Commission.”      Labor Code § 226.7(c) states, “[i]f an employer fails to provide an
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 1 employee a meal … period in accordance with a state law… the employer shall pay the

 2 employee one additional hour of pay at the employee’s regular rate of compensation for

 3 each workday that the meal … period is not provided.”

 4        77.   Labor Code § 1198 states that the “maximum hours of work and standard
 5 conditions of labor fixed by the commission shall be the maximum hours of work and the

 6 standard conditions of labor for employees. The employment of any employee for longer

 7 hours than those fixed by the order or under conditions of labor prohibited by the order is

 8 unlawful.”

 9        78.   The “Meal Periods” section of the applicable IWC Wage Order states, “[n]o
10 employer shall employ any person for a work period of more than five (5) hours without a

11 meal period of not less than 30 minutes, except that when a work period of not more than

12 six (6) hours will complete the day’s work the meal period may be waived by mutual

13 consent of the employer and the employee.” It further states, “[a]n employer may not

14 employ an employee for a work period of more than ten (10) hours per day without

15 providing the employee with a second meal period of not less than 30 minutes, except that

16 if the total hours worked is no more than 12 hours, the second meal period may be waived

17 by mutual consent of employer and employee only if the first meal period was not waived.”

18        79.   The “Meal Periods” section of the applicable IWC Wage Order further states,
19 “[u]nless the employee is relieved of all duty during a 30-minute meal period, the meal

20 period shall be considered an ‘on duty’ meal period and counted as time worked. An ‘on

21 duty’ meal period shall be permitted only when the nature of the work prevents an

22 employee from being relieved of all duty and when by written agreement between the

23 parties an on-the-job meal period is agreed to. The written agreement shall state that the

24 employee may, in writing, revoke the agreement at any time.”

25        80.   The “Meal Periods” section of the applicable IWC Wage Order also states,
26 “[i]f an employer fails to provide an employee a meal period in accordance with the

27 applicable provisions of this order, the employer shall pay the employee one (1) hour of

28 pay at the employee’s regular rate of compensation for each workday that the meal period
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 1 is not provided.”

 2        81.       On information and belief, Plaintiff and the Parking Valet Class were subject
 3 to the same policies, practices, and procedures governing the provision and scheduling of

 4 meal periods.

 5        82.       On information and belief, Defendants have a pattern and practice of not
 6 providing Plaintiff and the Parking Valet Class with legally compliant 30-minute off-duty

 7 meal periods during their shifts, even though they work more than six (6) hours during their

 8 workday.

 9        83.       Plaintiff and, on information and belief, the Parking Valet Class members did
10 not sign a valid on-duty meal period agreement at any point during their employment with

11 Defendants.

12        84.       Plaintiff and, on information and belief, the Parking Valet Class worked more
13 than six (6) hours per day and do not properly waive any of their meal periods.

14        85.       Plaintiff and, on information and belief, the Parking Valet Class were unable
15 to take compliant meal periods because they were regularly required to remain on-duty and

16 continue working though their meal periods. Although the nature of Plaintiff’s and, on

17 information and belief, Parking Valet Class members’ work does not require them to take

18 on-duty meal periods, Defendants’ work requirements make it so that they are not relieved

19 of all duties.

20        86.       Therefore, as a result of Defendants’ conduct, including the conduct alleged
21 herein, Defendants violate Labor Code §§ 226.7, 512, and 1198, as well as the applicable

22 IWC Wage Order when Defendants fail to provide Plaintiff and the Parking Valet Class

23 members a 30-minute, duty-free meal period before the commencement of their sixth hour

24 of work.

25        87.       Consequently, pursuant to Labor Code § 226.7(b) and the “Meal Periods”
26 section of the Wage Order, Defendants are required to pay Plaintiff and the Parking Valet

27 Class one additional hour of pay at their regular rate of compensation for each day that

28 Defendants do not provide Plaintiff and the Parking Valet Class with a 30-minute, duty-
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 1 free meal period before the commencement of their sixth hour of work.

 2        88.   Despite this obligation, Defendants do not always pay Plaintiff and, on
 3 information and belief, the Parking Valet Class one additional hour of pay at each

 4 employee’s regular rate of compensation for each day that Defendants do not provide

 5 Plaintiff and the Parking Valet Class with a 30-minute, duty-free meal period before the

 6 commencement of their sixth hour of work.

 7        89.   Instead, on information and belief, Defendants had a common policy and
 8 practice of failing to compensate Plaintiff and the Parking Valet Class with an hour of pay

 9 at their regular rate of pay for the times that Defendants do not provide Plaintiff and the

10 Parking Valet Class with a 30-minute, duty-free meal period before the commencement of

11 their sixth hour of work, as required by Labor Code § 226.7(b) and the IWC Wage Order.

12        90.   Thus, on information and belief, Defendants intentionally refuse to perform
13 their obligations to provide meal periods and further fail to compensate Plaintiff and the

14 Parking Valet Class with all owed meal premium wages as set forth by Labor Code §

15 226.7(b) and the IWC Wage Order.

16        91.   Plaintiff and the Parking Valet Class suffered and continue to suffer losses
17 related to Defendants’ failure to pay an additional hour of pay for each day a legally

18 compliant meal period is not provided and the associated use and enjoyment of

19 compensation due and owing to them as a direct result of Defendants’ Labor Code and

20 IWC Wage Order violations.

21        92.   Plaintiff seeks all available remedies for Defendants’ violations, including,
22 but not limited to, all wages due, monies, and interest to the extent permitted by law.

23        WHEREFORE, Plaintiff pray for relief as hereinafter requested.
24                               THIRD CAUSE OF ACTION
25               FAILURE TO PAY MINIMUM AND REGULAR WAGES
26 (Violation of Labor Code §§ 1194, 1197, and 1198 and the “Minimum Wages” section of

27                                              the
28                                Applicable IWC Wage Order)
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 1     (Alleged by Plaintiff Individually and on Behalf of the Parking Valet Class Against
 2                                         Defendants)
 3        93.    Plaintiff re-alleges and incorporates by reference the allegations contained in
 4 the paragraphs above, as though fully set forth herein.

 5        94.    Labor Code § 1197 provides, “[t]he minimum wage for employees fixed by
 6 the commission is the minimum wage to be paid to employees, and the payment of a less

 7 wage than the minimum wage so fixed is unlawful.”

 8        95.    The “Minimum Wages” section of the applicable IWC Wage Order provides
 9 that an employer may not pay employees less than the applicable minimum for all hours

10 worked.

11        96.    The applicable IWC Wage Order defines the term “hours worked” as “the
12 time during which an employee is subject to the control of an employer, and includes all

13 the time the employee is suffered or permitted to work, whether or not required to do so.”

14        97.    Furthermore, pursuant to Labor Code § 1198, “[t]he maximum hours of work
15 and the standard conditions of labor fixed by the commission shall be the maximum hours

16 of work and the standard conditions of labor for employees. The employment of any

17 employee for longer hours than those fixed by the order or under conditions of labor

18 prohibited by the order is unlawful.”

19        98.    Defendants failed to pay Plaintiff and, on information and belief, the Parking
20 Valet Class at least minimum wage for all the time spent working and under the control of

21 Defendants.

22        99.    Labor Code § 1194 provides, in part, that any employee receiving less than
23 the legal minimum wage is entitled to recover in a civil action the unpaid balance of the

24 minimum wage, including interest thereon, reasonable attorney’s fees, and costs of suit.

25        100. Labor Code § 1194.2 allows an employee to recover liquidated damages in an
26 amount equal to the wages unlawfully unpaid and interest thereon for any action under

27 Labor Code § 1194.

28        101. Plaintiff and the Parking Valet Class suffered and continue to suffer losses
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 1 related to the use and enjoyment of compensation due and owing to them as a direct result

 2 of Defendants’ unlawful acts and Labor Code violations in an amount to be shown

 3 according to proof at trial and within the jurisdictional limitations of this Court.

 4        102. Plaintiff seeks all available remedies for Defendants’ violations including, but
 5 not limited to, any and all wages due, monies, interest, liquidated damages, attorney’s fees,

 6 and costs to the extent permitted by law.

 7        WHEREFORE, Plaintiff prays for relief as hereinafter requested.
 8                              FOURTH CAUSE OF ACTION
 9                     FAILURE TO PAY ALL OVERTIME WAGES
10   (Violation of Labor Code §§ 510, 1194, and 1198, and the “Hours and Days of Work”
11                         section of the Applicable IWC Wage Order)
12     (Alleged by Plaintiff Individually and on Behalf of the Parking Valet Class Against
13                                          Defendants)
14        103. Plaintiff re-alleges and incorporates by reference the allegations contained in
15 the paragraphs above, as though fully set forth herein.

16        104. Labor Code § 510 provides, “[a]ny work in excess of eight hours in one
17 workday and any work in excess of 40 hours in any one workweek and the first eight hours

18 worked on the seventh day of work in any one workweek shall be compensated at the rate

19 of no less than one and one-half times the regular rate of pay for an employee. Any work

20 in excess of 12 hours in one day shall be compensated at the rate of no less than twice the

21 regular rate of pay for an employee. In addition, any work in excess of eight hours on any

22 seventh day of a workweek shall be compensated at the rate of no less than twice the regular

23 rate of pay of an employee.” The “Hours and Days of Work” section of the applicable

24 IWC Wage Order mandate the same requirements.

25        105. Labor Code § 1194 provides that any employee receiving less than the legal
26 overtime compensation applicable to the employee is entitled to recover in a civil action

27 the unpaid balance of the full amount of this overtime compensation, including interest

28 thereon, reasonable attorney’s fees, and costs of suit.
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 1        106. Furthermore, pursuant to Labor Code § 1198, “[t]he maximum hours of work
 2 and the standard conditions of labor fixed by the commission shall be the maximum hours

 3 of work and the standard conditions of labor for employees. The employment of any

 4 employee for longer hours than those fixed by the order or under conditions of labor

 5 prohibited by the order is unlawful.”

 6        107. The applicable IWC Wage Order defines the term “hours worked” as “the
 7 time during which an employee is subject to the control of an employer, and includes all

 8 the time the employee is suffered or permitted to work, whether or not required to do so.”

 9        108. In California, overtime is computed based on the regular rate of pay. The
10 regular rate of pay includes all different types of remuneration, including hourly earnings,

11 salary, piecework earnings, commissions, and non-discretionary bonuses, and the value of

12 meals and lodging.

13        109. Plaintiff and, on information and belief, the Parking Valet Class regularly
14 worked over eight hours per day and 40 hours per week while employed by Defendants.

15 Plaintiff and, on information and belief, the Parking Valet Class did not receive all overtime

16 compensation owed for all overtime hours worked over eight hours per day and/or 40 hours

17 per week, and/or for every hour worked during the seventh day of work, at the applicable

18 overtime rate during their employment with Defendants.

19        110. Defendants failed to pay Plaintiff and, on information and belief, the Parking
20 Valet Class at the proper overtime rate for all the time spent working and under the control

21 of Defendants. Defendants failed to include all forms of compensation when calculating

22 the regular rate of pay for purposes of calculating overtime. Defendants also failed to pay

23 overtime compensation for all overtime hours worked over eight hours per day and/or 40

24 hours per week.

25        111. Plaintiff and the Parking Valet Class suffered and continue to suffer losses
26 related to the use and enjoyment of compensation due and owing to them as a direct result

27 of Defendants’ unlawful acts and Labor Code violations in an amount to be shown

28 according to proof at trial and within the jurisdictional limitations of this Court.
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 1        112. In addition, Defendants’ failed to include all different types of remuneration
 2 when computing the rate of overtime compensation.

 3        113. Plaintiff seeks all available remedies for Defendants’ violations including, but
 4 not limited to any and all wages due, monies, interest, attorney’s fees, and costs to the

 5 extent permitted by law.

 6        WHEREFORE, Plaintiff prays for relief as hereinafter requested.
 7                               FIFTH CAUSE OF ACTION
 8            FAILURE TO PROVIDE ACCURATE WAGE STATEMENTS
 9                    (Violation of Labor Code sections 226 and 1198 and
10                  the “Records” section of the Applicable IWC Wage Order)
11    (Alleged by Plaintiff Individually and On Behalf of The Parking Valet Class Against
12                                           Defendants)
13        114. Plaintiff hereby incorporates by reference all preceding paragraphs set forth
14 above as though fully set forth herein.

15        115. Plaintiff and Parking Valet Class members were and are non-exempt
16 employees of Defendants in California within the meaning of the Labor Code and the

17 applicable IWC Wage Order.

18        116. Labor Code section 226(a) requires that employers, including Defendants,
19 furnish their employees with each wage payment an accurate and itemized writing that

20 shows gross wages earned, total hours worked, all deductions, net wages earned, the

21 inclusive dates of the period for which the employee is paid, the name of the employee and

22 the portion of his or her social security number or his or her employee identification

23 number, the name and address of the legal entity that is the employer, and all applicable

24 hourly rates in effect during the pay period and the corresponding number of hours worked

25 at each hourly rate by the employee.

26        117. Labor Code section 226(e), in part, permits employees suffering injury to
27 collect the greater of all actual damages or the amount specified in Labor Code section 226

28 per violation.
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 1        118. Labor Code section 226(e)(2)(B) states, in pertinent part, “an employee is
 2 deemed to suffer injury for purposes of this subdivision if the employer fails to provide

 3 accurate and complete information as required by any one or more of items (1) to (9),

 4 inclusive, of subdivision (a) and the employee cannot promptly and easily determine from

 5 the wage statement alone one or more of the following: (i) The amount of the gross wages

 6 or net wages paid to the employee during the pay period or any of the other information

 7 required to be provided on the itemized wage statement pursuant to items (2) to (4),

 8 inclusive, (6), and (9) of subdivision (a).”

 9        119. Labor Code section 226(h) states, “An employee may also bring an action for
10 injunctive relief to ensure compliance with this section, and is entitled to an award of costs

11 and reasonable attorney's fees.”

12        120. Because of the Defendants’ illegal policies and procedures, Defendants failed
13 to provide Plaintiff and Parking Valet Class members with accurate itemized wage

14 statements that comply with the requirements of the Labor Code because the wage

15 statements issued did not include the correct amount of gross and net wages earned as

16 required under Labor Code section 226.

17        121. Defendants knowingly and intentionally failed to provide Plaintiff and
18 Parking Valet Class members an accurate itemized wage statement with each wage

19 payment as required by Labor Code section 226(a). Defendants knowingly and

20 intentionally failed to provide Plaintiff and members of the Parking Valet Class with each

21 wage payment an accurate wage statement showing, among other things, the gross and net

22 wages earned.

23        122. Defendants’ failure to provide accurate wage statements deprived Plaintiff
24 and members of the Parking Valet Class of the ability to promptly and easily understand

25 and question the calculation and rate of pay and hours used to calculate the wages paid by

26 Defendants. Plaintiff and members of the Parking Valet Class, therefore, had no way to

27 dispute any error in the payment or calculation of their wages, all of which resulted in an

28 unjustified economic enrichment to Defendants, and Plaintiff and members of the Parking
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 1 Valet Class suffered actual damages as a result.

 2         123. Defendants’ failure to provide accurate itemized wage statements constitutes
 3 an injury as defined under Labor Code section 226(e)(2)(B). Therefore, Plaintiff and

 4 members of the Parking Valet Class have suffered an injury for purposes of Labor Code

 5 section 226 and are entitled to recover the greater of all actual damages or the amount

 6 specified in section 226 per violation.

 7         124. Plaintiff and Parking Valet Class members suffered and continue to suffer
 8 injuries, losses and actual damages as a direct result of Defendants’ Labor Code violations,

 9 including lost interest on such wages, and expenses and attorney's fees in seeking to compel

10 Defendants to fully perform their obligations, in an amount to be shown according to proof

11 at trial.

12         125. Plaintiff seeks to recover all available remedies including, but not limited to
13 damages, penalties, attorney's fees, costs, and injunctive relief to the fullest extent

14 permitted by law.

15         WHEREFORE, Plaintiff prays for relief as hereinafter requested.
16                               SIXTH CAUSE OF ACTION
17      FAILURE TO TIMELY PAY ALL WAGES DUE UPON SEPARATION OF
18                                      EMPLOYMENT
19   (Violations of Labor Code sections 201, 201, 203, 226.7, 510, 512, 1194, 1198, and the
20       “Meal Periods” and “Rest Periods” section of the Applicable IWC Wage Order)
21 (Alleged by Plaintiff Individually and On Behalf of The Waiting Time Penalties Subclass

22                                     Against Defendants)
23         126. Plaintiff hereby incorporates by reference all preceding paragraphs set forth
24 above as though fully set forth herein.

25         127. Plaintiff and Waiting Time Penalties Subclass members were and are non-
26 exempt employees of Defendants in California within the meaning of the Labor Code and

27 the applicable IWC Wage Order.

28         128. The “Rest Periods” section of the applicable IWC Wage Order states that “If
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 1 an employer fails to provide an employee a rest period in accordance with the applicable

 2 provisions of this Order, the employer shall pay the employee one (1) hour of pay at the

 3 employee’s regular rate of compensation for each work day that the rest period is not

 4 provided.”

 5        129. The “Meal Periods” section of the applicable IWC Wage Order also states,
 6 “[i]f an employer fails to provide an employee a meal period in accordance with the

 7 applicable provisions of this order, the employer shall pay the employee one (1) hour of

 8 pay at the employee’s regular rate of compensation for each workday that the meal period

 9 is not provided.”

10        130. Labor Code section 201 requires Defendants to immediately pay any wages,
11 without abatement or reduction, to any employee who is discharged. Labor Code section

12 202 requires Defendants to pay any and all wages due and owing to an employee not having

13 a written contract for a definite period, who quits his or her employment, within 72 hours

14 of the employee quitting his or her employment, unless the employee has given 72 hours

15 previous notice of his or her intention to quit, in which case the employee is entitled to his

16 or her wages at the time of quitting.

17        131. Labor Code section 203(a) states, in pertinent part, “[i]f an employer willfully
18 fails to pay, without abatement or reduction, in accordance with Sections 201, 201.3, 201.5,

19 201.9, 202, and 205.5, any wages of an employee who is discharged or who quits, the

20 wages of the employee shall continue as a penalty from the due date thereof at the same

21 rate until paid or until an action therefore is commenced; but the wages shall not continue

22 for more than 30 days.”

23        132. For violation of Labor Code sections 201 and 202, Labor Code section 203
24 causes the unpaid wages of an employee to continue as a penalty from the due date thereof,

25 at the same rate until paid or until an action is commenced, but the wages shall not continue

26 for more than 30 days.

27        133. As a result of Defendants’ conduct during the applicable statutory period,
28 Defendants willfully failed to pay Plaintiff and, on information and belief, the Waiting
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 1 Time Penalties Subclass all wages due and owing to them, including all rest period

 2 premiums owed within the time required by Labor Code sections 201 and 202, as

 3 applicable.

 4        134. To date, Plaintiff has not yet received all wages due and payable, including
 5 but not limited to, rest period premium wages owed to him. On information and belief,

 6 members of the Waiting Time Penalties Subclass have not yet received all rest premium

 7 wages due and owed to them.

 8        135. As a direct result of Defendants’ violations alleged herein, Plaintiff and the
 9 Waiting Time Penalties Subclass members suffered and continue to suffer losses related to

10 the use and enjoyment of wages due and owing to them, all to their respective damage in

11 an amount to be shown according to proof at trial and within the jurisdictional limitations

12 of this Court.

13        136. Plaintiff seeks all available remedies for Defendants’ violations to the fullest
14 extent permissible.

15        WHEREFORE, Plaintiff prays for relief as hereinafter requested.
16                             SEVENTH CAUSE OF ACTION
17          FAILURE TO INDEMNIFY NECESSARY BUSINESS EXPENSES
18                           (Violation of Labor Code section 2802)
19    (Alleged by Plaintiff Individually and On Behalf of The Parking Valet Class Against
20                                           Defendants)
21        137. Plaintiff hereby incorporates by reference all preceding paragraphs set forth
22 above as though fully set forth herein.

23        138. Labor Code section 2802 requires an employer to indemnify their employees
24 for all necessary expenditures or losses incurred by an employee in direct consequence of

25 the discharge of his or her duties of employment.

26        139. Labor Code section 2802(b) states, “[a]ll awards made by a court … for
27 reimbursement of necessary expenditures” shall carry interest, at the same rate as

28 judgments in civil actions, and said interest will accrue from the date on which the
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 1 employee incurred the necessary expenditure including, but not limited to, reasonable costs

 2 and attorney’s fees incurred by the employee in enforcing their rights granted pursuant to

 3 Labor Code section 2802. The exact amount of the necessary expenditures or losses is in

 4 an amount to be proven at time of trial.

 5        140. Furthermore, Labor Code section 2802(c) states, “[f]or the purposes of this
 6 section, the term ‘necessary expenditures or losses’ shall include all reasonable costs,

 7 including, but not limited to, attorney’s fees incurred by the employee enforcing the rights

 8 granted by this section.”

 9        141. Plaintiff and, on information and belief, members of the Parking Valet Class
10 incurred business expenses in direct consequence of their job duties through the use of their

11 personal cell phones. On information and belief, Plaintiff and the Parking Valet Class were

12 required to use their personal cell phone to clock in and clock out for work. Despite

13 Defendants’ knowledge that Plaintiff and members of the Parking Valet Class were using

14 their personal cell phones for work related purposes, Defendants failed to provide

15 appropriate reimbursement for these expenses, in violation of Labor Code section 2802.

16        142. As a direct result of Defendants’ violations alleged herein, Plaintiff and
17 members of the Parking Valet Class suffered and continue to suffer, substantial losses

18 related to Defendants’ failure to indemnify them for the expenses and losses, including the

19 use and enjoyment of such monies, lost interest on such monies and expenses, and

20 attorney’s fees and costs in seeking to compel Defendants to fully perform their obligations

21 under state law, all to their respective damage in amounts according to proof at trial and

22 within the jurisdictional limitations of this Court.

23        143. Plaintiff seeks to recover in a civil action to the fullest extent permissible all
24 available remedies including but not limited to the unpaid balance of the indemnification

25 from Defendants’ violations, interest thereon permitted by Labor Code section 2802(b),

26 reasonable attorney’s fees and costs of suit, declaratory relief, and any other permitted

27 remedies including those permitted pursuant to Labor Code sections 2802. The exact

28 amount of reimbursements, interest, costs and attorney’s fees will be in an amount to be
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 1 proved at time of trial.

 2        WHEREFORE, Plaintiff prays for relief as hereinafter requested.
 3                              EIGHTH CAUSE OF ACTION
 4   VIOLATION OF BUSINESS AND PROFESSIONS CODE SECTION 17200, ET
 5                                              SEQ.
 6    (Alleged by Plaintiff Individually and On Behalf of The Parking Valet Class Against
 7                                           Defendants)
 8        144. Plaintiff hereby incorporates by reference all preceding paragraphs set forth
 9 above as though fully set forth herein.

10        145. California Business & Professions Code section 17200, et seq., prohibits acts
11 of unfair competition, which includes any “unlawful, unfair or fraudulent business act or

12 practice...”

13        146. Defendants’ Labor Code and IWC Wage Order violations alleged herein
14 constitute “unlawful, unfair or fraudulent business act or practices,” which are prohibited

15 by Business and Professions Code sections 17200-17208 and include, but are not limited

16 to: (i) failure to provide proper meal and rest periods and pay Plaintiff and the Parking

17 Valet Class premium wages for failure to provide compliant meal and rest periods; (ii)

18 failure to compensate Plaintiff and the Parking Valet Class for hours worked, thereby

19 failing to compensate them for all minimum, regular, and overtime wages due; (iii) failure

20 to indemnify Plaintiff and the Parking Valet Class for necessary business expenses incurred

21 in direct consequence of the discharge of their duties and under the direction of Defendants;

22 (iv) failure to provide Plaintiff and the Parking Valet Class with accurate itemized wage

23 statements; (v) maintaining a tip pooling policy and practice that unlawfully and

24 improperly shared tips earned by Plaintiff and the Parking Valet Class with Defendants’

25 owners, managers, and supervisors; (vi) failure to maintain accurate records of all gratuities

26 received by Plaintiff and the Parking Valet Class; and (vii) failure to timely pay Plaintiff

27 and members of the Waiting Time Penalties Subclass all wages owed upon separation of

28 their employment with Defendants.
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 1        147. California Labor Code section 353 provides, “Every employer shall keep
 2 accurate records of all gratuities received by him, whether received directly from the

 3 employee or indirectly by means of deductions from the wages of the employee or

 4 otherwise.”

 5        148. California Labor Code section 351 provides, “Every gratuity is hereby
 6 declared to be the sole property of the employee or employees to whom it was paid, given,

 7 or left for.”

 8        149. California Labor Code section 351 further provides, “No employer or agent
 9 shall collect, take, or receive any gratuity or a part thereof that is paid, given to, or left for

10 an employee by a patron, or deduct any amount from wages due an employee on account

11 of a gratuity...”

12        150. Plaintiff asserts that Defendants had, and continue to have a policy, practice,
13 procedure, guideline and/or culture of instituting a tip pool. Defendants did not have a

14 written tip pool agreement, and Plaintiff further alleges that Defendants did not distribute

15 tips in a fair and reasonable manner.

16        151. Plaintiff also asserts that Defendants’ tip pool policy, practice, procedure,
17 guideline and/or culture is unlawful and improper because Defendants improperly share

18 tips earned by valets with owners, managers, agents, and/or supervisors of Defendants. As

19 a result of Defendants’ unlawful and improper tip pooling policy, practice, procedure,

20 guideline and/or culture, Plaintiff and other similarly situated and/or aggrieved employees,

21 were not timely paid all gratuities given to them by patrons.

22        152. Plaintiff further alleges that Defendants did not, and do not have a policy,
23 practice, procedure, guideline and/or culture of maintaining accurate records of all

24 gratuities received in violation of California law.

25        153. Defendants intentionally avoided paying Plaintiff and the Parking Valet Class
26 all wages and/or monies, and other financial obligations attached thereto, to create for

27 Defendants an artificially lower cost of doing business, and thus, undercut its competitors.

28        154. Defendants lowered the costs of doing business by paying Plaintiff and the
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 1 Parking Valet Class an amount less than what is required by the California Labor Code and

 2 the applicable Wage Order of the Industrial Welfare Commission, thereby unfairly forcing

 3 Plaintiff and other similarly situated employees to perform work without fair compensation

 4 and benefits.

 5        155. Defendants held themselves out to Plaintiff and the Parking Valet Class as
 6 being knowledgeable about, and adhering to, the employment laws of California at all times

 7 relevant herein. Plaintiff and the Parking Valet Class relied on and believed in Defendants’

 8 representation concerning Defendants’ adherence to the California laws, all to their

 9 detriment.

10        156. Defendants’ scheme to lower their payroll and operation costs and thus profit,
11 by withholding money owed to the class and withholding wages, tips, compensation and

12 benefits, which are all the property of Plaintiff and the Parking Valet Class, in violation of

13 the California Labor Code and the IWC Wage Orders, as alleged herein, constitutes an

14 “unlawful, unfair or fraudulent business act or practice,” under California Business and

15 Professions Code section 17200, et seq. As a result of Defendants’ unfair competition,

16 Plaintiff and the Parking Valet Class suffered injury in fact by losing money and/or

17 property.

18        157. Business and Professions Code section 17204, states, in relevant part,
19 “[a]ctions for relief pursuant to this chapter shall be prosecuted…by…a person who has

20 suffered injury in fact and has lost money or property as a result of the unfair competition.”

21        158. Defendants acquired money and property owed to Plaintiff and the Parking
22 Valet Class by means of an unlawful practice that constitutes unfair competition as defined

23 by Business and Professions Code section 17200, et seq.

24        159. Plaintiff and the Parking Valet Class are persons in interest under Business
25 and Professions Code section 17203 to whom money and property should be restored.

26 Business and Professions Code section 17203 states, in relevant part, that “any person may

27 pursue representative claims or relief on behalf of others only if the claimant meets the

28 standing requirements of Section 17204.”
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 1        160. Plaintiff is a person who suffered injury in fact and lost money, wages, tips,
 2 compensation, and benefits, as a result of Defendants’ unfair competition. Thus, pursuant

 3 to Business and Professions Code sections 17203 and 17204, Plaintiff may pursue

 4 representative claims and relief on behalf of himself and the putative classes.

 5        161. Pursuant to Business and Professions Code section 17203, “[t]he court may
 6 make such orders or judgments, as may be necessary to restore to any person in interest

 7 any money or property, real or personal, which may have been acquired by means of such

 8 unfair competition.”

 9        162. Defendants reaped unfair benefits and illegal profits at the expense of Plaintiff
10 and the Parking Valet Class by committing the unlawful acts alleged herein.            Thus,
11 Defendants must make restitution and/or be subject to other equitable relief pursuant to

12 Business & Professions Code section 17203, and restore all unpaid wages to Plaintiff and

13 the Parking Valet Class.

14        163. Plaintiff and the Parking Valet Class suffered and continue to suffer loss of
15 wages and monies, all in an amount to be shown according to proof at trial and within the

16 jurisdiction of this Court.

17        164. Plaintiff seeks all available remedies on behalf of himself and on behalf of the
18 Parking Valet Class, including, but not limited to, restitution of all wages and all monies

19 owed, all in an amount to be shown according to proof at trial. All such remedies are

20 cumulative of relief available under other laws, pursuant to Business & Professions Code

21 section 17205.

22                WHEREFORE, Plaintiff prays for relief as hereinafter requested.
23                                NINTH CAUSE OF ACTION
24    WRONGFUL CONSTRUCTIVE DISCHARGE IN VIOLATION OF PUBLIC
25                                           POLICY
26                               (Violation of Labor Code § 1102.5)
27                    (Alleged By Plaintiff Individually Against Defendants)
28        165.   Plaintiff hereby incorporates by reference all preceding paragraphs set forth
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 1 above as though fully set forth herein.

 2        166. The misconduct of Defendants in causing the constructive termination of
 3 Plaintiff on the basis of Plaintiff’s reporting what he believed to be the violations of tip

 4 pooling law and his supervisor’s theft of tips violated the public policy of the State of

 5 California embodied in:

 6           a. Tameny v Atlantic Richfield Co. (1980) 27 Cal 3d 167;
 7           b. The public policies set forth in the California Labor Code section 1102.5,
 8               prohibiting any person, including Defendants, from retaliating against an
 9               employee for disclosing information to a person with authority over the
10               employee or another employee who has the authority to investigate, discover,
11               or correct the violation or noncompliance, if the employee has reasonable
12               cause to believe that the information discloses a violation of or noncompliance
13               with a local, state, or federal rule or regulation.
14           c. California Business and Professions Code §17200, et seq., which prohibits
15               any unlawful, unfair or fraudulent business act or practice; and
16           d. All other state and federal statutes, regulations, administrative orders and
17               ordinances which effect society at large and which discovery will reveal were
18               violated by all Defendants.
19        167. Plaintiff reported to Defendants what he reasonably believed to be unlawful
20 activities. Said unlawful activities include:

21           a) His supervisor’s theft of tips through his supervisor’s participation in valet tip
22               pool; and
23           b) His supervisor’s theft of tips through his supervisor’s participation in multiple
24               tips pools and/or for hours that his supervisor did not work, which had the
25               effect of diluting the tip pool and allowing his supervisor to take additional
26               tips in a manner that was disproportionate to other employees.
27        168. Plaintiff’s complaints regarding this belief that his supervisor violated the tip
28 pooling laws and stole tips were a substantial motivating reason for Defendants’ actions.
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 1 These actions by Defendants included, but are not limited to, treating Plaintiff in a hostile

 2 manner during subsequent interactions and intensively, double checking everything

 3 Plaintiff did in an overly critical manner. Defendants further reduced Plaintiff’s schedule

 4 by cutting his hours and the days he worked. Defendants began switching the location

 5 where Plaintiff worked and the days he was scheduled to work without informing Plaintiff

 6 of the change. Furthermore, Defendants began writing up Plaintiff and suspended him

 7 without pay for pretextual offenses.

 8        169. As a result of the Defendant’s retaliatory conduct, including suspending
 9 Plaintiff without pay, and the lack of suitable seating, the working conditions were so

10 intolerable that a reasonable person in Plaintiff’s position would have had no reasonable

11 alternative except to resign.

12        170. Defendant intentionally created or knowingly permitted these working
13 conditions.

14        171. Plaintiff resigned because of these working conditions.
15        172. As a legal (proximate) result of Defendants’ actions against Plaintiff, Plaintiff
16 has been harmed in that he has suffered the loss of wages, salary, benefits, raises,

17 retirement, and additional amounts of money Plaintiff would have received had Plaintiff

18 been retained in Plaintiff’s position. Plaintiff has been damaged according to proof at trial.

19        173. On information and belief, Defendants’ conduct was malicious, fraudulent
20 and/or oppressive and done with reckless disregard for Plaintiff’s rights.

21        174. Defendants’ conduct in confirming, ratifying and approving the conduct of its
22 management employees was done with the knowledge that it would cause Plaintiff severe

23 emotional distress and hardship and was done with a wanton and reckless disregard of the

24 consequences to Plaintiff.

25        175. As a further legal (proximate) result of Defendants’ actions against Plaintiff,
26 as alleged above, Plaintiff has been harmed in that Plaintiff has suffered the intangible loss

27 of employment-related opportunities and experience in the position which Plaintiff would

28 have garnered. Plaintiff has been damaged according to proof at trial.
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 1        176. As a further legal (proximate) result of Defendants’ conduct, as alleged above,
 2 Plaintiff has been harmed in that Plaintiff has suffered and continues to suffer humiliation,

 3 mental anguish, and emotional and physical distress, and has been injured in mind and

 4 body. Plaintiff has been damaged in an amount according to proof at trial.

 5        177. As a result of Defendants actions, Plaintiff suffered special and general
 6 damages.

 7        178. In doing the acts herein alleged, Defendants acted with oppression, fraud,
 8 malice, and in conscious disregard of the rights of Plaintiff and Plaintiff is therefore entitled

 9 to punitive damages according to proof at the time of trial.

10        WHEREFORE, Plaintiff prays for relief as hereinafter requested.
11                                TENTH CAUSE OF ACTION
12                                UNLAWFUL RETALIATION
13                              (Violation of Labor Code § 1102.5)
14                    (Alleged By Plaintiff Individually Against Defendants)
15        179. Plaintiff hereby incorporates by reference all preceding paragraphs set forth
16 above as though fully set forth herein.

17        180. Labor Code § 1102.5 provides that any employer, or any person acting on
18 behalf of the employer shall not make, adopt, or enforce any rule, regulation, or policy

19 preventing an employee from disclosing information to a person with authority over the

20 employee, or to another employee who has authority to investigate, discovery, or correct

21 the violation or noncompliance. An employer, or any person acting on behalf of the

22 employer, shall not retaliate against an employee for disclosing information, or because the

23 employer believes that the employee disclosed or may disclose information, to a person

24 with authority over the employee or another employee who has the authority to investigate,

25 discovery, or correct the violation, if the employee has reasonable cause to believe that the

26 information discloses a violation of state of federal statute, regardless of whether disclosing

27 the information is part of the employee’s job duties.

28        181. Plaintiff is informed and believes, and thereon alleges, Defendants retaliated
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 1 against Plaintiff for reporting what he reasonably believed to be unlawful activity. Said

 2 unlawful activity includes:

 3            a) His supervisor’s theft of tips through his supervisor’s participation in valet tip
 4               pool; and
 5            b) His supervisor’s theft of tips through his supervisor’s participation in multiple
 6               tips pools and/or for hours that his supervisor did not work, which had the
 7               effect of diluting the tip pool and allowing his supervisor to take additional
 8               tips in a manner that was disproportionate to other employees.
 9        182. Defendants retaliated against Plaintiff by initially treating Plaintiff in a hostile
10 manner during subsequent interactions and intensively, double checking everything

11 Plaintiff did in an overly critical manner. Defendants further reduced Plaintiff’s schedule

12 by cutting his hours and the days he worked. Defendants began switching the location

13 where Plaintiff worked and the days he was scheduled to work without informing Plaintiff

14 of the change. Furthermore, Defendants began writing up Plaintiff and suspended him

15 without pay for pretextual offenses.

16        183. As a direct and proximate result of Defendants’ conduct, Plaintiff has incurred
17 general and special damages, the full extent of which are uncertain at this time, but which

18 are within the jurisdiction of this court.

19        184. As a direct, foreseeable and proximate result of Defendants’ unlawful actions,
20 Plaintiff has suffered and continues to suffer substantial losses in earnings, equity and other

21 employment benefits and has incurred other economic losses.

22        185. As a further direct, foreseeable and proximate result of Defendants’ unlawful
23 actions, Plaintiff has suffered emotional distress, humiliation, shame, and embarrassment

24 all adding to the Plaintiff’s damages in an amount to be proven at time of trial.

25        186. In doing the acts herein alleged, Defendants, and each of them, acted with
26 oppression, fraud, malice, and in conscious disregard of the rights of Plaintiff, and Plaintiff

27 is therefore entitled to punitive damages according to proof at the time of trial.

28        WHEREFORE, Plaintiff prays for relief as hereinafter requested.
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 1                            ELEVENTH CAUSE OF ACTION
 2       PRIVATE ATTORNEYS GENERAL ACT OF 2004 CLAIM FOR CIVIL
 3                                       PENALTIES
 4                         (Violation of Labor Code §§ 2698 et seq.)
 5   (Alleged By Plaintiff On Behalf of All Aggrieved Employees of Defendants Against All
 6                                        Defendants)
 7        187. Plaintiff re-alleges and incorporates by reference the allegations contained in
 8 the paragraphs above, as though fully set forth herein.

 9        188. Pursuant to Labor Code § 2699(a), any provision of the Labor Code that
10 provides for a civil penalty to be assessed and collected by the LWDA or any of its

11 departments, divisions, commissions, boards, agencies or employees for violation of the

12 code may, as an alternative, be recovered through a civil action brought by an aggrieved

13 employee on behalf of himself or herself and other current or former employees pursuant

14 to the procedures specified in Labor Code § 2699.3.

15        189. This cause of action involves allegations of violations of Labor Code §§ 201,
16 202, 203, 204, 210, 226.3, 226.7, 351, 558, 558.1, 1102.5, 1194, 1198, and 2802, which,

17 pursuant to Labor Code § 2699.5, provide for a civil penalty to be assessed and collected

18 by the LWDA or recovered through a civil action brought by an aggrieved employee on

19 behalf of himself or herself and other current or former employees pursuant to the

20 procedures specified in Labor Code § 2699.3.

21        190. Defendants employed Plaintiff and Plaintiff had one or more of the alleged
22 violations committed against him. Therefore, Plaintiff is an “aggrieved employee” under

23 PAGA because the alleged violator employed him and he had one or more of the alleged

24 violations committed against him. As such, Plaintiff is properly suited to represent the

25 interests of other aggrieved employees in a PAGA Representative action.

26        191. Plaintiff seeks to recover civil penalties, including underpaid wages pursuant
27 to Labor Code § 558, on behalf of himself and other aggrieved employees for Defendants’

28 violations of the Labor Code, including but not limited to Defendants’ violations of Labor
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 1 Code §226.7.

 2        192. For all provisions of the Labor Code for which a civil penalty is not
 3 specifically provided, Labor Code § 2699(f) imposes upon Defendants, and each of them,

 4 a penalty of one hundred dollars ($100.00) for each aggrieved employee per pay period for

 5 the initial violation and two hundred dollars ($200.00) for each aggrieved employee per

 6 pay period for each subsequent violation.

 7        193. Defendants violated Labor Code §§ 226.7 and 1198 by failing to authorize
 8 and permit Plaintiff and aggrieved employees to take duty-free meal and rest periods and

 9 by failing to pay them meal and rest period premium wages for each day a meal and/or rest

10 period was not provided. Under Labor Code § 2699(f)(2), Defendants are subject to a civil

11 penalty of $100 for each aggrieved employee per pay period for the initial violation of

12 Labor Code §§ 226.7 and 1198, and $200 for each aggrieved employee per pay period for

13 each subsequent violation.

14        194. Defendants violated Labor Code §§ 201, 202, and 1198 by not paying Plaintiff
15 and aggrieved employees all meal and rest premium wages owed by the time set forth by

16 law upon their separation of employment, as alleged herein. Thus, under Labor Code §

17 2699(f)(2), Defendants are subject to a civil penalty of $100 for each aggrieved employee

18 per pay period for the initial violation of Labor Code §§ 201, 202, and 1198, and $200 for

19 each aggrieved employee per pay period for each subsequent violation.

20        195. Defendants violated Labor Code §§ 204 and 1198 by not paying Plaintiff and
21 aggrieved employees all meal and rest premium wages owed by the time set forth by law

22 during their employment, as alleged herein. Thus, under Labor Code § 2699(f)(2),

23 Defendants are subject to a civil penalty of $100 for each aggrieved employee per pay

24 period for the initial violation of Labor Code §§ 204 and 1198, and $200 for each aggrieved

25 employee per pay period for each subsequent violation.

26        196. Under Labor Code § 210(a), Defendants, in addition to, and entirely
27 independent and apart from any other penalty, is subject to a civil penalty for failing to pay

28 the wages of each aggrieved employee as provided in Labor Code § 204, as follows: (1)
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 1 For any initial violation, one hundred dollars ($100) for each failure to pay each aggrieved

 2 employee. (2) For each subsequent violation, or any willful or intentional violation, two

 3 hundred dollars ($200) for each failure to pay each aggrieved employee, plus 25 percent of

 4 the amount unlawfully withheld. This amount shall be recovered on behalf of the Labor

 5 Commissioner.

 6        197. Defendants violated Labor Code §§ 226(a) by knowingly and intentionally
 7 failing to maintain and provide Plaintiff and other aggrieved employees of Defendants with

 8 wage statements itemizing accurately all information required by Labor Code § 226(a), as

 9 alleged herein, because the wage statements not include the correct amount of gross and

10 net wages earned. Thus, under Labor Code § 2699(f)(2), Defendants are subject to a civil

11 penalty of $100 for each aggrieved employee per pay period for the initial violation of

12 Labor Code §§ 226(a) and 1198, and $200 for each aggrieved employee per pay period for

13 each subsequent violation.

14        198. Alternatively, Labor Code § 226.3 provides for a civil penalty in the amount
15 of $250 per violation in an initial citation and $1,000 for each violation in a subsequent

16 citation, for which the employer fails to provide the employee a wage deduction statement

17 or fails to keep the records required in subdivision (a) of § 226.

18        199. Defendants are and were Plaintiff’s and other aggrieved employees’
19 employers, or persons acting on their behalf, within the meaning of Labor Code § 558, who

20 violated or caused to be violated, a section of Part 2, Chapter 1 of the Labor Code or any

21 provision regulating hours and days of work in any IWC Wage Order and, as such, is

22 subject to civil penalties for each underpaid employee as set forth in Labor Code § 558.

23        200. Labor Code § 558 also imposes upon Defendants for each initial violation of
24 the Hours and Days of Work section of the applicable IWC Wage Order a civil penalty of

25 $50.00 for each aggrieved employee for each pay period for which the aggrieved employee

26 was not provided with a paid uninterrupted 10-minute rest period and/or required to work

27 off the clock, as alleged herein. Furthermore, Labor Code § 558 imposes upon Defendants

28 for each subsequent violation of the Hours and Days of Work section of the applicable
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 1 IWC Wage Order a civil penalty of $100.00 for each aggrieved employee for each pay

 2 period for which the aggrieved employee was not provided with a paid uninterrupted 10-

 3 minute rest period and/or required to work off the clock, as alleged herein. As set forth in

 4 Thurman v. Bayshore Transit Management, 203 Cal.App.4th 1112, 1153 (2012), the Hours

 5 and Days of Work section of the Wage Order also covers failure to provide rest periods

 6 and Plaintiff may therefore recover civil penalties, including the underpaid wages, under

 7 Labor Code § 558 for each such violation.

 8        201. Section 14 of the applicable IWC Wage Order states: “All working employees
 9 shall be provided with suitable seats when the nature of the work reasonably permits the

10 use of seats. When the employees are not engaged in the active duties of their employment

11 and the nature of the work requires standing, an adequate number of suitable seats shall be

12 placed in reasonable proximity to the work area and employees shall be permitted to use

13 such seats when it does not interfere with the performance of their duties.”

14        202. Defendants violated Labor Code section 1198 and section 14 of the applicable
15 IWC Wage Order because Plaintiff and other aggrieved employees were not provided with

16 suitable seats during their workday, even if they were not engaged in active duties and

17 when the use of seats would not interfere with the performance of their job duties.

18        203. Thus, under Labor Code § 2699(f)(2), Defendants are subject to a civil penalty
19 of $100 for each aggrieved employee per pay period for the initial violation of section 14

20 of the applicable IWC Wage Order and Labor Code § 1198, and $200 for each aggrieved

21 employee per pay period for each subsequent violation.

22        204. Labor Code section 351 makes it unlawful for an employer to collect, take, or
23 receive any gratuity or a part thereof that is paid, given to, or left for an employee by a

24 patron.

25        205. Defendants violated Labor Code section 351 because Defendants improperly
26 shared tips earned by valets with owners, managers, agents, and/or supervisors of

27 Defendants. As a result of Defendants’ unlawful and improper tip pooling policy, practice,

28 procedure, guideline and/or culture, Plaintiff and other similarly situated and/or aggrieved
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 1 employees, were not timely paid all gratuities given to them by patrons.

 2        206. Thus, under Labor Code § 2699(f)(2), Defendants are subject to a civil penalty
 3 of $100 for each aggrieved employee per pay period for the initial violation of Labor Code

 4 section 351, and $200 for each aggrieved employee per pay period for each subsequent

 5 violation.

 6        207. Defendants violated Labor Code § 2802 because Defendant required Plaintiff
 7 and other aggrieved employees to use their personal cells to clock in and out for work.

 8 Nevertheless, Defendant failed to reimburse Plaintiff and aggrieved employees for this

 9 expense.

10        208. Thus, under Labor Code § 2699(f)(2), Defendants are subject to a civil penalty
11 of $100 for each aggrieved employee per pay period for the initial violation of Labor Code

12 §2802, and $200 for each aggrieved employee per pay period for each subsequent violation.

13        209. Defendants violated Labor Code section 1102.5 when it retaliated against
14 Plaintiff for disclosing information to a person with authority over Plaintiff or another

15 employee who has the authority to investigate, discover, or correct the violation or

16 noncompliance when Plaintiff had a reasonable cause to believe that his supervisor violated

17 local, state, or federal law, rules or regulations.

18        210. Thus, Defendants are subject to a civil penalty of up to $10,000 for it violation
19 of Labor Code section 1102.5.

20        211. For bringing this action, Plaintiff is additionally entitled to attorney’s fees and
21 costs incurred herein.

22        212. Plaintiff seeks to recover civil penalties on behalf of himself and other
23 aggrieved employees for Defendants’ violations of the Labor Code, including but not

24 limited to Defendants’ violations of Labor Code §§ 201, 202, 203, 204, 210, 226.3, 226.7,

25 351, 558, 558.1, 1102.5, 1194, 1198, and 2802, pursuant to Labor Code § 2698, et seq. The

26 exact amount of the applicable penalties is in an amount to be shown according to proof at

27 trial and within the jurisdictional limitations of this Court.

28                                   PRAYER FOR RELIEF
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 1       WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
 2           a.   For general damages;
 3           b.   For special damages;
 4           c.   For punitive damages;
 5           d.   For actual damages pursuant to Labor Code § 226(e);
 6           e.   For reasonable attorneys’ fees, costs of suit, and interest to the extent
 7                permitted by law, including pursuant to Code of Civil Procedure § 1021,
 8                Labor Code §§ 226, 2802, and 2698, et seq.
 9           f.   For civil and statutory penalties to the extent permitted by law, including
10                those pursuant to the Labor Code, the Private Attorney General Act, and
11                the Orders of the Industrial Welfare Commission;
12           g.   For penalties for each initial and subsequent violation for each underpaid
13                employee for each pay period for which the employee was underpaid, and
14                an amount sufficient to recover the underpaid wages pursuant to Labor
15                Code §§ 226.7 and 558;
16           h.   For injunctive relief as provided by the Labor Code including but not
17                limited to § 226(g) of the Labor Code, and Business and Professions Code
18                §17200 et seq.;
19           i.   For restitution as provided by Business and Professions Code §17200 et
20                seq.;
21           j.   For an order requiring Defendants to restore and disgorge all funds to
22                Plaintiff acquired by means of any act or practice declared by this Court to
23                be unlawful, unfair or fraudulent and, therefore, constituting unfair
24                competition under Business and Professions Code §17200 et seq;
25           k.   For an award of damages in the amount of unpaid compensation and
26                monies including, but not limited to actual damages, unpaid wages, waiting
27                time penalties and other penalties according to proof, including interest
28                thereon;
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 1           l.    For an award of an additional hour of pay at the regular rate of
 2                 compensation pursuant to Labor Code §226.7(b) for each rest period not
 3                 in accordance with an applicable Order of the Industrial Welfare
 4                 Commission;
 5           m.    For penalties for each initial and subsequent violation for each underpaid
 6                 employee for each pay period for which the employee was underpaid in
 7                 addition to an amount sufficient to recover the underpaid wages pursuant
 8                 to Labor Code §558;
 9           n.    For waiting time penalties pursuant to Labor Code §203;
10           o.    For an order imposing a constructive trust upon the Defendants to compel
11                 them to transfer wages that have been wrongfully obtained and held by
12                 Defendants to unpaid employees;
13           p.    For an accounting to determine all money wrongfully obtained and held
14                 by Defendants;
15           q.    For indemnification of all losses incurred as a result of employment with
16                 Defendants, with interest;
17           r.    For a declaratory judgment that Defendants have violated Labor Code §§
18                 201, 202, 203, 204, 223, 226(a), 226.7, 226.8, 351, 510, 512, 1194, 1197,
19                 1198, and 2802, and the “Hours and Days of Work,” “Rest Periods,” and
20                 “Seats” sections of the Wage Order of the Industrial Welfare Commission;
21           s.    For pre and post-judgment interest; and
22           t.    For such other relief as the Court deems just and proper.
23   Dated: October 29, 2020                    GRAHAMHOLLIS APC
24

25                                       By: /s/ Nathan Reese
                                             GRAHAM HOLLIS
26                                           NATHAN REESE
                                             Attorneys for Plaintiff
27                                           CARTER POOL
28
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                               1 GRAHAMHOLLIS APC
                                 Graham S.P. Hollis (SBN 120577)
                               2 ghollis@grahamhollis.com
                                 Vilmarie Cordero (SBN 268860)
                               3 vcordero@grahamhollis.com
                                 Nathan Reese (SBN 283150)
                               4 nreese@grahamhollis.com
                                 3555 Fifth Avenue, Suite 200
                               5 San Diego, California 92103
                                 Telephone: 619.692.0800
                               6 Facsimile: 619.692.0822

                               7 Attorneys for Plaintiff CARTER POOL

                               8                                UNITED STATES DISTRICT COURT
                               9                              SOUTHERN DISTRICT OF CALIFORNIA
                              10   CARTER POOL, in a representative capacity,    Case No.:   3:19-cv-01103-LAB-WVG
                                   and on behalf of all similarly situated and
                              11   aggrieved current and former employees of     CERTIFICATE OF SERVICE
SAN DIEGO, CALIFORNIA 92103




                                   Defendants in the State of California,
                              12
   GRAHAMHOLLIS APC
    3555 FIFTH AVENUE




                                                Plaintiff,
                              13
                                         v.
                              14
                                   AMERIPARK, LLC, a Georgia Limited
                              15   Liability Company; and DOES 1 through 50,
                                   inclusive,
                              16
                                                Defendants.
                              17

                              18

                              19 ///

                              20 ///

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                               1                                       CERTIFICATE OF SERVICE
                               2 UNITED STATES DISTRICT COURT

                               3 SOUTHERN DISTRICT OF CALIFORNIA

                               4         I am employed in the State of California, County of San Diego. I am over the age of 18 and not a
                                 party to the within suit: my business address is 3555 Fifth Avenue, Suite 200, San Diego, California 92103.
                               5         On October 29, 2020, I served the documents described as:
                               6          1. SECOND AMENDED INDIVIDUAL AND CLASS ACTION COMPLAINT
                               7

                               8           on the interested parties in this action by sending on the interested parties in this action [ ] the
                                   original [or] [ X] a true copy thereof [X ] to interested parties as follows:
                               9
                                 AKERMAN LLP
                              10 MARISSA H. ALGUIRE

                              11 marissa.alguire@akerman.com
                                 DAMIEN P. DELANEY
SAN DIEGO, CALIFORNIA 92103




                              12 Damien.delaney@akerman.com
   GRAHAMHOLLIS APC




                                 CORINA VALDERRAMA
    3555 FIFTH AVENUE




                              13 Corina.valderrama@akerman.com
                                 601 West Fifth Street, Suite 300
                              14 Los Angeles, California 90071

                              15 Telephone: (213) 688-9500
                                 Facsimile: (213) 627-6342
                              16

                              17  BY ECF: I hereby certify that this document was served by San Diego, California, by ECF delivery
                                 on the parties listed herein at their more recent known email addresses or e-mail of record in this action.
                              18
                                  (FEDERAL): I declare that I am employed in the office of a member of the bar of this court at whose
                              19 direction the service was made.

                              20
                                  (BY MAIL): I placed the envelope for collection and mailing, following our ordinary business
                              21 practices. I am readily familiar with the practice of GRAHAMHOLLIS APC’s practice for collecting and
                                 processing correspondence for mailing. On the same day that correspondence is place for collection and
                              22 mailing, it is deposited in the ordinary course of business with the United States Postal Service, in a sealed
                                 envelope with postage fully prepaid.
                              23

                              24           I declare under penalty of perjury under the laws of the State of California that the foregoing is
                                   true and correct.
                              25
                                          Executed this 29th day of October, 2020, at San Diego, California.
                              26

                              27
                                                                                                    Maggie Valdez
                              28
                                                                                         2                     3:19-cv-01103-LAB-WVG
                                                                            CERTIFICATE OF SERVICE
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                             EXHIBIT 2
  Case 3:19-cv-01103-LAB-WVG Document 34-2 Filed 02/10/21 PageID.963 Page 118 of 131


Magdalena Valdez

From:               FormAssembly <no-reply@formassembly.com> on behalf of DIR PAGA Unit
                    <lwdadonotreply@dir.ca.gov>
Sent:               Tuesday, February 09, 2021 4:36 PM
To:                 Magdalena Valdez
Subject:            Thank you for your Proposed Settlement Submission


02/09/2021 04:35:55 PM

Thank you for your submission to the Labor and Workforce Development Agency.

Item submitted: Proposed Settlement
If you have questions or concerns regarding this submission or your case, please send an email to pagainfo@dir.ca.gov.

DIR PAGA Unit on behalf of
Labor and Workforce Development Agency

Website: http://labor.ca.gov/Private_Attorneys_General_Act.htm




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                             EXHIBIT 3
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   Appointed as Class Counsel 1 for the following wage and hour employment law cases:

   United States District Court - Central District:

   ●        Corral v. Lifecare Solutions settled for $3 million on behalf of approximately 270 class
            members, and Judge Olguin awarded 30% in fees.

   ●        Ellis v. Pacific Bell Telephone Co. settled for $3.1 million on behalf of approximately 84
            class members, and Judge Carney awarded 33.3% in fees.

   ●        Green v. Lawrence Service Co. settled for $60,000 on behalf of approximately 295 class
            members, and Judge Kronstadt awarded $141,659.07 in fees.

   ●        Madera v. Universal Alloy Corporation settled for $4.75 million on behalf of
            approximately 744 class members, and Judge Selna awarded 25% in fees.

   ●        Potter v. Big Tex Trailer Manufacturing, Inc., settled for $972,391.68 on behalf of
            approximately 104 class members, and Judge Gutierrez awarded 33% in fees.

   ●        Rodriguez v. Old Dominion Freight Line, Inc., settled for $3.4 million on behalf of
            approximately 76 class members, and Judge Fischer awarded 27.5% in fees.

   ●        Weaver v. Hallmark Marketing Corp. settled for $5.625 million on behalf of
            approximately 3,846 class members, and Judge Fairbanks awarded 33% in fees.

   United States District Court – Eastern District:

   ●        Milburn v. Petsmart, Inc. settled for $1,350,000 on behalf of approximately 2,984 class
            members, and Judge Drozd awarded 33% in fees.

   ●        Osegueda v. Northern California Inalliance settled for $225,000 on behalf of
            approximately 271 class members, and Judge Shubb awarded 33.33% in fees.

   United States District Court – Northern District:

   ●        Aston v. United Parcel Services, Inc., settled for $490,000 on behalf of approximately
            2,000 class members, and Judge White awarded 33.33% in fees.

   ●        Delatorre v. Johnson Controls, Inc., settled for $2.8 million on behalf of approximately
            1,441 class members, and Judge Grewal awarded 25% in fees.




   1
    List includes cases filed by Graham Hollis, A.P.C., as well as its predecessor entities. It also includes cases where
   other law firms were appointed as co-class counsel.

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   ●      Fong v. Regis Corporation settled for $5,750,000, on behalf of approximately 5,573 class
          members, and Judge Chhabria awarded 33% in fees.

   ●      Jimenez v. Menzies Aviation settled for $1,250,000 on behalf of 5,175 class members, and
          Judge Orrick awarded 33% in fees.

   ●      Moore v. Petsmart, Inc., settled for $10 million on behalf of approximately 19,701 class
          members, and Judge Davila awarded 27% in fees.

   United States District Court – Southern District:

   ●      Birch v. Office Depot, Inc., settled for $14 million on behalf of approximately 16,722
          class members, and Judge Sabraw awarded 40% in fees.

   ●      Cook v. Tiffany and Company settled for $4,148,270 on behalf of approximately 1,584
          class members, and Judge Lorenz awarded 24.8% in fees.

   ●      Ferguson v. Winston Retail Solutions settled for $750,000 on behalf of approximately
          660 class members, and Judge Battaglia awarded 33.33% in fees.

   ●      Lopez v. GAT Airline Ground Support, Inc., settled for $600,000 on behalf of
          approximately 1,394 class members, and Judge Battaglia awarded 25% in fees.

   ●      Singer v. Becton Dickinson and Co. settled for $1 million on behalf of approximately 266
          class members, and Judge Gonzalez awarded 33.33% in fees.

   Superior Court for the County of Alameda:

   ●      Hobdy v. Landmark Event Staffing Services, Inc., settled for $245,100 on behalf of
          approximately 3,671 class members, and Judge Hernandez, Jr., awarded 33.33% in fees.

   ●      Roberson v. Center for the Elders’ Independence is an ongoing case and has been
          conditionally approved by Judge Smith.

   Superior Court for the County of Contra Costa:

   ●      Stevenson v. Falcon Critical Care Transport settled for $233,853 on behalf of
          approximately 46 class members, and Judge Goode awarded 29% in fees.

   Superior Court for the County of Fresno:

   ●      Drake v. Midvalley Disposal, LLC before Judge Snauffer, settled for $150,000 on behalf
          of approximately 315 class members, and Judge McGuire awarded 33.33% in fees.




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   ●     Kenner v. Oak Harbor Freight Lines, Inc., settled for $1,850,000 on behalf of
         approximately 216 class members, and Judge Snauffer awarded 27% in fees.

   ●     Parmelee v. Driveline Retail Merchandising, Inc., settled for $1,000,000 on behalf of
         approximately 1,261 class members, and Judge Kapetan awarded 33.33% in fees.

   Superior Court for the County of Kern:

   ●     McGough v. Love’s Travel Stops & Country Stores, Inc., settled for $3,000,000 on behalf
         of approximately 1,638 class members, and Judge Schuett awarded 33.33% in fees.

   Superior Court for the County of Los Angeles:

   ●     Agredano v. Southwest Water Company settled for $1,220,000 on behalf of
         approximately 125 class members, and Judge Nelson awarded 33.33% in fees.

   ●     Calhoun v. General Petroleum Corp. settled for $950,000 on behalf of approximately
         300 class members, and Judge Dunn awarded 40% in fees.

   ●     Frugard v. Unified Protective Services, Inc., is an ongoing case which has been certified
         as a class action by Judge Johnson.

   ●     Garcia v. Menzies Aviation, Inc., settled for $1,000,000 on behalf of approximately 1,800
         class members, and Judge Rosenblatt awarded 33.33% in fees.

   ●     Gordon v. Accountable Healthcare Staffing, Inc., settled for $900,000 on behalf of
         approximately 560 class members, and Judge Buckley awarded 33.33% in fees.

   ●     Iskandaryan v. Casual Male Retail Group, Inc., settled for $950,000 on behalf of
         approximately 716 class members, and Judge Stern awarded 33.33% in fees.

   ●     Lucarini v. Dresser, Inc., settled for $1.024 million on behalf of approximately 78 class
         members, and Judge Mohr awarded 39.55% in fees.

   ●     Magana-Mead v. LKQ Corporation was settled for $1,150,000 on behalf of 303 class
         members, and Judge Nelson awarded 33% in fees.

   ●     Mahoney v AT&T Corp. settled for $13,894,098.62 on behalf of approximately 719 class
         members, and Judge Elias awarded 33.33% in fees.

   ●     Solaberrieta v. Baker Hughes Oilfield Operations settled for $3.5 million on behalf of
         approximately 295 class members, and Judge Wiley awarded 33.33% in fees.

   ●     Taylor v. Cross Country Support Services settled for $582,000.00 on behalf of 581 class
         members, and Judge Nelson awarded 33.33% in fees.

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   ●     Williams v. One Legacy settled for $1.2 million on behalf of approximately 145 class
         members, and Judge Johnson awarded 33% in fees.

   ●     Wright v. AMF Bowling Centers, Inc., settled for $6.35 million on behalf of
         approximately 4,914 class members, and Judge Duffy-Lewis awarded 28% in fees.

   ●     Wright v. Menzies Aviation, Inc., was certified as a class action by Judge Weintrob and
         was consolidated with Jimenez v. Menzies Aviation, Inc. for settlement purposes.

   Superior Court for the County of Orange:

   ●     Collins v. The Stephouse Recovery, Inc., settled for $1,200,000 on behalf of
         approximately 150 class members, and Judge Claster awarded 35% in fees.

   ●     Duarte v. Rainbow Disposal Co., Inc., settled for $1.6 million on behalf of approximately
         110 class members, and Judge Andler awarded 40% in fees.

   ●     Flannery v. AGR Group California settled for $1,324,937 on behalf of approximately
         5,182 class members, and Judge Andler awarded 33% in fees.

   ●     Jenkins v. The Mentor Network, Inc., settled for $1,625,000 on behalf of approximately
         1050 class members, and Judge Perkins awarded 33% in fees.

   ●     Payton v. Atlantic Aviation Investors, Inc., settled for $1 million on behalf of
         approximately 162 class members, and Judge Stock awarded 40% in fees.

   ●     Parnell v. Hart-Hanks Shoppers, Inc., settled for $600,000, on behalf of approximately
         169 class members, and Judge Andler awarded 33.33% in fees.

   ●     Sheehan v. Applied Medical Products, Judge Claster approved the settlement of
         $2,750,000 on behalf of approximately 2,012 class members.

   ●     Valenzuela v. Enver Solar, Inc., settled for $575,000 on behalf of approximately 1,440
         class members, and Judge Sanders awarded 35% in fees.

   Superior Court for the County of Riverside:

   ●     Digiacomo v. Castelli’s Ristorante settled for $225,000 on behalf of approximately 35
         class members, and Judge Waters awarded 33% in fees.

   ●     Leonard v. ABTTC, Inc., settled for $2.5 million on behalf of approximately 336 class
         members, and Judge Riemer awarded 33% in fees.

   ●     Loudon v. DHSE, Inc., (Representative Action) settled for $650,000 on behalf of
         approximately 860 employees, and Judge Waters awarded 33.33% in fees.

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   ●     Vest v. Scher Tire, Inc., settled for $3,363,396 on behalf of approximately 795 class
         members, and Judge Waters awarded 33.33% in fees.

   Superior Court for the County of San Bernardino:

   ●     Alvarez v. Core States, Inc., settled for $530,000 on behalf of approximately 45 class
         members, and Judge Garza awarded 40% in fees.

   ●     Booher v. The Poma Companies settled for $650,000 on behalf of approximately 75 class
         members, and Judge Plotkin awarded 44% in fees.

   ●     Bracy v. Speedy Cash settled for $237,320 on behalf of approximately 222 class
         members, and Judge Kayashima awarded 22.69% in fees.

   ●     Jeffries v. Praxair Services, Inc., settled for $373,000 on behalf of approximately 23 class
         members, and Judge Garza awarded 35% in fees.

   ●     Malone v. Praxair, Inc., settled for $900,000 on behalf of approximately 57 class
         members, and Judge Davis awarded 40% in fees.

   ●     Scaglione v. M.O. Dion & Sons, Inc., settled for $585,000 on behalf of approximately
         123 class members, and Judge Garza awarded 30% in fees.

   Superior Court for the County of San Diego:

   ●     Arriaga v. International Coffee & Tea settled for $1,250,000 on behalf of 479 class
         members, and Judge Bacal awarded 33.33% in fees.

   ●     Barron v Green Farms, Inc., settled for $650,000 on behalf of approximately 154 class
         members, and Judge Pollak awarded 33.33% in fees.

   ●     Bergman v. BJS&T Enterprises, Inc., is an ongoing case and has been conditionally
         approved by Judge Frazier

   ●     Chavez v. Real Time Staffing Services, Inc., settled for $1.9 million on behalf of
         approximately 3,120 class members, and Judge Medel awarded 35% in fees.

   ●     Clancy v. Scripps Health settled for $6.4 million on behalf of approximately 124 class
         members, and Judge Meyer awarded 33% in fees.

   ●     Costa v. Altman Specialty Plants, Inc., settled for $2,400,000 on behalf of approximately
         4,414 class members, and Judge Hayes awarded 33.33% in fees.

   ●     Dadafshar v. KT Hotels, LLC, dba Pendry Hotel settled for $515,000 on behalf of 892
         class members, and Judge Pollack awarded 33.3% in fees.

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   ●     De La Rosa v. Quten Research Institute, LLC, settled for $450,000 on behalf of
         approximately 402 class members, and Judge Meyer awarded 33.33% in fees.

   ●     Demers v. Hotcakes No. 3, Inc., settled for $150,000 on behalf of approximately 300
         class members, and Judge Nevitt awarded 33% in fees.

   ●     Downey v. Sears Roebuck and Co. (Representative Action) settled for $875,000 on behalf
         of approximately 1,200 class members, and Judge Sturgeon awarded 33.33% in fees.

   ●     Escoto-Miranda v. Evans Tire & Service Centers, Inc., settled for $800,000 on behalf of
         approximately 450 class members, and Judge Strauss awarded 33% in fees.

   ●     Falcon v. Flight Suits, Inc., settled for $450,000 on behalf of approximately 101 class
         members, and Judge Denton awarded 33.33% in fees.

   ●     Fay v Cement Cutting, Inc., settled for $720,000 on behalf of approximately 376 class
         members, and Judge Bacal awarded 33.33% in fees.

   ●     Fennessey v. Round Table Pizza, Inc., settled for $2,125,000 on behalf of approximately
         16,333 class members, and Judge Lewis awarded 28% in fees.

   ●     Frayre v. United Parcel Services Supply Chain Services, Inc., settled for $494,000 on
         behalf of approximately 55 class members, and Judge Sturgeon awarded 33.33% in fees.

   ●     Garcia v. Task Ventures, LLC, settled for $822,856.50 on behalf of approximately 2,700
         class members, and Judge Wohlfeil awarded 40% in fees.

   ●     Geilenfeldt v. EDF Renewable Energy, Inc., settled for $2,500,000 on behalf of
         approximately 144 class members, and Judge Sturgeon awarded 33.33% in fees.

   ●     Huerta v. Venture Petroleum Company, Inc., settled for $300,000 on behalf of
         approximately 513 class members, and Judge Wohlfeil awarded 33.33% in fees.

   ●     Irmen v. Raphael’s Party Rentals settled for $1 million on behalf of approximately 845
         class members, and Judge Lewis awarded 40% in fees.

   ●     Johnson v. The SoCo Group, Inc., settled for $895,000 on behalf of approximately 218
         class members, and Judge Lewis awarded 33.33% in fees.

   ●     Julio v. L&M Tire Company, Inc., settled for $1.85 million on behalf of approximately
         1,087 class members, and Judge Barton awarded 33% in fees.

   ●     Loveless v ASM Affiliates settled for $750,000 on behalf of approximately 276 class
         members, and Judge Styn awarded 33.33% in fees.


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   ●     Madriz v. North County Ford, Inc., settled for $188,000 on behalf of approximately 45
         class members, and Judge Wohfeil awarded 33.33% in fees.

   ●     Martinez v. San Diego Auto Scrubber, Inc., settled for $500,000 on behalf of
         approximately 148 class members, and Judge Hayes awarded 33.33% in fees.

   ●     Morales v. Sony Electronics, Inc., settled for $450,100 on behalf of approximately 4,742
         class members, and Judge Styn awarded $296,275 in fees.

   ●     Solis v. Check Agencies of California, Inc., settled for $475,000 on behalf of
         approximately 559 class members, and Judge Taylor awarded 35% in fees.

   ●     Thompson v. LawInfo.com, Inc., settled for $150,000 on behalf of approximately 115
         class members, and Judge Enright awarded 33.33% in fees.

   ●     Well v. Hooters of America, Inc., settled for $1.35 million on behalf of approximately
         2,300 class members, and Judge Wohfeil awarded 35% in fees.

   Superior Court for the County of San Francisco:

   ●     Casas v. Pacific Bell Telephone Co. settled for $6 million on behalf of approximately 464
         class members, and Judge Goldsmith awarded 23% in fees.

   ●     Simpkins v. GPS Consumer Direct, Inc., is an ongoing case and has been conditionally
         approved by Judge Cheng.

   Superior Court for the County of Santa Barbara:

   •     Ramirez v Baker Hughes Oilfield Operations (Baker Hughes Wage and Hour Cases)
         settled for $2,750,000 on behalf of 165 class members, and Judge Anderle awarded
         33.33% in fees.

   Superior Court for the County of Santa Clara:

   ●     Allison v. Super Zen, Inc., settled for $235,300 on behalf of approximately 26 class
         members, and Judge Lucas awarded 33.33% in fees.

   ●     Ledbetter v. Entrepreneurial Ventures, Inc., settled for $1.8 million on behalf of
         approximately 754 class members, and Judge Overton awarded 33.33% in fees.

   ●     Letuligasenoa v. International Paper Company settled for $4,500,000 on behalf of
         approximately 3,786, and Judge Errand awarded 33.33% in fees with a 1.47 multiplier.

   ●     Suarez v. First Alarm Security & Patrol, Inc., settled for $7,250,000 on behalf of
         approximately 3,786, and Judge Walsh awarded 33.33% in fees.

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   ●      Subia v. National Securities Industries, Inc., settled for $275,000 on behalf of
          approximately 187 class members, and Judge Lucas awarded 30% in fees.

   Superior Court for the County of Solano:

   ●      Saechao v. Pla-Fit Franchise d.b.a. Planet Fitness settled for $325,000 on behalf of
          approximately 149 class members, and Judge Mattice awarded 25% in fees.

   ●      Stafford v. Dollar Tree Stores, Inc., settled for $4,600,000 on behalf of approximately
          7,737 class members, and Judge Beeman awarded 33.33% in fees.

   ●      Turnage v. Park Management Corporation settled for $400,000 on behalf of
          approximately 214 class members, and Judge Daniels awarded 33.33% in fees.

   Superior Court for the County of Tulare

   ●      Lopez v. Ruiz Food Products, Inc., settled for $547,500 on behalf of approximately 2,233
          class members, and Judge Hillman awarded 33% in fees.

   Superior Court for the County of Ventura:

    ●     Jackson v. Vulcan Materials Co. settled for $800,000 on behalf of approximately 103
          class members, and Judge Bysshe awarded 37.5% in fees.

   ●      Laux v. Van Nuys Skyways, Inc., settled for $800,000 on behalf of approximately 70 class
          members, and Judge Riley awarded 35% in fees.

   Serving as Plaintiffs’ Counsel in the following wage and hour employment law
   class/representative action cases:

   United States District Court – Central District:

   ●      Valentine v. Rehabilitation Center of Santa Monica Holding Company GP before Judge
          Wu

   United States District Court – Eastern District:

   ●      Rough v. Costco Wholesale Corporation before Judge England

   ●      Stoddart v. Express Services, Inc., before Judge Mueller

   United States District Court – Southern District:

   ●      Ceron de Orozco v. Flagship Facility Services, Inc., before Judge Sammartino

   ●      Maharaj v. Charter Communications, Inc., before Judge Bashant

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   ●     Pool v. Ameripark, LLC, before Judge Burns

   ●     Stewart v. Quest Diagnostics Clinical Laboratories, Inc., before Judge Sabraw

   Superior Court for the County of Alameda:

   ●     Bechere v. Ralphs Grocery Company (Representative Action) before Judge Smith

   ●     Lee v. Sutter Bay Medical Foundation before Judge Petrou

   ●     Soderlund v. Jon K. Takata Corporation dba Restoration Management Company before
         Judge Smith

   Superior Court for the County of Los Angeles:

   ●     Escalante v. Urth Payroll Services, Inc., (Representative Action) (case not yet assigned)

   ●     Fernandez v. Prime Healthcare Services, Inc., (Representative Action) before Judge
         Keeny

   ●     Jackson v. Sourcecorp BPS, Inc., before Judge Nelson

   ●     Jones v. Cedars-Sinai Medical Center (Representative Action) before Judge Mooney

   ●     Lopez v. Kazi Foods, Inc., before Judge Hogue

   ●     Quinones v. Atria Management Company, LLC, before Judge Buckley

   ●     Ralda v. Smart & Final Stores, LLC, before Judge Kuhl

   ●     Silva v LK&M Wall Corp. before Judge Berle

   ●     Summa v. LF Sportswear, Inc., before Judge Berle

   ●     Valles v. Anthony, Inc., (Representative Action) before Judge Sadvig

   ●     Whittington v. Eureka (Representative Action) before Judge Hill

   Superior Court for the County of Orange:

   ●     Blackwood v. Solid Landings Behavioral Health, Inc., before Judge Sherman

   ●     Brodhagen v. Sequoia Management Services, LLC, before Judge Claster

   ●     Chima v. Beckman Coulter, Inc., before Judge Wilson

   ●     Dilorenzo v. Healthy Healing Holistic Options dba Showgrow before Judge Sherman

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   ●     Lawson v. Executive Maintenance, Inc., before Judge Wilson

   ●     Valdez v. Lexington Home Mortgage Company before Judge Wilson

   Superior Court for the County of Riverside:

   ●     Steppe v. Responsible Medical Solutions Corp before Judge Riemer

   Superior Court for the County of Sacramento:

   ●     Johnson v. PMC Southwest, LLC, before (case not yet assigned)

   ●     Mendez v. SSP America SMF, LLC, before Judge Wood

   ●     Muniz v. Sutter Valley Hospitals before Judge Perkins

   ●     Orosz v. Briarwood Post Acute, LLC, (Representative Action) before Judge Earl

   Superior Court for the County of San Bernardino:

   ●     Christensen v. Heartland Express, Inc., before Judge Cohn

   ●     Fosse v. Heartland Express, Inc. of Iowa before Judge Cohn

   ●     Sala v. Personnel Staffing Group, LLC, before Judge Cohn

   ●     Sala v. Radial South, L.P., before Judge McCarville

   ●     Salazar v. Pods Enterprises, LLC, before Judge Cohn

   Superior Court for the County of San Diego

   ●     Andrew v. Coronado Brewing Company, Inc., before Judge Trapp

   ●     Baker v. Select Comfort Retail Corporation dba Sleep Number before Wohlfeil

   ●     Basile v. Aaron Brothers, Inc., before Judge Styn

   ●     Berry v. Sizzling Platter LLC before Judge Frazier

   ●     Broadbent v. GHC of National City I, LLC, before Judge Pollack

   ●     Broadnax v. Amazing Courier Express Services, LLC, before Judge Strauss

   ●     Camarena v. PAL General Engineering, Inc., before Judge Whitney

   ●     Carson v. Downtown San Diego Partnership Clean and Safe before Judge Bacal


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   ●     Dew v. Minegar Contracting, Inc., (Representative Action) before Judge Sturgeon

   ●     Edwards v. Xtermite, Inc., before Judge Strauss

   ●     Garceran v. Café Topes, Inc., before Judge Frazier

   ●     Gonzalez-Corona v. Coronado Yacht Club before Judge Strauss

   ●     Headley v. Professional Maintenance Systems, Inc., before Judge Frazier

   ●     Humberto Gonzalez-Corona v. Coronado Yacht Club (Representative Action) before
         Judge Strauss

   ●     Juliao v. Uniluv Marketing, Inc., (Representative Action) before Judge Wohlfeil

   ●     Maasrani v. International Hotel Associates No. 11 LLC before Judge Sturgeon

   ●     McCray v. Wireless World LLC dba Experts Choice (Representative Action) before
         Judge Frazier

   ●     Moreno v. Home Plate a Cafe Company before Judge Frazier

   ●     Moreno v. Providence Group Inc. before Judge Frazier

   ●     Nathan v. OS Restaurant Services, LLC, before Judge Styn

   ●     Parvizi v. Classic Residence Management LP dba VI before Judge Wohlfeil

   ●     Pham v. George’s at the Cove, Inc. dba George’s at the Cove #4032 before Judge Bacal

   ●     Pina v. Paradise Wings Enterprise before Judge Taylor

   ●     Ramirez v. Automobile Club of Southern California before Judge Taylor

   ●     Rivera v. WNT, Inc., before Judge Sturgeon

   ●     Sanchez v. Evans Tire and Service Centers, Inc., before Judge Sturgeon

   ●     Spriggs v. Ortiz Corporation before Judge Styn

   ●     Struc Steel, Inc., before Judge Wohfeil

   ●     Waines v. Peopleready, Inc., (Representative Action) before Judge Whitney

   ●     Zamorano v. Piperin Corporation before Judge Pollack




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   Superior Court for the County of San Francisco:

   ●     Alawamleh v. Ian Motos dba Baiano Pizzeria Hayes Valley before Judge Massullo

   Superior Court for the County of San Luis Obispo:

   ●     Hernandez v. All Ways Clean (Representative Action) before Judge Coates

   Superior Court for the County of Santa Clara:

   ●     Furlough v. Capstone Logistics, LLC, before Judge Kuhnle

   ●     Jordan v. Arriaga & Associates, Inc., before Judge Lucas

   Superior Court for the County of Solano

   ●     Apodaca v. Randstad US, LLC, before Judge Getty

   ●     Maria v. Gourmet Demonstration Services, Inc., before Judge Getty

   ●     Roberson v. Ghiringhelli Specialty Foods, Inc., (Representative Action) before Judge
         Getty

   ●     Rough v. Costco Wholesale Corporation (Representative Action) before Judge Carringer




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